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                          EXHIBIT D

    Detailed Description of Fees, Expenses, and Disbursements
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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173394
                                                                                           Client Matter: 23631-50

In the Matter of Adversary Proceeding & Contested Matters



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                         $ 109,736.50
Total legal services rendered                                                                                                   $ 109,736.50




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Legal Services for the Period Ending September 30, 2023       Invoice Number:         1010173394
Yellow Corporation                                             Matter Number:           23631-50
Adversary Proceeding & Contested Matters




                                        Summary of Hours Billed

Name                                                        Hours         Rate          Amount
Kennedy Chiglo                                                0.30      885.00            265.50
Uzo Dike                                                      1.10      515.00            566.50
Michael P. Esser                                             21.70    1,475.00         32,007.50
Richard U. S. Howell, P.C.                                    9.00    1,620.00         14,580.00
Conor P. McNamara                                             0.80    1,295.00          1,036.00
Colin R. Monaghan                                             4.50      985.00          4,432.50
Patrick J. Nash Jr., P.C.                                     0.70    2,045.00          1,431.50
Orla O'Callaghan                                             25.00    1,215.00         30,375.00
Lola Ojeniyi                                                 13.60    1,080.00         14,688.00
Roy Michael Roman                                             5.20      885.00          4,602.00
David R. Seligman, P.C.                                       1.60    2,045.00          3,272.00
Allyson B. Smith                                              1.00    1,375.00          1,375.00
Luke Spangler                                                 3.40      325.00          1,105.00

TOTALS                                                      87.90                   $ 109,736.50




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Yellow Corporation                                             Matter Number:             23631-50
Adversary Proceeding & Contested Matters


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Kennedy Chiglo                        0.20 Review updated litigation and grievance
                                                    summary from Company.
09/01/23 Orla O'Callaghan                      2.40 Draft answer to class action adversary
                                                    proceeding complaint.
09/03/23 Orla O'Callaghan                      2.90 Draft, revise answer to class action adversary
                                                    proceeding complaint.
09/04/23 Orla O'Callaghan                      4.70 Draft, revise answer to class action adversary
                                                    proceeding complaint (2.3); draft, revise
                                                    motion to stay for Moore class action
                                                    adversary proceeding (1.3); draft, revise
                                                    motion to stay for class action adversary
                                                    proceeding (1.1).
09/05/23 Michael P. Esser                      1.70 Conference with O. O’Callaghan re litigation
                                                    workstreams (.4); prepare for same (.3);
                                                    conference with same re same (.5);
                                                    correspond with C. Monaghan re protective
                                                    order draft (.5).
09/05/23 Richard U. S. Howell, P.C.            0.80 Telephone conference re open litigation issues
                                                    (.4); prepare and review correspondence re
                                                    same (.4).
09/05/23 Colin R. Monaghan                     1.50 Telephone conference with M. Esser, O.
                                                    O'Callaghan, K&E team re case status, next
                                                    steps and drafting protective order (.5); draft
                                                    protective order and confidentiality agreement
                                                    (1.0).
09/05/23 Orla O'Callaghan                      2.30 Telephone conference with C. Monaghan, M.
                                                    Esser and C. Monaghan and K&E team re
                                                    case status (.5); review and analyze
                                                    documents in data room (.6); correspond with
                                                    C. Monaghan and K&E team re same (.2);
                                                    correspond with Ducera team re same (.1);
                                                    review and revise draft protective order (.9).
09/05/23 Lola Ojeniyi                          2.10 Telephone conference with O. O’Callaghan re
                                                    case status.
09/05/23 Allyson B. Smith                      0.60 Telephone conference with Goodmans re
                                                    Canadian proceedings, next steps.




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Yellow Corporation                                             Matter Number:            23631-50
Adversary Proceeding & Contested Matters

Date     Name                                 Hours Description
09/06/23 Michael P. Esser                      2.70 Review and revise draft protective order (.7);
                                                    review and analyze case law re same (.3);
                                                    review and revise WARN act answer (.5);
                                                    review and revise motion to stay re same (.5);
                                                    correspond with O. O’Callaghan re same (.2);
                                                    research re response timing (.3); conference
                                                    with O. O’Callaghan re same (.2).
09/06/23 Richard U. S. Howell, P.C.            0.80 Review correspondence re open litigation
                                                    issues including existing pre-petition
                                                    litigation issues (.5); review correspondence
                                                    re negotiations with Committee of Unsecured
                                                    Creditors (.3).
09/06/23 Patrick J. Nash Jr., P.C.             0.70 Review and analyze IBT's response to
                                                    Yellow’s motion to transfer lawsuit to
                                                    bankruptcy court.
09/06/23 Orla O'Callaghan                      3.80 Review and analyze diligence documents
                                                    (1.0); correspond with R. Kohut, K&E team
                                                    and local counsel re Keef answer and motion
                                                    to stay (.1); telephone conference with M.
                                                    Esser re same (.2); draft, revise Keef answer
                                                    (.5); draft, revise motion to stay for Moore
                                                    class action (1.9); correspond with M. Slade
                                                    and M. Esser re same (.1).
09/07/23 Orla O'Callaghan                      1.90 Review, revise draft answer and motion to
                                                    stay for Keef adversary proceeding (1.3);
                                                    correspond with Company re same (.1);
                                                    correspond with R. Kohut re same (.1);
                                                    telephone conference with M. Slade re
                                                    WARN adversary proceedings (.1);
                                                    correspond with M. Slade re same (.3).
09/07/23 Lola Ojeniyi                          0.40 Telephone conference with O. O'Callaghan,
                                                    K&E team re litigation considerations.
09/08/23 Michael P. Esser                      2.00 Review and analyze bidder data room
                                                    summaries (.5); revise same (.5); review and
                                                    revise WARN adversary answer (.5); review
                                                    and analyze revised WARN adversary motion
                                                    to stay (.5).




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Yellow Corporation                                             Matter Number:             23631-50
Adversary Proceeding & Contested Matters

Date     Name                                 Hours Description
09/08/23 Orla O'Callaghan                      1.60 Review, revise answer re adversary
                                                    proceeding (.6); review, revise motion to stay
                                                    adversary proceeding (.4); correspond with
                                                    Company re adversary proceeding answer and
                                                    motion to stay (.1); correspond with Akin
                                                    team re motion to stay (.2); conference with
                                                    plaintiffs' counsel re Moore adversary
                                                    proceeding (.2); correspond with Ducera team
                                                    re nature of documents in data room (.1).
09/11/23 Richard U. S. Howell, P.C.            0.70 Prepare and review correspondence re open
                                                    litigation issues.
09/11/23 Lola Ojeniyi                          6.80 Review and analyze diligence documents
                                                    (6.0); draft and revise summary re same (.5);
                                                    correspond with M. Esser, K&E team re same
                                                    (.3).
09/12/23 Michael P. Esser                      2.00 Conference with witness re 341 preparation
                                                    (.8); prepare for same (.2); review and revise
                                                    draft protective order (.7); review and analyze
                                                    caselaw re same (.3).
09/12/23 Lola Ojeniyi                          0.40 Correspond with M. Esser re diligence.
09/13/23 Richard U. S. Howell, P.C.            1.00 Review and provide comments to draft
                                                    pleadings (.5); review, analyze
                                                    correspondence re open litigation issues (.5).
09/14/23 Michael P. Esser                      0.80 Review and analyze union diligence requests
                                                    and responses to same.
09/14/23 Colin R. Monaghan                     1.00 Research language on data room
                                                    confidentiality (.5); revise draft protective
                                                    order to include language on data room
                                                    confidentiality (.5).
09/14/23 Lola Ojeniyi                          0.80 Review and analyze correspondence from M.
                                                    Esser, K&E team re diligence (.2); draft and
                                                    revise memorandum re diligence (.5);
                                                    correspond with M. Esser, K&E team re same
                                                    (.1)
09/14/23 Luke Spangler                         3.40 Telephone conference with R. Orren, G.
                                                    Meadow re protective order (.5); draft and
                                                    revise same (2.9).
09/15/23 Uzo Dike                              0.50 Telephone conference with M. Esser and
                                                    K&E team re collective bargaining
                                                    considerations.
09/15/23 Michael P. Esser                      0.50 Review and revise protective order.
09/18/23 Kennedy Chiglo                        0.10 Review updated grievance summary from
                                                    Company.

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Yellow Corporation                                             Matter Number:              23631-50
Adversary Proceeding & Contested Matters

Date     Name                                 Hours Description
09/18/23 Uzo Dike                              0.60 Conference with M. Esser and K&E team re
                                                    litigation request summary and status of
                                                    discovery (.3); coordinate update of case
                                                    materials for attorney review and case
                                                    management (.3).
09/18/23 Michael P. Esser                      1.70 Conference with O. O’Callaghan re diligence
                                                    request summary (.1); prepare for same (.4);
                                                    correspond with C. Monaghan re protective
                                                    order (.5); review and analyze caselaw re
                                                    same (.4); correspond with counsel to secured
                                                    lenders re same (.3).
09/18/23 Allyson B. Smith                      0.40 Review, comment on second CCAA
                                                    recognition order (.2); correspond with
                                                    Goodmans, R. Jacobson re same (.2).
09/19/23 Richard U. S. Howell, P.C.            2.30 Telephone conferences with M. Slade, A.
                                                    Smith and other Company advisors re sales
                                                    process and open litigation issues (1.1);
                                                    prepare and review correspondence re same
                                                    (.6); review and provide comments to draft
                                                    pleadings (.6).
09/19/23 Colin R. Monaghan                     0.50 Review and implement proposed changes to
                                                    draft protective order.
09/20/23 Michael P. Esser                      2.00 Review and revise protective order (.5);
                                                    correspond with C. Monaghan re same (.3);
                                                    review and analyze proposed edits from DOJ
                                                    re same (.5); correspond with counsel to DOJ
                                                    re same (.2); review and analyze revised
                                                    expert engagement letter (.3); correspond with
                                                    W. Fogelberg re same (.2).
09/20/23 Richard U. S. Howell, P.C.            0.30 Review and analyze correspondence from M.
                                                    Esser re open litigation issues.
09/20/23 Colin R. Monaghan                     1.50 Review and revise draft protective order (.8);
                                                    review, revise protective order comment
                                                    summary (.7).
09/20/23 Lola Ojeniyi                          0.90 Draft and revise letter to litigation parties re
                                                    diligence issues (.7); review and analyze
                                                    diligence letters received from same (.1);
                                                    review and analyze proposal letter in support
                                                    of same (.1).




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Yellow Corporation                                             Matter Number:              23631-50
Adversary Proceeding & Contested Matters

Date     Name                                 Hours Description
09/21/23 Richard U. S. Howell, P.C.            2.00 Telephone conference with various litigation
                                                    parties re open litigation issues (.8); review,
                                                    analyze correspondence re same (.7); review,
                                                    draft presentation materials re same (.3);
                                                    review, draft correspondence re work in
                                                    process (.2).
09/21/23 Lola Ojeniyi                          1.60 Draft and revise letter to litigation parties re
                                                    diligence (1.2); correspond with O.
                                                    O'Callaghan re same (.2); correspond with M.
                                                    Esser, O. O'Callaghan re same (.2).
09/21/23 Roy Michael Roman                     5.20 Research and analyze issues re pension
                                                    matters (4.5); draft summary re same (.3);
                                                    telephone conference with T. Huskey, K.
                                                    Puccia re same (.4).
09/22/23 Orla O'Callaghan                      0.80 Conference with M. Esser and K&E team re
                                                    grievance hearing and related issues (.5);
                                                    correspond with A&M team re status of open
                                                    items in litigation diligence summary (.1);
                                                    correspond with A&M team re additional
                                                    litigation diligence requests (.1); correspond
                                                    with M. Esser, R. Walsh re same (.1).
09/22/23 David R. Seligman, P.C.               1.60 Review and analyze litigation counterparty
                                                    response (1.1); telephone conferences and
                                                    correspond with W. Fogelberg and K&E team
                                                    re same (.5).
09/25/23 Richard U. S. Howell, P.C.            0.60 Telephone conference with M. Esser, K&E
                                                    team re open litigation issues (.3); prepare and
                                                    review correspondence re same (.3).
09/26/23 Richard U. S. Howell, P.C.            0.50 Telephone conference with various litigation
                                                    parties re open litigation issues.
09/26/23 Orla O'Callaghan                      0.50 Correspond with M. Esser re litigation
                                                    diligence requests (.1); correspond with K.
                                                    Puccia re status of diligence summaries
                                                    revisions (.1); correspond with A&M team
                                                    re revised diligence summaries (.1); telephone
                                                    conference with K. Puccia, K&E team and
                                                    A&M team re diligence matters (.2).
09/26/23 Lola Ojeniyi                          0.10 Review and analyze correspondence from K.
                                                    Puccia and O. O'Callaghan re diligence
                                                    issues.




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Yellow Corporation                                              Matter Number:              23631-50
Adversary Proceeding & Contested Matters

Date     Name                                 Hours Description
09/27/23 Michael P. Esser                      3.30 Prepare for and attend conference with B.
                                                    Whittman re litigation diligence matters (.5);
                                                    prepare for and attend conference with R.
                                                    Walsh re same (1.0); prepare for and attend
                                                    conference with O. O’Callaghan re same (.5);
                                                    research re board document privilege matters
                                                    (.5); outline pension issues (.5); outline
                                                    discovery issues (.3).
09/27/23 Conor P. McNamara                     0.80 Review, comment on litigation diligence
                                                    requests.
09/27/23 Orla O'Callaghan                      1.30 Correspond with M. Esser re next steps and
                                                    agenda for litigation (.1); conference with M.
                                                    Esser, K&E team re same (.2); conference
                                                    with K&E team re diligence (.2); conference
                                                    with M. Esser re same (.3); correspond with
                                                    same re diligence (.1); correspond with M.
                                                    Esser, K&E team re litigation status, next
                                                    steps (.2); correspond with Company re
                                                    litigation considerations (.2).
09/27/23 Lola Ojeniyi                          0.50 Revise and update draft letter to litigation
                                                    parties re diligence (.3); correspond with O.
                                                    O'Callaghan and M. Esser re same (.2).
09/28/23 Michael P. Esser                      1.80 Review and analyze diligence responses (.7);
                                                    review and analyze documents re same (.8);
                                                    correspond with O. O’Callaghan re same (.3).
09/28/23 Orla O'Callaghan                      1.50 Review and analyze diligence requests (1.0);
                                                    draft list of litigation collection items re same
                                                    (.2); correspond with M. Esser re same (.1);
                                                    review, revise same (.1); correspond with M.
                                                    Slade re same (.1).
09/29/23 Michael P. Esser                      3.20 Review and analyze data room (.5);
                                                    conference with O. O’Callaghan re same (.5);
                                                    conference with witness re witness matters
                                                    (.5); prepare for same (.5); review and
                                                    revise diligence responses (1.2).
09/29/23 Orla O'Callaghan                      1.30 Conference with A&M team re diligence
                                                    (1.0); correspond with M. Esser and C.
                                                    McNamara re same (.1); review and analyze
                                                    letter re same (.2).

Total                                          87.90




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173393
                                                                                           Client Matter: 23631-51

In the Matter of Automatic Stay Matters



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 99,473.50
Total legal services rendered                                                                                                    $ 99,473.50




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Yellow Corporation                                              Matter Number:           23631-51
Automatic Stay Matters




                                        Summary of Hours Billed

Name                                                        Hours         Rate          Amount
Olivia Acuna                                                 17.90    1,155.00         20,674.50
Amy Donahue                                                   1.90      480.00            912.00
Michael P. Esser                                              0.20    1,475.00            295.00
Whitney Fogelberg                                             3.30    1,425.00          4,702.50
Trent William Huskey                                         15.10      995.00         15,024.50
Rob Jacobson                                                  1.60    1,245.00          1,992.00
Catherine Lee                                                 0.30    1,155.00            346.50
Conor P. McNamara                                             0.20    1,295.00            259.00
Aaron Metviner                                                0.30    1,245.00            373.50
Ryan Connor Muhlstock                                        26.30      885.00         23,275.50
Patrick J. Nash Jr., P.C.                                     0.10    2,045.00            204.50
Karra A. Puccia                                              15.50      885.00         13,717.50
Zak Read                                                     17.90      885.00         15,841.50
Michael B. Slade                                              1.00    1,855.00          1,855.00

TOTALS                                                      101.60                    $ 99,473.50




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Yellow Corporation                                              Matter Number:            23631-51
Automatic Stay Matters


                                      Description of Legal Services

Date     Name                                 Hours Description
09/02/23 Zak Read                              0.90 Review, analyze lift stay motions (.4); review,
                                                    revise summary re same (.3); correspond with
                                                    W. Fogelberg re same (.1); correspond with
                                                    R. Jacobson, K&E team re same (.1).
09/04/23 Rob Jacobson                          1.00 Review, analyze automatic stay violation
                                                    letters.
09/04/23 Ryan Connor Muhlstock                 1.00 Draft notice of automatic stay violation.
09/04/23 Zak Read                              0.50 Analyze automatic stay considerations (.3);
                                                    review, revise summary re same (.1);
                                                    correspond with W. Fogelberg, K&E team re
                                                    same (.1).
09/05/23 Michael P. Esser                      0.20 Prepare for conference with M. Slade re
                                                    automatic stay issue.
09/05/23 Whitney Fogelberg                     0.50 Telephone conference with Company, M.
                                                    Slade, K&E team re automatic stay litigation
                                                    matters.
09/05/23 Rob Jacobson                          0.60 Correspond with Company re automatic stay
                                                    matters.
09/05/23 Karra A. Puccia                       0.10 Correspond with Z. Read re automatic stay
                                                    stipulation precedent.
09/05/23 Zak Read                              4.00 Analyze automatic stay considerations (.2);
                                                    review, revise summary re same (.2);
                                                    correspond with R. Muhlstock re same (.1);
                                                    draft stipulations re motions to lift automatic
                                                    stay (3.3); conference with K. Puccia re same
                                                    (.1); correspond with C. McNamara, K&E
                                                    team re same (.1).
09/06/23 Olivia Acuna                          0.30 Draft form correspondence re automatic stay.
09/06/23 Karra A. Puccia                       1.60 Revise stipulations to extend deadline to
                                                    respond to motion to lift automatic stay.
09/06/23 Zak Read                              0.70 Review, revise stipulations re motions to lift
                                                    automatic stay (.4); correspond with C.
                                                    McNamara, K&E team re same (.1);
                                                    correspond with K. Puccia re same (.2).
09/07/23 Olivia Acuna                          0.70 Revise stipulation re lift stay.
09/07/23 Catherine Lee                         0.30 Telephone conference with Akin re lift stay
                                                    motions (.1); correspond with C. McNamara,
                                                    K&E team re same (.1); correspond with Akin
                                                    re same (.1).


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Yellow Corporation                                              Matter Number:            23631-51
Automatic Stay Matters

Date     Name                                 Hours Description
09/07/23 Zak Read                              1.10 Correspond with C. McNamara, K&E team re
                                                    automatic stay stipulations (.1); correspond
                                                    with plaintiffs' counsel re same (.1);
                                                    conferences with plaintiffs' counsel re same
                                                    (.2); review, revise stipulations re same (.6);
                                                    correspond with Pachulski re same (.1).
09/08/23 Olivia Acuna                          0.90 Correspond with counterparties re stipulation
                                                    re lift stay (.3); prepare filing re same (.1);
                                                    correspond with K. Puccia, C. McNamara re
                                                    same (.5).
09/08/23 Karra A. Puccia                       0.50 Revise Daimler stipulation for lift stay to
                                                    prepare for filing.
09/08/23 Zak Read                              0.70 Review, analyze automatic stay issues (.3);
                                                    review, revise summary re same (.3);
                                                    correspond with K. Puccia, K&E team re
                                                    same (.1).
09/09/23 Olivia Acuna                          0.10 Correspond with counterparty to lift stay
                                                    stipulation.
09/11/23 Whitney Fogelberg                     0.80 Correspond with counsel to Peapack re lift
                                                    stay motion (.3); review and revise stipulation
                                                    re same (.5).
09/11/23 Patrick J. Nash Jr., P.C.             0.10 Review and analyze Kansas court’s ruling
                                                    staying proceedings pending resolution of
                                                    transfer motion.
09/12/23 Whitney Fogelberg                     1.10 Correspond with counsel to AFCO re relief
                                                    from automatic stay to terminate insurance
                                                    policies (.5); review and revise stipulation re
                                                    same (.6).
09/12/23 Ryan Connor Muhlstock                 1.30 Draft notice of automatic stay violation letter
                                                    (1.2); correspond with R. Jacobson and K&E
                                                    team re same (.1).
09/12/23 Karra A. Puccia                       0.80 Review, revise lift stay motion summaries.
09/13/23 Whitney Fogelberg                     0.90 Correspond with counsel to AFCO re relief
                                                    from automatic stay to terminate insurance
                                                    policies (.2); correspond with Akin re same
                                                    (.4); review and analyze issues re same (.3).
09/13/23 Ryan Connor Muhlstock                 4.40 Research, analyze case law re automatic stay
                                                    violations (2.0); correspond with O. Acuna
                                                    and K&E team re same (.2); draft cease and
                                                    desist letter re same (2.2).




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Yellow Corporation                                              Matter Number:             23631-51
Automatic Stay Matters

Date     Name                                 Hours Description
09/14/23 Ryan Connor Muhlstock                 0.80 Review, revise notice of automatic stay
                                                    violation (.3); research, analyze materials re
                                                    cease and desist letter (.4); correspond with O.
                                                    Acuna and K&E team re same (.1).
09/14/23 Zak Read                              1.30 Review, analyze lift stay motions (.9); draft
                                                    summary re same (.3); correspond with W.
                                                    Fogelberg, K&E team re same (.1).
09/15/23 Zak Read                              0.50 Review, analyze lift stay motions (.3); review,
                                                    revise summary re same (.1); correspond with
                                                    W. Fogelberg, K&E team re same (.1).
09/17/23 Olivia Acuna                          0.10 Revise lift stay stipulation.
09/18/23 Olivia Acuna                          2.40 Correspond with M. Slade re automatic stay
                                                    violation (.2); draft letter re same (.7); revise
                                                    re same (.4); correspond with R. Muhlstock re
                                                    same (.3); research re same (.8).
09/18/23 Ryan Connor Muhlstock                 8.00 Research, analyze case law re turnover
                                                    actions, related strategy (3.9); correspond
                                                    with O. Acuna and R. Jacobson re same (.3);
                                                    draft memorandum re same (3.5); review,
                                                    revise re same (.3).
09/18/23 Karra A. Puccia                       1.20 Review automatic stay letter precedent (.2)
                                                    and draft and revise union automatic stay
                                                    response letter (1.0).
09/18/23 Zak Read                              0.30 Analyze pleadings re automatic stay issues
                                                    (.1); review, revise summary re same (.1);
                                                    correspond with W. Fogelberg, K&E team re
                                                    same (.1).
09/18/23 Michael B. Slade                      0.20 Telephone conference with O. Acuna re stay
                                                    violation and correspondence re same.
09/19/23 Olivia Acuna                          3.90 Draft, revise automatic stay violation letters
                                                    (2.6); research re same (.5); correspond with
                                                    K. Puccia, R. Muhlstock, R. Jacobson re same
                                                    (.4); telephone conference with A&M team re
                                                    same (.4).
09/19/23 Olivia Acuna                          0.30 Correspond with M. Slade re automatic stay
                                                    violation.
09/19/23 Ryan Connor Muhlstock                 7.40 Research, analyze case law re automatic stay
                                                    violation (1.9); draft notices of automatic stay
                                                    (3.3); review, revise re same (1.3); telephone
                                                    conference with R. Jacobson and K&E team,
                                                    A&M team and Company re same (.9).
09/19/23 Karra A. Puccia                       0.50 Revise automatic stay letter.



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Automatic Stay Matters

Date     Name                                 Hours Description
09/19/23 Zak Read                              0.80 Review, revise summary re automatic stay
                                                    issues (.2); analyze motions, stipulations,
                                                    letters re same (.4); correspond with C.
                                                    McNamara, K&E team re same (.1);
                                                    correspond with W. Fogelberg, K&E team re
                                                    same (.1).
09/20/23 Olivia Acuna                          1.30 Revise automatic stay violation letter (.9);
                                                    correspond with K. Puccia re same (.4).
09/20/23 Ryan Connor Muhlstock                 2.20 Review, revise notices of automatic stay
                                                    violations (1.8); research, analyze case law re
                                                    same (.3); correspond with R. Jacobson and
                                                    K&E team re same (.1).
09/20/23 Karra A. Puccia                       1.50 Draft and revise stipulation to lift stay with
                                                    equipment lessor.
09/20/23 Zak Read                              0.30 Review, revise summary re automatic stay
                                                    matters (.2); correspond with W. Fogelberg,
                                                    K&E team re same (.1).
09/21/23 Olivia Acuna                          3.30 Draft stipulations re lift of automatic stay
                                                    (1.9); revise re same (1.0); correspond with K.
                                                    Puccia, W. Fogelberg, T. Huskey re same (.4).
09/21/23 Conor P. McNamara                     0.20 Correspond with K. Puccia re lift-stay
                                                    motions.
09/21/23 Ryan Connor Muhlstock                 0.20 Review, revise summary re automatic stay
                                                    issues.
09/21/23 Zak Read                              0.50 Correspond with C. McNamara, K&E team re
                                                    automatic stay issues (.1); correspond with
                                                    plaintiff's counsel re same (.1); review, revise
                                                    summary re same (.2); correspond with W.
                                                    Fogelberg, K&E team re same (.1).
09/22/23 Trent William Huskey                  1.40 Draft, revise lift stay stipulations re
                                                    equipment leases.
09/22/23 Ryan Connor Muhlstock                 0.80 Telephone conference with A. Smith and
                                                    K&E team re automatic stay issues.
09/22/23 Karra A. Puccia                       0.40 Draft stipulation for extension of deadline to
                                                    respond to lift stay.
09/22/23 Karra A. Puccia                       1.40 Draft and revise equipment lease lift stay
                                                    motion (1.1); correspond with lessor counsel
                                                    and Akin re same (.3).
09/22/23 Zak Read                              0.20 Correspond with C. McNamara, K&E team re
                                                    automatic stay considerations (.1); correspond
                                                    with plaintiff's counsel re same (.1).
09/25/23 Olivia Acuna                          3.40 Revise, review stipulations re lifting
                                                    automatic stay.

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Automatic Stay Matters

Date     Name                                 Hours Description
09/25/23 Trent William Huskey                  3.90 Correspond with O. Acuna re lift stay
                                                    stipulations (.3); correspond with A&M team
                                                    re same (.2); draft, revise lift stay stipulations
                                                    (2.9); evaluate leased equipment schedules
                                                    (.5).
09/25/23 Aaron Metviner                        0.30 Review stay relief issue (.2), correspond with
                                                    K&E team re same (.1).
09/25/23 Karra A. Puccia                       3.10 Revise various lease equipment stipulations to
                                                    lift automatic stay (2.1), correspond with
                                                    UCC and various lessor counsel re same (.8),
                                                    compile filed stipulations (.2).
09/25/23 Zak Read                              0.40 Review, analyze lift stay motions (.2); review,
                                                    revise summary re same (.1); correspond with
                                                    W. Fogelberg, K&E team re same (.1).
09/26/23 Olivia Acuna                          0.50 Revise stipulations re lifting automatic stay
                                                    (.4); correspond with W. Fogelberg re same
                                                    (.1).
09/26/23 Trent William Huskey                  4.30 Correspond with claimants re lift stay
                                                    stipulations (.7); correspond with A&M team
                                                    re same (.3); correspond with O. Acuna re
                                                    same (.4); draft, revise lift stay stipulations
                                                    (2.9).
09/26/23 Ryan Connor Muhlstock                 0.20 Conference with Z. Read re automatic stay
                                                    violations, related process.
09/26/23 Karra A. Puccia                       0.20 Correspond with Pachulski team re
                                                    stipulations for extension of deadline to
                                                    respond to motions to lift stay.
09/26/23 Karra A. Puccia                       0.90 Revise various equipment lessor stipulations
                                                    to lift stay (.5); correspond with lessor
                                                    counsel re same (.4).
09/27/23 Olivia Acuna                          0.30 Correspond with UCC re stipulations to lift
                                                    automatic stay (.2); research re auto stay
                                                    violation (.1).
09/27/23 Trent William Huskey                  2.40 Draft, revise lift stay stipulations (2.2);
                                                    correspond with A&M team re same (.1);
                                                    correspond with O. Acuna re same (.1).
09/27/23 Karra A. Puccia                       1.90 Revise stipulations for relief from stay re
                                                    equipment leases (.7); revise stipulations for
                                                    extension of deadline to respond to motions to
                                                    lift stay (.8); correspond with counsel to
                                                    various lessors re same (.4).




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Automatic Stay Matters

Date     Name                                 Hours Description
09/27/23 Zak Read                              0.30 Conference with C. McNamara re automatic
                                                    stay considerations (.1); review, analyze
                                                    considerations re same (.2).
09/28/23 Amy Donahue                           1.90 Research re automatic stay objections (.4);
                                                    prepare initial draft of objection to lift stay
                                                    motions (1.5).
09/28/23 Trent William Huskey                  2.20 Review, revise lift stay stipulations.
09/28/23 Karra A. Puccia                       0.40 Revise automatic stay motion and inquiry
                                                    summary.
09/28/23 Zak Read                              3.10 Review, analyze filings re automatic stay
                                                    issues (.6); review, revise summary re same
                                                    (.2); correspond with W. Fogelberg, K&E
                                                    team re same (.1); correspond with C.
                                                    McNamara, K&E team re same (.1); analyze
                                                    considerations re same (.7); correspond with
                                                    G. Meadow, K&E team re same (.1); draft
                                                    omnibus objection re same (1.3).
09/28/23 Michael B. Slade                      0.80 Telephone conference with Company
                                                    advisors re lift stay issues (.5); follow up re
                                                    same (.3).
09/29/23 Olivia Acuna                          0.40 Review, revise lift stay stipulation (.3);
                                                    correspond with T. Huskey re same (.1).
09/29/23 Trent William Huskey                  0.90 Review, revise lift stay stipulations.
09/29/23 Karra A. Puccia                       0.60 Draft automatic stay letter re impounding
                                                    Yellow trailers.
09/29/23 Karra A. Puccia                       0.40 Draft stipulation for extension of time to
                                                    respond to motion for lift stay.
09/29/23 Zak Read                              2.30 Draft omnibus objection re motions to lift
                                                    automatic stay (2.2); correspond with C.
                                                    McNamara re same (.1).

Total                                         101.60




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173392
                                                                                           Client Matter: 23631-52

In the Matter of Business Operations



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                         $ 195,125.00
Total legal services rendered                                                                                                   $ 195,125.00




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Yellow Corporation                                              Matter Number:           23631-52
Business Operations




                                        Summary of Hours Billed

Name                                                        Hours         Rate          Amount
Olivia Acuna                                                 10.70    1,155.00         12,358.50
Jacob E. Black                                                3.30      995.00          3,283.50
Lauren Collins                                               18.50    1,155.00         21,367.50
James Dolphin III                                             1.30    1,405.00          1,826.50
Whitney Fogelberg                                            13.60    1,425.00         19,380.00
Trent William Huskey                                          5.80      995.00          5,771.00
Rob Jacobson                                                 79.60    1,245.00         99,102.00
Catherine Lee                                                 2.10    1,155.00          2,425.50
Conor P. McNamara                                             1.00    1,295.00          1,295.00
Ryan Connor Muhlstock                                         9.30      885.00          8,230.50
Karra A. Puccia                                              11.20      885.00          9,912.00
Zak Read                                                      2.30      885.00          2,035.50
Roy Michael Roman                                             0.70      885.00            619.50
Allyson B. Smith                                              2.10    1,375.00          2,887.50
Eric Steinfeld                                                6.30      735.00          4,630.50

TOTALS                                                      167.80                   $ 195,125.00




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Business Operations


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Rob Jacobson                          2.10 Review, analyze utilities settlement (.8);
                                                    correspond with K. Puccia re same (.1); draft
                                                    correspondence re same (.6); correspond with
                                                    A&M re same (.2); analyze data re same (.4).
09/01/23 Ryan Connor Muhlstock                 0.70 Conference with R. Jacobson re operational
                                                    issues (.2); correspond with customer re same
                                                    (.2); research, analyze documents re same
                                                    (.3).
09/04/23 Whitney Fogelberg                     1.40 Telephone conferences with Company and
                                                    Company advisors re business wind down and
                                                    related issues (.9); correspond with R.
                                                    Jacobson and K&E team re same (.5).
09/04/23 Trent William Huskey                  0.20 Evaluate summary re operational issues (.1);
                                                    correspond with K. Puccia re same (.1).
09/05/23 Lauren Collins                        2.00 Review, revise operational final orders.
09/05/23 James Dolphin III                     0.50 Correspond with J. Cornejo, K&E team re
                                                    operational considerations.
09/05/23 Rob Jacobson                          1.70 Review, comment on operational first day
                                                    orders (1.4); correspond with Akin, T. Huskey
                                                    and K&E team re same (.3).
09/05/23 Karra A. Puccia                       0.40 Review, revise utilities final order.
09/06/23 Olivia Acuna                          0.40 Telephone conference with J. Black, K&E
                                                    team re operational inbounds.
09/06/23 Jacob E. Black                        0.80 Analyze, revise critical vendors orders (.6);
                                                    correspond with R. Jacobson and K&E team
                                                    re same (.2).
09/06/23 Lauren Collins                        1.00 Telephone conference with O. Acuna, K&E
                                                    team re business operations summary (.3);
                                                    conference with T. Huskey re same (.7).
09/06/23 Trent William Huskey                  0.30 Correspond with R. Jacobson, K&E team re
                                                    operational issues.




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Business Operations

Date     Name                                 Hours Description
09/06/23 Rob Jacobson                          6.40 Review, comment on operational first day
                                                    orders (1.2); conferences with Akin re same
                                                    (.3); correspond with A&M re same (.9);
                                                    telephone conferences with utilities providers
                                                    re adequate assurance (.4); review, analyze
                                                    adequate assurance requests re same (.9);
                                                    review, analyze filed pleadings re same (.4);
                                                    correspond with K. Puccia re same (.3);
                                                    review, comment on second day operational
                                                    orders (1.7); correspond with C. Lee, K&E
                                                    team re same (.3).
09/06/23 Catherine Lee                         0.20 Conference with O. Acuna, K&E team re
                                                    operational issues.
09/06/23 Ryan Connor Muhlstock                 0.80 Correspond with Company and Company
                                                    advisors re Company operational issues (.6);
                                                    conference with O. Acuna and K&E team re
                                                    same (.2).
09/06/23 Karra A. Puccia                       2.00 Review, revise summary re operational
                                                    requests (1.4); correspond with R. Jacobson,
                                                    K&E team re same (.2); telephone conference
                                                    with R. Jacobson, K&E team re operational
                                                    requests (.4).
09/06/23 Karra A. Puccia                       1.20 Correspond with various creditors' counsel
                                                    and A&M team re various operational
                                                    inquiries.
09/06/23 Karra A. Puccia                       0.40 Research utilities adequate assurance
                                                    settlement letter precedent.
09/06/23 Eric Steinfeld                        3.00 Review, revise operational issue
                                                    summary (.3); conference with K. Puccia, T.
                                                    Huskey, O. Acuna and K&E team and re
                                                    same (.3); review and analyze in-bound
                                                    operational requests (.3); draft, revise second
                                                    day order summary (2.1).
09/07/23 Jacob E. Black                        0.90 Analyze, revise interim, final orders re critical
                                                    vendors (.7); correspond with R. Jacobson
                                                    and K&E team re same (.2).
09/07/23 Rob Jacobson                          2.40 Review, revise operational second day orders
                                                    re Akin comments (.6); correspond with
                                                    A&M team re customer collections (.3);
                                                    review, analyze issues re same (.8); review,
                                                    analyze vendor issue (.4); correspond with O.
                                                    Acuna re same (.3).
09/07/23 Karra A. Puccia                       0.30 Update operational issues summary.


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Business Operations

Date     Name                                 Hours Description
09/07/23 Karra A. Puccia                       0.10 Correspond with utilities provider counsel and
                                                    A&M re adequate assurance deposit
                                                    settlement.
09/08/23 Jacob E. Black                        0.40 Analyze, revise interim, final orders re critical
                                                    vendors (.2); correspond with R. Jacobson
                                                    and K&E team re same (.2).
09/08/23 Rob Jacobson                          3.30 Review, revise operational first and second
                                                    day orders (1.9); correspond with counsels to
                                                    lenders, UCC, interested parties re same (.7);
                                                    review, revise utilities settlement offer (.7).
09/09/23 Rob Jacobson                          1.40 Review, revise customer collections order re
                                                    Akin comments (1.1); correspond with A&M,
                                                    O. Acuna re same (.3).
09/10/23 Zak Read                              0.60 Review, revise proposed final orders (.5);
                                                    correspond with R. Jacobson, K&E team re
                                                    same (.1).
09/11/23 Olivia Acuna                          1.00 Telephone conference with K&E team, R.
                                                    Jacobson re operational issues (.6); research
                                                    re same (.4).
09/11/23 Jacob E. Black                        0.10 Telephone conference with R. Jacobson and
                                                    K&E team re operational issues.
09/11/23 Lauren Collins                        1.00 Conference with C. McNamara, K&E team re
                                                    business operations issues.
09/11/23 Rob Jacobson                          7.60 Review, revise operational second day orders
                                                    (2.9); review, revise operational first day
                                                    orders (1.2); correspond with Akin, U.S.
                                                    Trustee, lender counsel, interested parties re
                                                    distributions of same (.9); correspond with
                                                    same re comments to orders (.4); correspond
                                                    with L. Collins, C. Lee, K&E team re same
                                                    (.5); review, comment on summary re
                                                    motions up for second day hearing (1.2);
                                                    correspond with T. Huskey, K&E team re
                                                    operational issues, summaries, and next steps
                                                    (.5).
09/11/23 Catherine Lee                         0.50 Conference with C. McNamara, K&E team re
                                                    operational issues, responses.
09/11/23 Conor P. McNamara                     0.50 Telephone conference with R. Jacobson, K&E
                                                    team re operational issues.
09/11/23 Ryan Connor Muhlstock                 1.40 Review, analyze Company operational issues
                                                    (.9); correspond with opposing counsel re
                                                    same (.5).



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Business Operations

Date     Name                                 Hours Description
09/11/23 Zak Read                              0.50 Conference with R. Jacobson, K&E team re
                                                    operational considerations.
09/12/23 Jacob E. Black                        1.10 Analyze, revise final vendors order (.9);
                                                    correspond with R. Jacobson and K&E team
                                                    re same (.2).
09/12/23 Lauren Collins                        3.90 Review, revise final orders for operational
                                                    first day motions.
09/12/23 Rob Jacobson                          9.80 Review, revise operational first day orders
                                                    and second day orders (3.9); correspond with
                                                    Akin, counsel to lenders, U.S. Trustee re same
                                                    (1.0); correspond with A&P re comments to
                                                    first day orders (.6); correspond with Akin re
                                                    comments to first and second day orders (.6);
                                                    correspond with W. Fogelberg re orders (.4);
                                                    correspond with L. Collins, K&E team re
                                                    orders, filing (.6); correspond with PSZJ re
                                                    first day orders, filing, certifications of
                                                    counsel, comments thereto (1.4); review,
                                                    analyze filings (.6); conference with L.
                                                    Collins, C. Lee re orders, next steps (.7).
09/12/23 Ryan Connor Muhlstock                 1.90 Research, analyze caselaw re operational
                                                    issues (.9); correspond with R. Jacobson and
                                                    K&E team re same (.2); correspond with
                                                    opposing counsel re same (.6); review, revise
                                                    summary re same (.2).
09/12/23 Karra A. Puccia                       0.40 Update operational inquiries summary.
09/12/23 Karra A. Puccia                       0.80 Revise utilities final order.
09/13/23 Olivia Acuna                          0.50 Telephone conference with R. Jacobson, K&E
                                                    team re operational inbounds.
09/13/23 Whitney Fogelberg                     1.80 Telephone conferences and correspond with
                                                    multiple parties re business wind down and
                                                    related operational issues (1.0); correspond
                                                    and conferences with R. Jacobson and K&E
                                                    team re same (.8).
09/13/23 Trent William Huskey                  0.80 Correspond with R. Jacobson, K&E team re
                                                    operational issues (.4); correspond with A&M
                                                    team re return of equipment (.4).




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Business Operations

Date     Name                                 Hours Description
09/13/23 Rob Jacobson                          8.00 Review, analyze wind-down operational
                                                    matters (.5); review, revise second day orders
                                                    (1.0); correspond and conference with O.
                                                    Acuna, A&M team re customer collections
                                                    (1.0); conference with customers re setoffs
                                                    negotiations (.5); correspond with A&M,
                                                    Company re team re same (.5); negotiate
                                                    second day orders with various counterparties
                                                    (1.8); correspond with O. Acuna, K&E team,
                                                    utilities re utility deposits (2.0); review,
                                                    comment on de minims asset order, rejection
                                                    procedures order (.7).
09/13/23 Catherine Lee                         0.50 Conference with K. Puccia, K&E team re
                                                    operational issues.
09/13/23 Conor P. McNamara                     0.50 Telephone conference with R. Jacobson, K&E
                                                    team re operational issues.
09/13/23 Ryan Connor Muhlstock                 0.50 Conference with R. Jacobson and K&E team
                                                    re operational issues.
09/13/23 Karra A. Puccia                       1.70 Review, analyze operational outreach
                                                    inquiries (1.0); revise summary re same (.5);
                                                    telephone conference with O. Acuna, K&E
                                                    team re same (.2).
09/13/23 Zak Read                              0.50 Conference with K. Puccia, K&E team re
                                                    operational issues.
09/13/23 Roy Michael Roman                     0.30 Telephone conference with R. Jacobson, K&E
                                                    team re operational issues.
09/13/23 Eric Steinfeld                        0.60 Review, revise operational summary (.1);
                                                    conference with R. Jacobson, T. Huskey and
                                                    K&E team re same (.5).
09/14/23 Whitney Fogelberg                     1.60 Telephone conferences with multiple parties
                                                    re business wind down and related operational
                                                    issues (.8); correspond with R. Jacobson and
                                                    K&E team re same (.8).
09/14/23 Trent William Huskey                  1.00 Correspond with parties re equipment leases
                                                    (.8); correspond with A&M team re same (.2).
09/14/23 Rob Jacobson                          5.40 Correspond with O. Acuna, K&E team, A&M
                                                    team re wind-down operational matters (3.9);
                                                    conference with O. Acuna re customer
                                                    matters (.6); conference with A&M team re
                                                    same (.4); draft correspondence re same (.5).
09/14/23 Ryan Connor Muhlstock                 0.50 Research, analyze case law re operational
                                                    issues (.2); correspond with opposing counsel
                                                    re same (.3).


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Business Operations

Date     Name                                 Hours Description
09/15/23 Whitney Fogelberg                     1.30 Telephone conferences with Company
                                                    advisors re business wind down and related
                                                    operational issues (.5); correspond with R.
                                                    Jacobson and K&E team re same (.8).
09/15/23 Trent William Huskey                  0.50 Correspond with third parties re equipment
                                                    leases (.4); correspond with A&M re same
                                                    (.1).
09/15/23 Rob Jacobson                          1.70 Conferences with A&M team re vendor issues
                                                    (.5); review, analyze issues re same (.7);
                                                    review, revise correspondence to vendors re
                                                    same (.5).
09/18/23 Olivia Acuna                          0.20 Correspond with R. Jacobson re accounts
                                                    receivable.
09/18/23 Lauren Collins                        1.90 Telephone conference with R. Jacobson, K&E
                                                    team re operations issues (.3); correspond
                                                    with various parties re operations issues (1.6).
09/18/23 Trent William Huskey                  1.40 Conference with R. Jacobson, K&E team re
                                                    operational issues (.3); correspond with R.
                                                    Jacobson, K&E team re equipment issues (.2);
                                                    correspond with third parties re operational
                                                    issues (.9).
09/18/23 Rob Jacobson                          5.60 Review, analyze customer receivables matters
                                                    (2.4); conference with O. Acuna, K&E team
                                                    re same (.5); review, comment on accounts
                                                    receivable letters re same (.6); review,
                                                    analyze issues re customer agreements (.9);
                                                    conference with O. Acuna, K&E team re
                                                    same (.5); telephone conference with Z. Read,
                                                    K&E team re operational issues summary,
                                                    inbounds, inquiries and next steps (.7).
09/18/23 Catherine Lee                         0.10 Conference with K. Puccia, K&E team re
                                                    operational issues.
09/18/23 Ryan Connor Muhlstock                 0.10 Conference call with R. Jacobson and K&E
                                                    team re operational issues, related status.
09/18/23 Karra A. Puccia                       0.70 Review operational inquiries and revise
                                                    summary re same (.6); telephone conference
                                                    with R. Jacobson and K&E team re same (.1).
09/18/23 Karra A. Puccia                       0.10 Correspond with utility provider and A&M re
                                                    adequate assurance request.
09/18/23 Zak Read                              0.20 Conference with K. Puccia, K&E team re
                                                    operational issues (.1); prepare for same (.1).
09/18/23 Roy Michael Roman                     0.30 Telephone conference re operational issues
                                                    with K. Puccia, K&E team.

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Date     Name                                 Hours Description
09/18/23 Eric Steinfeld                        0.70 Review, revise operational summary (.2);
                                                    review and analyze issues re same (.3);
                                                    conference with R. Jacobson, T. Huskey, K.
                                                    Puccia and K&E team re same (.2).
09/19/23 Rob Jacobson                          4.60 Review, analyze customer collections issues
                                                    (2.9); correspond with O. Acuna, K&E team
                                                    re same (.5); correspond with customer
                                                    counsel re same (.4); correspond with K&E
                                                    team re various wind-down issues, matters
                                                    (.8).
09/20/23 Lauren Collins                        1.00 Telephone conference with C. Lee re business
                                                    operations issues (.3); correspond with K.
                                                    Puccia, A&M re same (.7).
09/20/23 James Dolphin III                     0.80 Correspond with R. Jacobson and K&E team
                                                    re environmental diligence.
09/20/23 Trent William Huskey                  0.20 Conference with R. Jacobson, K&E team re
                                                    operational issues.
09/20/23 Rob Jacobson                          6.70 Review, analyze customer collections matters
                                                    (2.7); correspond with Company re same (.4);
                                                    correspond with A&M team re wind-down
                                                    operational matters and considerations (.8);
                                                    review, analyze customer related matters (.8);
                                                    correspond with A&M team re same (.3);
                                                    review, comment on customer collections
                                                    letter (1.7).
09/20/23 Catherine Lee                         0.10 Conference with K. Puccia, K&E team re
                                                    operational issues.
09/20/23 Ryan Connor Muhlstock                 0.60 Telephone conference with R. Jacobson and
                                                    K&E team re operational issues (.1);
                                                    correspond with opposing counsel re same
                                                    (.1); research, analyze case law re same (.4).
09/20/23 Zak Read                              0.10 Conference with K. Puccia, K&E team re
                                                    operational matters.
09/20/23 Roy Michael Roman                     0.10 Telephone conference with K. Puccia, K&E
                                                    team re operational issues.
09/20/23 Eric Steinfeld                        0.20 Telephone conference with R. Jacobson, T.
                                                    Huskey, C. Lee and K&E team re operational
                                                    issues.
09/21/23 Lauren Collins                        2.60 Correspond with Company and Company
                                                    advisors re business operations issues.




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Yellow Corporation                                              Matter Number:           23631-52
Business Operations

Date     Name                                 Hours Description
09/21/23 Rob Jacobson                          7.20 Correspond with A&M team re numerous
                                                    wind-down operational matters (1.2); review,
                                                    analyze collections issues, updates (.7);
                                                    correspond with A. Smith, W. Fogelberg re
                                                    same (.3); draft summary re collections
                                                    options, next steps (3.7); correspond with R.
                                                    Muhlstock re research re same (.5); research
                                                    re same (.8).
09/22/23 Olivia Acuna                          0.70 Telephone conference with W. Fogelberg,
                                                    K&E team re operational issues.
09/22/23 Lauren Collins                        1.00 Correspond with Company and Company
                                                    advisors re operations issues.
09/22/23 Whitney Fogelberg                     3.90 Telephone conferences with Company and
                                                    A&M team re customer collections (1.9);
                                                    correspond and conferences with R. Jacobson
                                                    and O. Acuna re same (1.2); review and
                                                    analyze issues re same (.8).
09/22/23 Trent William Huskey                  0.90 Correspond with third-parties re operational
                                                    inquiries (.6); correspond with A&M team re
                                                    equipment contracts (.3).
09/22/23 Rob Jacobson                          4.40 Review, revise summary re collections
                                                    matters (2.5); conference with W. Fogelberg,
                                                    A. Smith, O. Acuna, R. Muhlstock re same
                                                    (.8); conference with A&M team re same (.5);
                                                    conference with W. Fogelberg re same (.6).
09/22/23 Allyson B. Smith                      2.10 Telephone conference with R. Jacobson, K&E
                                                    team, A&M team re equipment issues (.6);
                                                    telephone conference with R. Jacobson, O.
                                                    Acuna re accounts receivable matters (1.1);
                                                    correspond with R. Jacobson, O. Acuna re
                                                    same (.4).
09/25/23 Olivia Acuna                          1.10 Telephone conference with T. Huskey, K&E
                                                    team re operational issues (.5); correspond
                                                    with lessor counsel re return of equipment
                                                    (.2); telephone conference with A&M team,
                                                    Company re accounts receivable matters (.4).
09/25/23 Lauren Collins                        1.30 Correspond with Company and Company
                                                    advisors re operations issues.
09/25/23 Trent William Huskey                  0.30 Conference with R. Jacobson, K&E team re
                                                    operational issues.
09/25/23 Catherine Lee                         0.30 Telephone conference with K. Puccia, K&E
                                                    team re operational issues.



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Business Operations

Date     Name                                 Hours Description
09/25/23 Ryan Connor Muhlstock                 0.70 Conference with O. Acuna and K&E team re
                                                    operational issues (.3); correspond with
                                                    opposing parties re same (.4).
09/25/23 Karra A. Puccia                       2.20 Telephone conference with O. Acuna, K&E
                                                    team re operational inquiries (.3); review
                                                    operational inquiries and update operational
                                                    inquiry summary (1.4); correspond with
                                                    various vendors and creditors in response to
                                                    inbounds (.5).
09/25/23 Eric Steinfeld                        1.20 Telephone conference with K. Puccia, O.
                                                    Acuna and T. Huskey re operational issues
                                                    (.5); review and analyze operational summary
                                                    (.2); prepare for telephone conference with C.
                                                    McNamara, T. Huskey, O. Acuna and K&E
                                                    team re CBA issues (.3); telephone
                                                    conference with same re same (.2).
09/26/23 Lauren Collins                        1.30 Correspond with Company and Company
                                                    advisors re operations issues.
09/26/23 Rob Jacobson                          1.30 Conference with W. Fogelberg re wind-down
                                                    operational matters (.9); correspond with O.
                                                    Acuna re same (.4).
09/27/23 Olivia Acuna                          2.80 Analyze issues re services used by Company
                                                    (.9); correspond with A&M team, R. Jacobson
                                                    re same (.5); telephone conference with R.
                                                    Jacobson, K&E team re operational issues
                                                    (.5); telephone conference with A&M team,
                                                    R. Jacobson, W. Fogelberg re leased
                                                    equipment (.5); correspond with customers re
                                                    accounts receivable matters (.4).
09/27/23 Trent William Huskey                  0.20 Correspond with R. Jacobson, K&E team re
                                                    operational issues.
09/27/23 Catherine Lee                         0.40 Telephone conference with K. Puccia, K&E
                                                    team re operational issues.
09/27/23 Ryan Connor Muhlstock                 2.10 Conference with O. Acuna and K&E team re
                                                    ongoing operational issues (.4); correspond
                                                    with opposing parties re same (.2); review,
                                                    revise summary re collection issues (.4);
                                                    conference with J. Black re same (.3);
                                                    research, analyze case law re same (.6);
                                                    prepare analysis re same (.2).




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Business Operations

Date     Name                                 Hours Description
09/27/23 Karra A. Puccia                       0.90 Telephone conference with O. Acuna, K&E
                                                    team re operational inquiries (.3); review
                                                    operational inquiries (.2); update operational
                                                    inquiry summary re same (.2); telephone
                                                    conference with various vendors and creditors
                                                    (.2).
09/27/23 Zak Read                              0.40 Conference with K. Puccia, K&E team re
                                                    operational issues.
09/27/23 Eric Steinfeld                        0.60 Review, revise operational issue summary
                                                    (.1); conference with R. Jacobson, O. Acuna,
                                                    K. Puccia and K&E team re operational
                                                    issues. (.5).
09/28/23 Olivia Acuna                          4.00 Telephone conference with Company, A&M
                                                    team, R. Muhlstock, R. Jacobson re accounts
                                                    receivable matters (.6); revise summary re
                                                    same (.5); analyze correspondence from
                                                    customers and Company re same (.8);
                                                    research re accounts receivable matters (.3);
                                                    draft setoff agreement (1.2); correspond with
                                                    R. Jacobson, R. Muhlstock re same (.6).
09/28/23 Lauren Collins                        1.50 Correspond with Company and Company
                                                    advisors re business operations issues.
09/28/23 Whitney Fogelberg                     1.80 Telephone conferences with multiple third
                                                    parties re business wind down and related
                                                    issues (1.0); correspond with R. Jacobson and
                                                    K&E team re same (.8).
09/29/23 Whitney Fogelberg                     1.80 Telephone conferences with multiple third
                                                    parties re business wind down and related
                                                    issues (1.3); correspond and with R. Jacobson
                                                    and K&E team re same (.5).

Total                                         167.80




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173391
                                                                                           Client Matter: 23631-53

In the Matter of Case Administration



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 70,658.00
Total legal services rendered                                                                                                    $ 70,658.00




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Yellow Corporation                                              Matter Number:           23631-53
Case Administration




                                        Summary of Hours Billed

Name                                                        Hours         Rate          Amount
Olivia Acuna                                                 3.70     1,155.00          4,273.50
Jacob E. Black                                               0.40       995.00            398.00
Lauren Collins                                               4.00     1,155.00          4,620.00
Uzo Dike                                                     2.00       515.00          1,030.00
Amy Donahue                                                  1.70       480.00            816.00
Whitney Fogelberg                                            5.60     1,425.00          7,980.00
Jack Frisbie                                                 4.70       735.00          3,454.50
Trent William Huskey                                         2.20       995.00          2,189.00
Rob Jacobson                                                 5.60     1,245.00          6,972.00
Catherine Lee                                                2.60     1,155.00          3,003.00
Conor P. McNamara                                            5.10     1,295.00          6,604.50
Georgia Meadow                                               5.90       325.00          1,917.50
Ryan Connor Muhlstock                                        4.60       885.00          4,071.00
Patrick J. Nash Jr., P.C.                                    5.60     2,045.00         11,452.00
Orla O'Callaghan                                             0.30     1,215.00            364.50
Karra A. Puccia                                              0.40       885.00            354.00
Zak Read                                                     2.40       885.00          2,124.00
Roy Michael Roman                                            1.00       885.00            885.00
David R. Seligman, P.C.                                      0.40     2,045.00            818.00
Allyson B. Smith                                             2.20     1,375.00          3,025.00
Luke Spangler                                                3.30       325.00          1,072.50
Eric Steinfeld                                               4.40       735.00          3,234.00

TOTALS                                                       68.10                    $ 70,658.00




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Case Administration


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Patrick J. Nash Jr., P.C.             0.40 Review case status and next steps.
09/04/23 Whitney Fogelberg                     0.40 Telephone conference with A. Smith, K&E
                                                    team, A&M team and Ducera re case status.
09/04/23 Conor P. McNamara                     0.50 Telephone conference with B. Whittman,
                                                    A&M team re workstreams.
09/05/23 Ryan Connor Muhlstock                 0.20 Review, revise summary re critical work
                                                    streams and upcoming deadlines.
09/05/23 Patrick J. Nash Jr., P.C.             1.20 Telephone conference with M. Doheny re
                                                    case status and next steps (.5); participate in
                                                    standing weekly coordination call with client
                                                    and other debtor advisors (.7).
09/05/23 Allyson B. Smith                      0.60 Participate in standing check-in telephone
                                                    conference with A&M team, client re status.
09/06/23 Catherine Lee                         0.10 Review, revise work in process summary.
09/06/23 Ryan Connor Muhlstock                 0.40 Review, revise summary re critical work
                                                    streams and upcoming deadlines (.2); draft
                                                    weekly report re same (.2).
09/06/23 Zak Read                              0.20 Review, revise summary re critical
                                                    workstreams, case status (.1); correspond with
                                                    R. Muhlstock re same (.1).
09/07/23 Olivia Acuna                          0.60 Revise work in process summary (.1);
                                                    conference with W. Fogelberg, K&E team re
                                                    work in process (.5).
09/07/23 Lauren Collins                        0.60 Telephone conference with W. Fogelberg,
                                                    K&E team re work in process.
09/07/23 Whitney Fogelberg                     0.70 Telephone conference with A. Smith and
                                                    K&E team re work in process.
09/07/23 Trent William Huskey                  0.90 Draft, revise advisor work plan (.7);
                                                    correspond with R. Jacobson re same (.2).
09/07/23 Trent William Huskey                  0.40 Conference with R. Jacobson, K&E team re
                                                    work in process.
09/07/23 Rob Jacobson                          0.50 Conference with W. Fogelberg K&E team re
                                                    work in process, next steps.
09/07/23 Catherine Lee                         0.60 Conference with R. Jacobson, K&E team re
                                                    case updates, next steps.
09/07/23 Conor P. McNamara                     0.50 Telephone conference with W. Fogelberg, A.
                                                    Smith, K&E team re workstreams.
09/07/23 Georgia Meadow                        0.60 Telephone conference with K&E team re
                                                    work in process.

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Case Administration

Date     Name                                 Hours Description
09/07/23 Patrick J. Nash Jr., P.C.             0.90 Telephone conference with M. Doheny re
                                                    case status and next steps (.4); review,
                                                    analyze work in process summary and work
                                                    on next steps in case (.5).
09/07/23 Zak Read                              0.90 Review, revise summary re critical
                                                    workstreams, case status (.3); correspond with
                                                    R. Jacobson, K&E team re same (.1);
                                                    conference with R. Jacobson, K&E team re
                                                    same (.5).
09/07/23 Luke Spangler                         0.60 Telephone conference with W. Fogelberg,
                                                    K&E team re work in process.
09/07/23 Eric Steinfeld                        1.50 Review, revise summary re critical
                                                    workstreams, case status (.2); participate in
                                                    work in process telephone conference with W.
                                                    Fogelberg, R. Jacobson, C. McNamara, K&E
                                                    team (.6); draft, revise second day order
                                                    summary (.4); review, revise operational issue
                                                    summary (.3).
09/10/23 Olivia Acuna                          1.10 Draft, revise hearing agenda.
09/10/23 Lauren Collins                        2.30 Draft, revise summary of motions to be heard
                                                    at next hearing.
09/11/23 Whitney Fogelberg                     0.90 Telephone conference with Company, A&M
                                                    team and Ducera teams re case update (.5);
                                                    telephone conference with A&M team,
                                                    Ducera and K&E teams re same (.4).
09/11/23 Catherine Lee                         0.40 Conference with C. McNamara, K&E team,
                                                    A&M team, Ducera re case updates and next
                                                    steps.
09/11/23 Conor P. McNamara                     0.50 Telephone conference with A. Smith,
                                                    Company advisors re workstreams.
09/11/23 Eric Steinfeld                        0.40 Review revise, second day order
                                                    summary (.3); correspond with C. Lee and Z.
                                                    Read re same (.1).
09/12/23 Luke Spangler                         0.20 Correspond with G. Meadow, K&E team re
                                                    2023.09.12 hearing preparations.
09/12/23 Eric Steinfeld                        0.90 Review, revise second day order summary.
09/13/23 Ryan Connor Muhlstock                 0.10 Review, revise summary re critical updates
                                                    and key dates.
09/13/23 Patrick J. Nash Jr., P.C.             0.90 Correspond with client re journalist outreach
                                                    (.2); telephone conference with client re same
                                                    (.3); telephone conference with journalist re
                                                    background (.4).


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Case Administration

Date     Name                                 Hours Description
09/13/23 Orla O'Callaghan                      0.20 Telephone conference with U. Dike re case
                                                    status.
09/13/23 Zak Read                              0.20 Review, revise summary re critical
                                                    workstreams, case status (.1); correspond with
                                                    R. Muhlstock re same (.1).
09/13/23 Luke Spangler                         0.40 Compile binders of schedules and statements.
09/14/23 Olivia Acuna                          0.30 Conference with W. Fogelberg, K&E team re
                                                    work in process.
09/14/23 Lauren Collins                        0.30 Telephone conference with W. Fogelberg,
                                                    K&E team re work in process.
09/14/23 Uzo Dike                              1.30 Telephone conference with O. O'Callaghan re
                                                    case status, next steps (.2); review, analyze,
                                                    and compile key documents re same (1.1).
09/14/23 Whitney Fogelberg                     0.60 Telephone conference with A. Smith and
                                                    K&E team re work in process.
09/14/23 Trent William Huskey                  0.50 Conference with R. Jacobson, K&E team re
                                                    work in process.
09/14/23 Rob Jacobson                          0.50 Conference with W. Fogelberg, K&E team re
                                                    work in process, next steps.
09/14/23 Catherine Lee                         0.50 Conference with R. Jacobson, K&E team re
                                                    case updates, next steps.
09/14/23 Conor P. McNamara                     0.70 Telephone conference with W. Fogelberg, A.
                                                    Smith, K&E team re workstreams.
09/14/23 Georgia Meadow                        3.00 Draft and revise protective order signature
                                                    blocks and administrative items (2.7);
                                                    telephone conference with R. Orren and L.
                                                    Spangler re same (.3).
09/14/23 Ryan Connor Muhlstock                 1.30 Review, revise summary re key dates and
                                                    deadlines (.7); conference with R. Jacobson
                                                    and K&E team re same (.3); draft weekly
                                                    report re same (.3).
09/14/23 Orla O'Callaghan                      0.10 Telephone conference with U. Dike re
                                                    upcoming motions and hearings.
09/14/23 Zak Read                              0.30 Conference with R. Jacobson, K&E team re
                                                    critical workstreams, case status.
09/14/23 Roy Michael Roman                     0.30 Telephone conference with R. Jacobson, K&E
                                                    team re high priority workstreams.
09/14/23 Allyson B. Smith                      0.50 Attend conference with W. Fogelberg, K&E
                                                    team re work in process.




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Case Administration

Date     Name                                 Hours Description
09/14/23 Luke Spangler                         2.10 Correspond with G. Meadow, K&E team re
                                                    second day hearing preparations (.4); attend
                                                    conference with W. Fogelberg, K&E team re
                                                    work in process (.3); register appearances and
                                                    attend to related administrative matters (.6);
                                                    correspond with G. Meadow re 341 meeting
                                                    (.2); compile entered first day orders (.6).
09/14/23 Eric Steinfeld                        0.60 Review, revise work in process summary (.1);
                                                    conference with R. Jacobson, W. Fogelberg,
                                                    C. McNamara and K&E team re same (.5).
09/15/23 Georgia Meadow                        1.90 Prepare binders and supporting materials for
                                                    September 15 second day hearing.
09/15/23 David R. Seligman, P.C.               0.40 Review and analyze pleadings in case.
09/18/23 Whitney Fogelberg                     1.30 Telephone conference with Company and
                                                    A&M team re case updates (.7); telephone
                                                    conferences and correspond with A. Smith
                                                    and K&E team re same (.6).
09/18/23 Patrick J. Nash Jr., P.C.             0.80 Telephone conference with M. Doheny re
                                                    case status and next steps (.5); telephone
                                                    conference with E. Winston (Quinn) re certain
                                                    case issues (.3).
09/18/23 Allyson B. Smith                      0.40 Participate in standing check-in call with
                                                    A&M team and Company.
09/19/23 Whitney Fogelberg                     0.50 Telephone conference with A&M team and
                                                    Ducera teams re case updates.
09/19/23 Catherine Lee                         0.30 Conference with A. Smith, K&E team and
                                                    A&M team re case updates and next steps.
09/19/23 Conor P. McNamara                     0.70 Telephone conference with A. Smith,
                                                    Company advisors re workstreams.
09/19/23 Patrick J. Nash Jr., P.C.             0.50 Review case administration matters.
09/19/23 Allyson B. Smith                      0.50 Participate in standing advisor call.
09/20/23 Rob Jacobson                          2.90 Review, revise work in process
                                                    summary (1.4); review, revise key dates
                                                    summary (1.5).
09/20/23 Ryan Connor Muhlstock                 0.80 Review, revise summary re key dates and
                                                    deadlines (.5); correspond with R. Jacobson re
                                                    same (.1); draft weekly report re same (.2).
09/20/23 Patrick J. Nash Jr., P.C.             0.40 Telephone conference with M. Doheny re
                                                    case status and next steps.
09/21/23 Lauren Collins                        0.30 Telephone conference with W. Fogelberg,
                                                    K&E team re work in process.



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Case Administration

Date     Name                                 Hours Description
09/21/23 Amy Donahue                           0.20 Telephone conference with W. Fogelberg,
                                                    K&E team re work in process.
09/21/23 Whitney Fogelberg                     0.40 Conference with A. Smith and K&E team re
                                                    work in process.
09/21/23 Trent William Huskey                  0.40 Conference with R. Jacobson, K&E team re
                                                    work in process.
09/21/23 Rob Jacobson                          0.50 Conference with W. Fogelberg, K&E team re
                                                    work in process, next steps.
09/21/23 Catherine Lee                         0.20 Conference with R. Jacobson, K&E team re
                                                    case updates and next steps.
09/21/23 Ryan Connor Muhlstock                 1.00 Review, revise summary re critical work
                                                    streams and upcoming deadlines (.9);
                                                    correspond with R. Jacobson and K&E team
                                                    re same (.1).
09/21/23 Zak Read                              0.40 Review, revise summary re critical
                                                    workstreams, case status (.1); correspond with
                                                    R. Muhlstock, K&E team re same (.1);
                                                    conference with R. Jacobson, K&E team re
                                                    same (.2).
09/21/23 Roy Michael Roman                     0.20 Telephone conference with W. Fogelberg,
                                                    K&E team re high priority workstreams.
09/21/23 Allyson B. Smith                      0.20 Participate in telephone conference re
                                                    standing work in process with R. Jacobson,
                                                    K&E team.
09/21/23 Eric Steinfeld                        0.40 Review, revise work in process summary (.1);
                                                    telephone conference with R. Jacobson, T.
                                                    Huskey, A Smith and K&E team re same (.3).
09/22/23 Olivia Acuna                          0.30 Correspond with C. McNamara re case next
                                                    steps.
09/22/23 Amy Donahue                           0.30 Correspond with S. Golden, K&E team and
                                                    Pachulski team re filing of affidavits of
                                                    publication for The New York Times and The
                                                    Globe and Mail.
09/23/23 Whitney Fogelberg                     0.30 Telephone conference with A. Smith, R.
                                                    Jacobson, C. McNamara and O. Acuna re
                                                    case updates.
09/23/23 Rob Jacobson                          0.70 Telephone conference with W. Fogelberg, A.
                                                    Smith, C. McNamara, O. Acuna re case
                                                    administration, work flow, next steps.
09/25/23 Ryan Connor Muhlstock                 0.20 Review, revise summary re critical work
                                                    streams and upcoming deadlines.



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Date     Name                                 Hours Description
09/26/23 Amy Donahue                           0.20 Correspond with S. Golden, K&E team and
                                                    Pachulski team re filing of affidavits of
                                                    publication for USA Today and Transport
                                                    Topics.
09/27/23 Uzo Dike                              0.70 Conference with M. Esser re case status and
                                                    diligence requests (.3); review and analyze
                                                    K&E team work in process summaries re case
                                                    background and status (.4).
09/27/23 Jack Frisbie                          2.50 Review, analyze publications re
                                                    Company (.9); review, analyze Company’s
                                                    public disclosures and declarations (1.6).
09/27/23 Rob Jacobson                          0.50 Conference with W. Fogelberg, K&E team,
                                                    A&M team re work in process, next steps.
09/27/23 Conor P. McNamara                     0.70 Telephone conference with W. Fogelberg,
                                                    Company advisors re workstreams.
09/27/23 Ryan Connor Muhlstock                 0.60 Review, revise summary re critical work
                                                    streams and upcoming deadlines (.3); draft
                                                    weekly report re same (.3).
09/27/23 Patrick J. Nash Jr., P.C.             0.50 Participate in standing weekly call among
                                                    debtor advisors.
09/27/23 Roy Michael Roman                     0.50 Conference with A. Brodsky, S. Bessey re
                                                    high priority workstreams, case updates.
09/28/23 Olivia Acuna                          1.40 Conference with R. Jacobson, K&E team re
                                                    work in process (.4); revise case status
                                                    summary (.3); telephone conference with R.
                                                    Jacobson re case status (.7).
09/28/23 Jacob E. Black                        0.40 Conference with R. Jacobson and K&E team
                                                    re critical workstreams, next steps.
09/28/23 Lauren Collins                        0.50 Telephone conference with W. Fogelberg,
                                                    K&E team re work in process.
09/28/23 Amy Donahue                           1.00 Attend conference with W. Fogelberg and
                                                    K&E team re work in process (.5); compile
                                                    termination agreement materials (.5).
09/28/23 Whitney Fogelberg                     0.50 Telephone conference with A. Smith and
                                                    K&E team re work in process.
09/28/23 Jack Frisbie                          2.20 Analyze, review first day declarations (1.3);
                                                    analyze, review documents re Company's
                                                    ongoing litigation (.4); participate in
                                                    telephone conference re work in process (.5).
09/28/23 Catherine Lee                         0.50 Conference with R. Jacobson, K&E team re
                                                    case updates and next steps.



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Yellow Corporation                                               Matter Number:           23631-53
Case Administration

Date     Name                                 Hours Description
09/28/23 Georgia Meadow                        0.40 Telephone conference with K&E team re
                                                    work in process.
09/28/23 Karra A. Puccia                       0.40 Telephone conference with W. Fogelberg,
                                                    K&E team re work in process.
09/28/23 Zak Read                              0.40 Conference with R. Jacobson, K&E team re
                                                    critical workstreams, case status.
09/28/23 Eric Steinfeld                        0.60 Review, analyze critical workstreams,
                                                    upcoming dates, deadlines (.1); conference
                                                    with R. Jacobson, W. Fogelberg, O. Acuna
                                                    and K&E team re work streams (.5).
09/29/23 Conor P. McNamara                     1.50 Conference and correspond with W.
                                                    Fogelberg, K&E team re various
                                                    workstreams.

Total                                          68.10




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173390
                                                                                           Client Matter: 23631-54

In the Matter of Cash Management and DIP Financing



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                         $ 262,368.50
Total legal services rendered                                                                                                   $ 262,368.50




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Yellow Corporation                                              Matter Number:           23631-54
Cash Management and DIP Financing




                                        Summary of Hours Billed

Name                                                        Hours         Rate          Amount
Carolyn Aiken                                                21.90    1,545.00         33,835.50
Noah Allen                                                    3.70    1,375.00          5,087.50
Frankie A. Butler                                            28.90    1,245.00         35,980.50
John G. Caruso                                                1.00    1,895.00          1,895.00
Kennedy Chiglo                                               46.20      885.00         40,887.00
Michael P. Esser                                              1.00    1,475.00          1,475.00
Whitney Fogelberg                                             1.70    1,425.00          2,422.50
Rob Jacobson                                                  2.10    1,245.00          2,614.50
Michelle Kilkenney, P.C.                                      9.50    2,045.00         19,427.50
Catherine Lee                                                 2.10    1,155.00          2,425.50
Bob McAuliff                                                 12.60      885.00         11,151.00
Aaron Metviner                                               43.10    1,245.00         53,659.50
Ryan Connor Muhlstock                                         2.40      885.00          2,124.00
Patrick J. Nash Jr., P.C.                                     2.20    2,045.00          4,499.00
Zak Read                                                      9.70      885.00          8,584.50
Allyson B. Smith                                             26.40    1,375.00         36,300.00

TOTALS                                                      214.50                   $ 262,368.50




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Cash Management and DIP Financing


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Carolyn Aiken                         0.80 Review and analyze compliance questions
                                                    from Company re DIP reporting (.3);
                                                    telephone conference with Akin and
                                                    Company re titles issues (.5).
09/01/23 Frankie A. Butler                     4.00 Revise, review B-2 credit agreement and
                                                    amendment (1.4); review, revise junior DIP
                                                    credit agreement (1.1); correspond with
                                                    various parties re B-2 credit agreement and
                                                    junior DIP credit agreement (.5); correspond
                                                    with C. Aiken, K&E team re schedules and
                                                    borrowing notices (.5); correspond with
                                                    lenders' counsel re junior DIP credit
                                                    agreement and B-2 credit agreement (.5).
09/01/23 Kennedy Chiglo                        3.20 Review and file Company reporting and
                                                    compliance deliverables (.2); coordinate
                                                    execution of same with B. McAuliff, K&E
                                                    team and Company (.4); review and revise
                                                    notice of borrowings and resubmit to agents'
                                                    and lenders' counsels (.3); review and analyze
                                                    correspondence and comments from
                                                    Goodmans re credit agreement and
                                                    amendment documents (.3); correspond with
                                                    Company and A&M re closing updates and
                                                    drafts (.5); telephone conference with B.
                                                    McAuliff re diligence inquiries (.3); revise,
                                                    draft closing deliverables with agents' and
                                                    lenders' counsels comments (1.2).
09/01/23 Michelle Kilkenney, P.C.              1.10 Review, revise loan documents.
09/01/23 Michelle Kilkenney, P.C.              1.00 Review and revise debt commitment letter.




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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/01/23 Bob McAuliff                          4.50 Review, revise spreadsheet re mortgages
                                                    (1.5); correspond with K. Chiglo, K&E team
                                                    re requests of unsecured creditors committee
                                                    (.2); correspond with Company re appraisals
                                                    (.2); revise same for confidentiality (.3);
                                                    attend to lender and unsecured creditor's
                                                    committee diligence matters (.5); correspond
                                                    with counsel to lenders and unsecured
                                                    creditor committee re same (.2); review and
                                                    analyze unsecured creditor committee
                                                    statements (.2); correspond with J. Caruso and
                                                    lender re same (.4); review, revise mortgage
                                                    and draft mortgage release (.9); provide same
                                                    to title company for review (.1).
09/01/23 Aaron Metviner                        1.00 Review, analyze DIP order issues (.3); revise
                                                    DIP order (.7).
09/01/23 Aaron Metviner                        0.40 Review, analyze DIP agreement re sale issue.
09/01/23 Patrick J. Nash Jr., P.C.             0.30 Review, analyze status of DIP credit
                                                    documents and timing of second DIP
                                                    financing draw.
09/01/23 Allyson B. Smith                      0.60 Correspond with lenders’ counsel re DIP,
                                                    cash collateral orders, documentation,
                                                    milestones.
09/02/23 Frankie A. Butler                     1.50 Review, revise debt commitment letter for
                                                    stalking horse (1.1); correspond with lenders’
                                                    counsel re B-2 credit agreement (.4).
09/02/23 Allyson B. Smith                      3.80 Review, analyze, comment on credit
                                                    agreements (1.6); correspond with M.
                                                    Kilkenney, K&E team re same (.3); review,
                                                    comment on revised DIP, cash
                                                    collateral orders (1.9).
09/03/23 Frankie A. Butler                     1.50 Review, revise B-2 credit agreement (1.0);
                                                    correspond with lenders' counsel, K&E team
                                                    and Canadian counsel re B-2 credit agreement
                                                    (.5).
09/03/23 Kennedy Chiglo                        0.60 Review, analyze comments to DIP agreement
                                                    amendment (.2); review, analyze B-2
                                                    amendment schedules (.2); correspond with F.
                                                    Butler re same (.2).
09/03/23 Michelle Kilkenney, P.C.              0.50 Review and revise DIP agreements.
09/04/23 Frankie A. Butler                     0.40 Correspond with M. Kilkenny, K&E team re
                                                    credit agreements (.2); review credit
                                                    agreement comments from lenders (.2).


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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/04/23 Kennedy Chiglo                        0.40 Review and revise final closing ancillary
                                                    documents (.2); review, analyze lenders'
                                                    counsels comments to schedules (.2).
09/04/23 Michelle Kilkenney, P.C.              1.00 Review, comment on DIP loan documents.
09/04/23 Aaron Metviner                        2.00 Telephone conference with A&M, Ducera re
                                                    DIP issues (.6); review, analyze creditor
                                                    communications re same (.3); review,
                                                    analyze amended B-2 CA (.5), correspond
                                                    with lenders re same (.2); review, analyze DIP
                                                    credit agreement (.4).
09/04/23 Allyson B. Smith                      1.30 Review, analyze credit agreements (.8);
                                                    correspond with K&E team, A&M team re
                                                    same (.5).
09/05/23 Carolyn Aiken                         2.30 Review and analyze compliance questions
                                                    from company re DIP reporting (.3); review
                                                    and analyze closing deliverables re DIP credit
                                                    agreement and B-2 amendment (2.0).
09/05/23 Frankie A. Butler                     4.00 Revise, analyze Junior DIP credit agreement
                                                    and B-2 credit agreement (1.0);
                                                    correspond with lenders' counsel teams re
                                                    Junior DIP credit agreement and B-2 credit
                                                    agreement (2.0); correspond with K&E team
                                                    re schedules (.7); review and analyze
                                                    schedules (.3).
09/05/23 Kennedy Chiglo                        5.90 Attend to administrative DIP closing matters
                                                    (.2); review, analyze lenders’ counsel
                                                    comments and lien searches to finalize credit
                                                    agreement and amendment schedules for
                                                    execution (3.3); correspond with agents' and
                                                    lenders' counsels re revisions to credit
                                                    agreement and amendment (.6); correspond
                                                    with B. Burns re lien search summaries (.2);
                                                    research precedent for intercompany note
                                                    draft and executed version (.3); correspond
                                                    with Canadian counsel re same (.1); attend to
                                                    KYC and diligence requests (.2); correspond
                                                    with M. Kilkenny, K&E team and Company
                                                    re same (.2); review, analyze Company
                                                    reporting and compliance deliverables (.2);
                                                    telephone conference with Holland & Knight
                                                    re B-2 amendment draft language (.3); review
                                                    and finalize closing documents (.3).
09/05/23 Michelle Kilkenney, P.C.              0.80 Review, finalize DIP loan agreements.



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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/05/23 Catherine Lee                         0.10 Correspond with R. Muhlstock re revisions to
                                                    cash management order.
09/05/23 Bob McAuliff                          0.70 Review, revise financing schedules.
09/05/23 Aaron Metviner                        1.20 Telephone conference with A. Zaron re DIP
                                                    issue (.3); correspond with A. Smith re same
                                                    (.1); correspond with A. Smith, K&E team re
                                                    DIP order and priorities issues (.3); review,
                                                    analyze same (.2); review, revise DIP
                                                    documentation (.3).
09/05/23 Ryan Connor Muhlstock                 0.50 Review, revise final cash management order.
09/05/23 Patrick J. Nash Jr., P.C.             0.40 Review status of DIP financing documents
                                                    and second draw.
09/05/23 Allyson B. Smith                      3.60 Telephone conference with Ropes, Quinn re
                                                    DIP, sale process (1.6); review lender
                                                    correspondence re DIP documentation (.6);
                                                    telephone conference with M. Kilkenny re
                                                    same (.3); review, comment on credit
                                                    agreements (1.1).
09/06/23 Carolyn Aiken                         1.50 Review and analyze compliance questions
                                                    from Company re DIP reporting (.3);
                                                    telephone conference with Company re titles
                                                    and unsecured creditor committee diligence
                                                    (.7); review and analyze closing deliverables
                                                    re DIP credit agreement and B-2 amendment
                                                    (.5).
09/06/23 Frankie A. Butler                     1.10 Review, revise B-2 credit agreement (.6);
                                                    review, analyze compiled Junior DIP credit
                                                    agreement and B-2 credit agreement (.3);
                                                    correspond with lenders' counsel re B-2 credit
                                                    agreement, junior DIP credit agreement and
                                                    closing (.2).
09/06/23 John G. Caruso                        0.50 Review, analyze list of mortgaged properties.




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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/06/23 Kennedy Chiglo                        3.70 Review and file Company compliance and
                                                    reporting obligations (.2); correspond with
                                                    agents' and lenders' counsels re final executed
                                                    documents and omnibus officer's certificate
                                                    attachments (1.3); coordinate re DIP
                                                    invoicing matters (.3); compile, coordinate
                                                    with Company re real property diligence (.2);
                                                    review, revise final credit agreement
                                                    schedules and attachments (.3); correspond
                                                    with agents' and lenders' counsels re
                                                    same (.1); conference with Company, C.
                                                    Aiken and F. Butler re unsecured creditors
                                                    committee diligence requests (.5); correspond
                                                    with Akin Gump re diligence requests (.2);
                                                    telephone conference with B. McAuliff re real
                                                    estate diligence deliverables for Akin (.3);
                                                    review final closing documents (.3).
09/06/23 Rob Jacobson                          2.10 Correspond with A&M team re cash
                                                    management matters (.4); correspond with
                                                    U.S. Trustee re same (.1); review, analyze
                                                    cash management deliverable for U.S. Trustee
                                                    (.8); review, analyze cash management order
                                                    re same (.2); review, analyze issues re same
                                                    (.6).
09/06/23 Bob McAuliff                          0.90 Review, analyze correspondence re DIP credit
                                                    agreement (.2); correspond with J. Caruso re
                                                    diligence requests from unsecured creditors
                                                    committee (.1); prepare response for
                                                    unsecured creditors committee (.6).
09/06/23 Aaron Metviner                        1.10 Review, analyze DIP issues and proposed
                                                    language re WFS (.5); correspond with A.
                                                    Smyth and A. Zaron re same (.3); correspond
                                                    with A. Smith, W. Fogelberg and A&M re
                                                    DIP fees matter (.3).
09/07/23 Carolyn Aiken                         0.80 Review and analyze compliance questions
                                                    from Company re DIP reporting.
09/07/23 John G. Caruso                        0.50 Telephone conference with B. McAuliff re list
                                                    of mortgaged properties.




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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/07/23 Kennedy Chiglo                        1.90 Correspond with Company re titles of rolling
                                                    stocks and compliance and reporting
                                                    deliverables (.4); review bidding procedures
                                                    and updated cash collateral order (.2);
                                                    coordinate with White & Case and Ropes
                                                    Gray for execution version closing documents
                                                    (.3); correspond with F. Butler and A. Smith
                                                    re lender advisor engagement letters (.3);
                                                    correspond with Holland Knight re closing
                                                    sets (.2); correspond with B. McAuliff and C.
                                                    Aiken re Akin Gump real estate diligence
                                                    requests (.3); review Akin Gump diligence
                                                    requests for prepetition credit facilities (.2).
09/07/23 Bob McAuliff                          2.40 Review, analyze priority status of all
                                                    mortgages for all properties (2.0); correspond
                                                    with C. Aiken, K&E team re same (.4).
09/07/23 Aaron Metviner                        2.70 Review and revise interim U.S. Treasury cash
                                                    collateral order (.8); correspond with counsel
                                                    to lender parties re same (.3); telephone
                                                    conference with Choate re DIP issues (.3);
                                                    review, analyze DIP order re same (.3);
                                                    review, revise same (.3); correspond with A.
                                                    Smith re same (.1); attend internal
                                                    workstream discussion re DIP matters (.6).
09/07/23 Allyson B. Smith                      1.10 Telephone conference with Choate team re
                                                    DIP order (.4); review, comment on same
                                                    (.5); telephone conference with A&P re same
                                                    (.2).
09/08/23 Frankie A. Butler                     0.10 Correspond with Canadian counsel re B-2
                                                    amendment.
09/08/23 Kennedy Chiglo                        1.10 Review and file Company compliance and
                                                    reporting deliverables (.3); correspond with
                                                    White & Case and Company re execution
                                                    closing sets (.2); coordinate diligence requests
                                                    for Akin with B. McAuliff (.1); correspond
                                                    with Holland & Knight, Company, A&M and
                                                    White & Case re closing set (.2); coordinate
                                                    diligence call with Company, Vintek,
                                                    Greenberg Traurig and Akin Gump (.3).
09/08/23 Bob McAuliff                          0.10 Correspond with unsecured creditors
                                                    committee re priority over Canadian real
                                                    property.
09/09/23 Kennedy Chiglo                        0.20 Review, analyze correspondence with Akin
                                                    Gump re DIP order (.1); revise DIP order per
                                                    Akin’s comments (.1).

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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/09/23 Patrick J. Nash Jr., P.C.             0.20 Review unsecured creditor committee's issues
                                                    re final DIP financing order.
09/10/23 Kennedy Chiglo                        0.20 Coordinate scheduling of rolling stock
                                                    diligence call with Greenberg Traurig,
                                                    Company, Vintek and Akin Gump.
09/10/23 Catherine Lee                         0.30 Correspond with Z. Read re cash management
                                                    motion (.2); review and analyze comments re
                                                    same (.1).
09/10/23 Aaron Metviner                        0.90 Review, analyze DIP issues list from
                                                    unsecured creditor committee (.5); review,
                                                    analyze precedent re same (.3); correspond
                                                    with A. Smyth re same (.1).
09/10/23 Zak Read                              1.40 Review, revise cash management order (.5);
                                                    correspond with C. Lee re same (.2); research,
                                                    analyze considerations re same (.6);
                                                    correspond with R. Jacobson, K&E team re
                                                    same (.1).
09/11/23 Carolyn Aiken                         0.70 Review and analyze compliance questions
                                                    from company re DIP reporting.
09/11/23 Kennedy Chiglo                        2.00 Conference with C. Aiken, K&E team, A&M
                                                    and Ducera re DIP matters (.5); review,
                                                    analyze Company compliance and reporting
                                                    deliverables (.1); review, analyze DIP
                                                    pleadings (.1); telephone conference with
                                                    Akin re diligence requests (.3); review,
                                                    analyze precedent perfection analysis (.1);
                                                    correspond with Company and Akin re
                                                    diligence questions (.3); attend to
                                                    administrative matter re diligence requests
                                                    (.2); correspond with Gowling LG re
                                                    amendments to PPSAs in Ontario (.2);
                                                    review, analyze precedent security documents
                                                    (.2).
09/11/23 Michelle Kilkenney, P.C.              0.20 Review correspondence from Akin re
                                                    collateral matters.
09/11/23 Catherine Lee                         0.60 Review and analyze comments and objections
                                                    to DIP order (.3); draft summary same (.2);
                                                    correspond with A. Metviner, K&E team re
                                                    same (.1).




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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/11/23 Aaron Metviner                        8.00 Correspond with Blank Rome re DIP issue
                                                    (.2); review, analyze DIP objections (2.1);
                                                    prepare responses re same (.8); correspond
                                                    with A. Smith, C. Lee re same (.1);
                                                    correspond with WFS counsel re WFS DIP
                                                    provision (.3); correspond with A. Smith re
                                                    same (.1); review, revise DIP order (2.2);
                                                    review, revise U.S. Treasury cash collateral
                                                    order (1.0); telephone conference with C.
                                                    Descours re Canadian issue in DIP (.4);
                                                    review, analyze issues re same (.3);
                                                    correspond with A. Smith re same (.1);
                                                    participate in telephone conference with A.
                                                    Smith, Goodmans re Canadian matters re DIP
                                                    (.4).
09/11/23 Patrick J. Nash Jr., P.C.             0.50 Review, revise final DIP financing order (.4);
                                                    review, analyze correspondence from K.
                                                    Simard re revised final DIP financing order
                                                    (.1).
09/12/23 Carolyn Aiken                         1.30 Review and analyze compliance questions
                                                    from Company re DIP reporting (.3);
                                                    telephone conference with Akin, Company,
                                                    Vintek, M. Kilkenny, K&E team re titles of
                                                    rolling stock (.5); prepare for same (.5).
09/12/23 Frankie A. Butler                     0.50 Telephone conference with unsecured creditor
                                                    committee counsel re rolling stock and title
                                                    matters.
09/12/23 Kennedy Chiglo                        2.30 Review and file Company reporting and
                                                    compliance deliverables (.3); review and
                                                    analyze updated rolling stock diligence
                                                    questions from Akin (.6); correspond with
                                                    Ducera and Compay re same (.6); conference
                                                    with Company, Akin Gump, Greenberg
                                                    Traurig and Vintek re diligence matters (.5);
                                                    review, analyze correspondence re DIP
                                                    pleadings (.1); review, analyze Canadian
                                                    amended PPSAs (.2).
09/12/23 Michelle Kilkenney, P.C.              0.50 Correspond with Akin re collateral diligence
                                                    matters.
09/12/23 Catherine Lee                         0.40 Correspond with Z. Read re comments,
                                                    objections to DIP motion (.2); review and
                                                    revise summary re same (.2).




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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/12/23 Aaron Metviner                        4.10 Correspond with R. Jacobson re DIP issue
                                                    (.3); research same (.5); review, analyze
                                                    lender comments to DIP order (1.2); review,
                                                    revise DIP order (1.1); participate in
                                                    telephone conference with A. Smith, DIP
                                                    lender (.2); review, analyze Texas taxing
                                                    authority proposed language (.2); research,
                                                    review precedent re same (.4); correspond
                                                    with A. Smith re same (.2).
09/12/23 Ryan Connor Muhlstock                 1.90 Review, revise final cash management order
                                                    (1.6); correspond with C. Lee and K&E team
                                                    re same (.3).
09/12/23 Zak Read                              2.00 Review, analyze objections, reservations of
                                                    rights, comments to DIP order (1.1); draft
                                                    summary re same (.6); correspond with C.
                                                    Lee re same (.2); correspond with A. Smith,
                                                    K&E team re same (.1).
09/12/23 Allyson B. Smith                      3.20 Review, analyze, comment on DIP, U.S.
                                                    Treasury cash collateral orders.
09/13/23 Carolyn Aiken                         1.00 Review and analyze compliance questions
                                                    from Company re DIP reporting (.3); review
                                                    and analyze diligence deliverables to
                                                    creditors' committee (.7).
09/13/23 Frankie A. Butler                     8.00 Draft covenant compliance guide (3.9);
                                                    review and analyze credit agreements and
                                                    orders for provisions on receipts covenant
                                                    (2.7); correspond with C. Aiken and K&E
                                                    team re receipts covenants (1.4).
09/13/23 Kennedy Chiglo                        1.20 Review and file Company reporting and
                                                    compliance deliverables (.2); correspond with
                                                    Company and Akin re diligence matters (.4);
                                                    review and manage DIP invoicing issue (.1);
                                                    review, analyze diligence requests from Akin
                                                    (.5).
09/13/23 Michelle Kilkenney, P.C.              0.50 Review and analyze compliance matters.
09/13/23 Catherine Lee                         0.60 Review and revise DIP summary (.1); analyze
                                                    comments, objections and reservations of
                                                    rights re same (.4); correspond with Z. Read,
                                                    K&E team re same (.1).
09/13/23 Aaron Metviner                        5.70 Review and revise DIP order (2.9); review
                                                    and revise U.S. Treasury cash collateral order
                                                    (2.2); review lender objections to DIP order
                                                    (.4); telephone conference with WFS counsel
                                                    re DIP issue (.2).

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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/13/23 Patrick J. Nash Jr., P.C.             0.30 Review, analyze final DIP order in
                                                    preparation for filing.
09/13/23 Zak Read                              3.60 Review, analyze objections re final DIP order,
                                                    related considerations (3.2); correspond with
                                                    C. Lee re same (.1); correspond with A.
                                                    Smith, K&E team re same (.2); correspond
                                                    with A. Metviner, K&E team re same (.1).
09/13/23 Allyson B. Smith                      5.90 Telephone conference with Citadel re DIP
                                                    funding (.2); correspond with A. Metviner,
                                                    K&E team re same (.3); correspond with
                                                    counsel to lenders, A. Metviner re final DIP
                                                    order, final U.S. Treasury cash collateral
                                                    orders (2.3); review, revise same (3.1).
09/14/23 Carolyn Aiken                         1.50 Review and analyze compliance questions
                                                    from Company re DIP reporting (1.0); review
                                                    and analyze diligence deliverables to
                                                    creditors' committee (.5).
09/14/23 Frankie A. Butler                     0.60 Correspond with Company advisors re
                                                    receipts covenant (.1); review, analyze credit
                                                    agreement provisions re final funding (.4);
                                                    correspond with lenders' counsel and C.
                                                    Aiken and K&E team re credit agreement
                                                    provisions on final funding (.1).
09/14/23 Kennedy Chiglo                        1.60 Review and file company reporting and
                                                    compliance deliverables (.2); review, analyze
                                                    DIP related correspondence and pleadings
                                                    (.1); correspond with Company re payoff
                                                    issue (.4); attend to DIP invoicing issue (.2);
                                                    telephone conference with Akin re diligence
                                                    requests (.2); review, analyze third borrowing
                                                    mechanics (.2); review, analyze DIP and
                                                    Treasury cash collateral orders and DIP credit
                                                    agreements for compliance and reporting
                                                    metrics (.3).
09/14/23 Whitney Fogelberg                     1.70 Review and analyze remaining issues re final
                                                    DIP and cash collateral orders (.8);
                                                    correspond and conference with A. Smith and
                                                    K&E team re same (.9).
09/14/23 Michelle Kilkenney, P.C.              1.10 Review and analyze final DIP order (.7);
                                                    review and analyze compliance matters (.4).
09/14/23 Catherine Lee                         0.10 Conference with Z. Read, K&E team re
                                                    comments to DIP orders.




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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/14/23 Aaron Metviner                        9.70 Review and revise final DIP order (4.0);
                                                    review and revise final U.S. Treasury cash
                                                    collateral order (1.8); correspond with A.
                                                    Smith re same (.3); correspond with lender
                                                    parties re DIP and U.S. Treasury orders (1.1);
                                                    review, analyze objections to DIP order (.9);
                                                    correspond with objecting parties re DIP
                                                    Order (.8): correspond with A. Smith re same
                                                    (.3); participate in telephone conference with
                                                    A. Smith and K&E team re DIP issues (.3);
                                                    telephone conference with A. Smith, Ducera,
                                                    HL re U.S. Treasury cash collateral order (.2).
09/14/23 Patrick J. Nash Jr., P.C.             0.20 Review, analyze final DIP financing order in
                                                    preparation for filing.
09/14/23 Zak Read                              2.70 Conference with A. Smith, K&E team re DIP
                                                    order considerations (.3); prepare for same
                                                    (.2); review, revise summary re same (.4);
                                                    draft talking points re DIP orders (1.1);
                                                    analyze considerations re same (.6);
                                                    correspond with A. Smith, K&E team re same
                                                    (.1).
09/14/23 Allyson B. Smith                      6.20 Conferences and correspondence re final DIP
                                                    order, final U.S. Treasury cash collateral
                                                    order (2.3); review, analyze, revise same
                                                    (3.9).
09/15/23 Carolyn Aiken                         2.50 Review, analyze compliance questions from
                                                    company re DIP reporting (1.0);
                                                    review, analyze compliance questions re
                                                    receipts covenant (.8); review, analyze
                                                    diligence deliverables to creditors' committee
                                                    (.7).
09/15/23 Frankie A. Butler                     1.30 Review, revise covenant compliance guide.
09/15/23 Kennedy Chiglo                        2.30 Review, analyze Company reporting and
                                                    compliance deliverables (.2); telephone
                                                    conference with Akin re diligence requests
                                                    (.3); attend to DIP invoicing matter (.3);
                                                    review, revise diligence requests from Akin
                                                    (1.5).
09/15/23 Michael P. Esser                      0.50 Conference with B. Whittman re DIP sizing
                                                    issues.
09/15/23 Allyson B. Smith                      0.50 Conference with A. Metviner, K&E team,
                                                    A&M, Ducera re DIP funding and related
                                                    issues.



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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/17/23 Frankie A. Butler                     2.30 Review, revise covenant compliance guide
                                                    (1.9); correspond with C. Aiken and K&E
                                                    team re covenant compliance guide (.4).
09/18/23 Carolyn Aiken                         1.70 Review and analyze compliance questions
                                                    from company re DIP reporting (1.0);
                                                    telephone conference with advisors re budget
                                                    and incremental funding (.7).
09/18/23 Frankie A. Butler                     1.20 Draft email waiver (.8); correspond with C.
                                                    Aiken, K&E team and lender's counsel re
                                                    email waiver (.4).
09/18/23 Kennedy Chiglo                        0.70 Review and file Company reporting and
                                                    compliance deliverables (.2); review and
                                                    analyze new documents to data site from
                                                    Ducera (.2); correspond with A&M re
                                                    covenant relief (.1); review, analyze
                                                    compliance controls for Company (.2).
09/18/23 Michael P. Esser                      0.50 Conference with witness re DIP budget issues
                                                    (.4); prepare for same (.1).
09/18/23 Michelle Kilkenney, P.C.              0.60 Prepare for and attend conference with A.
                                                    Smith, C. Kaldenberg, J. Cremeans, B.
                                                    Whitman, C. Aiken re DIP financing matters.
09/18/23 Bob McAuliff                          0.20 Correspond with J. Caruso re lender questions
                                                    and potential responses.
09/18/23 Aaron Metviner                        0.70 Attend advisor call re DIP budget issues (.5);
                                                    review, analyze DIP issues (.2).
09/18/23 Patrick J. Nash Jr., P.C.             0.30 Telephone conference with Citadel re DIP
                                                    financing matter.
09/18/23 Allyson B. Smith                      0.20 Correspond with Company advisors re DIP
                                                    covenants (.1); review, analyze
                                                    correspondence re same (.1).
09/19/23 Carolyn Aiken                         1.00 Review and analyze compliance questions
                                                    from Company re DIP reporting.
09/19/23 Frankie A. Butler                     0.30 Review, revise covenant compliance guide
                                                    (.2); correspond with A. Metviner and K&E
                                                    team re covenant compliance guide (.1).




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Date     Name                                 Hours Description
09/19/23 Kennedy Chiglo                        1.40 Review and file Company compliance and
                                                    reporting deliverables (.2); coordinate third
                                                    draw mechanics with Company and A&M
                                                    (.2); revise, analyze diligence requests from
                                                    White & Case (.2); correspond with Akin re
                                                    diligence matters (.2); prepare capital stack
                                                    summary (.4); review, analyze
                                                    correspondence to agents and lenders re
                                                    waiver (.2).
09/19/23 Michelle Kilkenney, P.C.              0.60 Attend advisor telephone conference re DIP
                                                    matters.
09/19/23 Bob McAuliff                          0.90 Correspond with lenders re real property
                                                    analysis and DIP issues (.5); correspond with
                                                    Company re same (.4).
09/19/23 Aaron Metviner                        0.50 Correspond with F. Butler re DIP order issue
                                                    (.1); correspond with R. Jacobson re DIP
                                                    issue (.2); review, revise same (.2).
09/20/23 Carolyn Aiken                         1.20 Review and analyze compliance questions
                                                    from Company re DIP reporting.
09/20/23 Noah Allen                            3.70 Review, analyze Form 8-K with respect to
                                                    final order from BK court approving DIP
                                                    credit agreement and prepetition credit facility
                                                    amendment (2.2); review, analyze
                                                    correspondence with lender parties re same
                                                    (.2); review, analyze Form 15 filing and
                                                    related correspondence (1.3).
09/20/23 Frankie A. Butler                     0.70 Correspond with C. Aiken, K&E team re
                                                    covenant compliance and reporting
                                                    (.3); correspond with C. Aiken, K&E
                                                    team and lender's counsel re reporting and
                                                    exhibits (.4).
09/20/23 Kennedy Chiglo                        2.50 Review, analyze Company compliance and
                                                    reporting obligations (.2); respond to
                                                    diligence requests (.2); correspond with F.
                                                    Butler and K&E team re capital stack
                                                    summary (.3); conference with Company, C.
                                                    Aiken, K&E team re Canadian diligence (.8);
                                                    review, analyze conformed credit agreement
                                                    and form 8K for K&E team (.2); compile,
                                                    coordinate with Ropes team re exhibits to
                                                    junior DIP credit agreement (.2); review,
                                                    analyze closing sets for Akin diligence (.6).




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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/20/23 Aaron Metviner                        0.50 Correspond with A. Smith, A&M team re DIP
                                                    fee issue (.2); review, revise 8K re final DIP
                                                    order (.3).
09/21/23 Carolyn Aiken                         0.80 Review and analyze compliance questions
                                                    from Company re DIP reporting.
09/21/23 Frankie A. Butler                     0.20 Correspond with C. Aiken, K&E team re
                                                    diligence requests.
09/21/23 Kennedy Chiglo                        1.20 Review, analyze priority analysis (.4); review,
                                                    analyze Company reporting and compliance
                                                    obligations (.2); correspond with Company
                                                    and Hogan Lovells re invoices for payment
                                                    (.2); correspond with Ropes re revised
                                                    exhibits (.1); telephone conference with
                                                    Company re bank accounts matters (.3).
09/21/23 Michelle Kilkenney, P.C.              0.20 Review and analyze compliance matters.
09/21/23 Bob McAuliff                          0.60 Review and respond to lender diligence
                                                    requests.
09/21/23 Aaron Metviner                        0.60 Review, analyze DIP credit agreement
                                                    exhibits (.3); correspond with C. Descours re
                                                    Canadian DIP recognition issue (.2); review,
                                                    analyze issues re same (.1).
09/22/23 Carolyn Aiken                         0.50 Review and analyze compliance questions
                                                    from company re DIP reporting.
09/22/23 Kennedy Chiglo                        1.20 Review, analyze Company reporting and
                                                    compliance obligations (.2); correspond with
                                                    F. Butler and W. Fogelberg re rolling stock
                                                    matters (.2); review, analyze diligence
                                                    requests (.6); correspond with Company re
                                                    bank account closures (.2).
09/22/23 Aaron Metviner                        0.40 Review, analyze DIP variance report (.2);
                                                    correspond with R. Jacobson re administrative
                                                    matter (.2).
09/23/23 Kennedy Chiglo                        2.10 Review, analyze bank accounts and control
                                                    agreements re Akin diligence requests (1.4);
                                                    correspond with F. Butler re diligence
                                                    requests (.4); review, analyze diligence
                                                    requests from A&M (.3).
09/24/23 Bob McAuliff                          0.10 Correspond with lender and unsecured
                                                    creditors committee re diligence matters.
09/24/23 Aaron Metviner                        0.10 Review, analyze correspondence from White
                                                    & Case re mortgage issue.




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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/25/23 Frankie A. Butler                     0.20 Review and revise borrowing notices (.1);
                                                    correspond with K. Chiglo, K&E team re
                                                    borrowing notices (.1).
09/25/23 Kennedy Chiglo                        1.10 Review, analyze Company compliance and
                                                    reporting obligations (.2); correspond with
                                                    Company and A&M re notice of borrowing
                                                    and third draw mechanics (.5); correspond
                                                    with White & Case, B. McAuliff and K&E
                                                    team re mortgage and real property diligence
                                                    (.2); correspond with Company re bank
                                                    account status (.2).
09/25/23 Aaron Metviner                        0.30 Correspond with A&M team re DIP budget
                                                    (.2); review, analyze same (.1).
09/26/23 Carolyn Aiken                         0.70 Review and analyze diligence questions from
                                                    Akin.
09/26/23 Frankie A. Butler                     0.10 Correspond with lender's counsel re exhibits.
09/26/23 Kennedy Chiglo                        2.20 Review, analyze Company compliance and
                                                    reporting obligations (.2); correspond with
                                                    Company re diligence requests and title
                                                    transfers of rolling stock (.3); correspond with
                                                    Company, A&M, Ropes, Stewart McKelvey
                                                    re DIP invoicing matters (.3); review, analyze
                                                    possessory collateral issues (.2); review,
                                                    analyze Akin diligence requests (.5); review,
                                                    analyze control agreement and bank account
                                                    historic files (.7).
09/26/23 Michelle Kilkenney, P.C.              0.30 Correspond with C. Aiken and K. Chiglo re
                                                    UCC diligence matter (.1); review and
                                                    respond to correspondence re same (.2).
09/26/23 Aaron Metviner                        1.00 Review, analyze DIP Order issue (.5);
                                                    correspond with W&C team, A. Smith and
                                                    K&E team re same (.2); correspond with
                                                    A&M team re DIP budget issue (.1); review,
                                                    analyze issue re same (.2).
09/27/23 Carolyn Aiken                         1.50 Review and analyze diligence questions from
                                                    Akin (.7); telephone conference re same (.8).
09/27/23 Frankie A. Butler                     0.70 Telephone conference with UCC counsel re
                                                    diligence items.




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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/27/23 Kennedy Chiglo                        2.40 Review, analyze Company compliance and
                                                    reporting obligations (.2); attend to
                                                    administrative mater re diligence (.3); review,
                                                    respond to diligence requests from Akin (.8);
                                                    coordinate third draw mechanics with
                                                    Company and Alter Domus (.1); prepare for
                                                    and participate in conference with M.
                                                    Kilkenney, A. Smith, W. Fogelberg, C.
                                                    Aiken, F. Butler, Akin and A&M re diligence
                                                    requests (.8); attend to DIP invoicing matters
                                                    with Company (.2).
09/27/23 Michelle Kilkenney, P.C.              1.10 Conference with Akin re collateral diligence
                                                    matters (.8); prepare for same (.3).
09/27/23 Bob McAuliff                          0.90 Review, analyze lender diligence requests
                                                    (.2); correspond with K. Chiglo and K&E
                                                    team re lender diligence requests (.3); review,
                                                    analyze correspondence re title searches (.4).
09/27/23 Aaron Metviner                        1.70 Review, analyze DIP documents in
                                                    connection with proceeds issue (.8);
                                                    correspond with A. Smith, Ducera re same
                                                    (.4); review, analyze issue re taxing authority
                                                    and DIP (.3); correspond with A. Smith re
                                                    same (.2).
09/28/23 Carolyn Aiken                         1.30 Review and analyze diligence questions from
                                                    Akin.
09/28/23 Frankie A. Butler                     0.20 Revise, analyze compliance guide (.1);
                                                    correspond with lender's counsel re
                                                    compliance guide (.1).
09/28/23 Kennedy Chiglo                        2.10 Review, analyze diligence requests with
                                                    White & Case, Akin (.9); review, analyze
                                                    Company compliance and reporting
                                                    obligations (.2); review, analyze diligence
                                                    requests (.3); attend to DIP invoicing matters
                                                    with A&M (.2); correspond with Greenberg
                                                    Traurig and Vintek re title cost estimate (.1);
                                                    coordinate third draw funding with Company,
                                                    lenders' counsels and agent's counsel (.4).
09/28/23 Bob McAuliff                          1.30 Review, analyze lender diligence requests
                                                    (1.0); correspond with lenders’ counsel re
                                                    same (.3).
09/28/23 Aaron Metviner                        0.50 Review, analyze ad valorem and DIP issues
                                                    (.3); correspond with A. Smith re same (.2).
09/29/23 Carolyn Aiken                         0.80 Review and analyze diligence questions from
                                                    Akin (.7); telephone conference re same (.1).

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Cash Management and DIP Financing

Date     Name                                 Hours Description
09/29/23 Kennedy Chiglo                        2.70 Review, analyze Company reporting and
                                                    compliance obligations (.2); review, respond
                                                    to diligence requests (1.9); telephone
                                                    conference with Company re titles (.3);
                                                    review, analyze Company bank account
                                                    matters (.3).

Total                                         214.50




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173389
                                                                                           Client Matter: 23631-55

In the Matter of Customer and Vendor Communications



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                         $ 104,228.50
Total legal services rendered                                                                                                   $ 104,228.50




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Customer and Vendor Communications




                                        Summary of Hours Billed

Name                                                        Hours         Rate          Amount
Olivia Acuna                                                 43.40    1,155.00         50,127.00
Jacob E. Black                                                6.00      995.00          5,970.00
Lauren Collins                                                0.70    1,155.00            808.50
Whitney Fogelberg                                            13.40    1,425.00         19,095.00
Trent William Huskey                                          7.00      995.00          6,965.00
Rob Jacobson                                                 11.40    1,245.00         14,193.00
Conor P. McNamara                                             1.00    1,295.00          1,295.00
Ryan Connor Muhlstock                                         2.40      885.00          2,124.00
Karra A. Puccia                                               1.40      885.00          1,239.00
Roy Michael Roman                                             0.40      885.00            354.00
Eric Steinfeld                                                2.80      735.00          2,058.00

TOTALS                                                       89.90                   $ 104,228.50




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Customer and Vendor Communications


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Whitney Fogelberg                     1.70 Telephone conference with Company and
                                                    A&M re unclaimed freight and related
                                                    customer issues (.9); review and analyze
                                                    issues re same (.8).
09/01/23 Karra A. Puccia                       0.10 Telephone conference with counsel for
                                                    vendor re vendor inquiry.
09/02/23 Karra A. Puccia                       0.70 Revise operational inquiries summary (.3);
                                                    correspond with A&M team re vendor issues
                                                    (.4).
09/05/23 Jacob E. Black                        0.30 Analyze, revise interim, final orders re critical
                                                    vendors (.2); correspond with R. Jacobson
                                                    and K&E team re same (.1).
09/05/23 Karra A. Puccia                       0.50 Review, analyze utility adequate assurance
                                                    requests (.4); correspond with A&M team re
                                                    same (.1).
09/05/23 Eric Steinfeld                        1.00 Review and analyze customer and vendor
                                                    requests (.5); telephone conferences with
                                                    vendors re their claims (.5).
09/06/23 Olivia Acuna                          2.00 Telephone conference with A&M team re
                                                    customer communications (.5); correspond
                                                    with R. Jacobson re same (1.0); telephone
                                                    conference with R. Jacobson re same (.5).
09/06/23 Jacob E. Black                        0.50 Analyze, revise interim, final orders re critical
                                                    vendors (.4); correspond with R. Jacobson
                                                    and K&E team re same (.1).
09/06/23 Whitney Fogelberg                     1.90 Telephone conference with various customers
                                                    re unclaimed freight and related customer
                                                    issues (1.0); review and analyze issues re
                                                    same (.9).
09/06/23 Trent William Huskey                  1.30 Correspond with vendors re claims (.7);
                                                    correspond with A&M team re same (.3);
                                                    review, analyze vendor documents (.3).
09/07/23 Olivia Acuna                          2.20 Telephone conferences with R. Jacobson re
                                                    customer payments (.6); correspond with
                                                    Company re vendors (.2); correspond with
                                                    customer counsel re payments (.5);
                                                    correspond with A&M team re same (.6);
                                                    telephone conference with A&M team re
                                                    same (.3).



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Customer and Vendor Communications

Date     Name                                 Hours Description
09/07/23 Jacob E. Black                        0.50 Analyze, revise interim, final orders re critical
                                                    vendors (.4); correspond with R. Jacobson
                                                    and K&E team re same (.1).
09/07/23 Lauren Collins                        0.70 Review, analyze critical vendor final order.
09/07/23 Trent William Huskey                  2.00 Correspond with vendor re vendor claims
                                                    (1.2); correspond with Epiq team re same (.1);
                                                    correspond with A&M team re same (.5);
                                                    correspond with K. Puccia re same (.2).
09/07/23 Rob Jacobson                          1.20 Correspond with security vendor re vendor
                                                    agreement (.5); review, revise same (.4);
                                                    correspond with Company re same (.3).
09/08/23 Olivia Acuna                          1.00 Correspond with R. Jacobson, A&M team re
                                                    accounts receivable communications with
                                                    customers (.4); analyze re same (.6).
09/08/23 Jacob E. Black                        0.40 Analyze, revise interim, final orders re critical
                                                    vendors (.3); correspond with R. Jacobson
                                                    and K&E team re same (.1).
09/08/23 Trent William Huskey                  1.00 Correspond with E. Steinfeld re vendor
                                                    communications (.2); correspond with
                                                    vendors re claims (.8).
09/08/23 Eric Steinfeld                        1.80 Review and analyze customer and vendor
                                                    questions (.3); correspond with customer and
                                                    vendors re same (.9); telephone conference
                                                    with vendor re their potential claim (.3);
                                                    correspond with T. Huskey and R. Jacobson
                                                    re same (.3).
09/09/23 Olivia Acuna                          0.90 Correspond with customers re accounts
                                                    receivable matter.
09/11/23 Olivia Acuna                          3.40 Telephone conferences with customer counsel
                                                    re accounts receivable (1.2); correspond with
                                                    Company, A&M team re same (1.0);
                                                    telephone conference with R. Jacobson re
                                                    same (.4); research re customer related issues
                                                    (.8).
09/11/23 Trent William Huskey                  1.20 Correspond with vendors re claims (.8);
                                                    correspond with R. Jacobson re same (.1);
                                                    correspond with Company, A&M team re
                                                    same (.3).




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Customer and Vendor Communications

Date     Name                                 Hours Description
09/12/23 Olivia Acuna                          4.20 Telephone conference with R. Jacobson re
                                                    accounts receivable matter (.5); telephone
                                                    conferences with counterparty counsel re
                                                    accounts receivable matter (.7); draft
                                                    summary re same (.5); research, analyze
                                                    issues re same (2.0); correspond with
                                                    Company re same (.5).
09/12/23 Jacob E. Black                        1.10 Analyze, revise final vendors order (.9);
                                                    correspond with R. Jacobson and K&E team
                                                    re same (.2).
09/12/23 Trent William Huskey                  1.50 Evaluate vendor claims re equipment (1.0);
                                                    correspond with vendors re same (.2);
                                                    correspond with A&M team re same (.3).
09/12/23 Karra A. Puccia                       0.10 Telephone conference with vendor re claim.
09/13/23 Olivia Acuna                          6.80 Telephone conferences with R. Jacobson re
                                                    accounts receivable (.9); research re same
                                                    (3.0); telephone conference with R. Jacobson,
                                                    A&M team re customer inbounds (.5);
                                                    telephone conference with Cass re payments
                                                    (.3); telephone conference with R. Jacobson
                                                    re same (.2); correspond with Company,
                                                    A&M team, R. Jacobson, W. Fogelberg re
                                                    same (.4); telephone conference with R.
                                                    Muhlstock re customer letters (.3); draft
                                                    summary re same(1.2).
09/13/23 Whitney Fogelberg                     2.30 Telephone conference with various customers
                                                    re unpaid receivables and related customer
                                                    issues (1.3); review and analyze issues re
                                                    same (.5); correspond with R. Jacobson and
                                                    O. Acuna re same (.5).
09/14/23 Olivia Acuna                          3.60 Revise summary re customer communications
                                                    (.8); telephone conference with Company,
                                                    TQL re accounts receivable matters (.9);
                                                    telephone conference with customer counsel
                                                    re accounts receivable matters (.3); telephone
                                                    conference with A&M team re same (.5);
                                                    telephone conference with R. Jacobson re
                                                    same (.5); research re treatment of accounts
                                                    receivable (.6).
09/14/23 Rob Jacobson                          1.20 Correspond with vendors re trade agreements
                                                    (.5); review, analyze issues re same (.7).




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Legal Services for the Period Ending September 30, 2023        Invoice Number:         1010173389
Yellow Corporation                                              Matter Number:           23631-55
Customer and Vendor Communications

Date     Name                                 Hours Description
09/15/23 Olivia Acuna                          2.10 Revise summary re customer communications
                                                    (.3); telephone conference with customer
                                                    counsel re accounts receivable matters (.5);
                                                    telephone conference with Company, A&M
                                                    team re same (.5); telephone conference with
                                                    R. Jacobson re same (.4); telephone
                                                    conference with A&M team re same and next
                                                    steps (.4).
09/18/23 Olivia Acuna                          3.40 Telephone conference with customer re
                                                    accounts receivable matter (.5); correspond
                                                    with Company, A&M team re same (.6);
                                                    correspond with R. Jacobson re same (.5);
                                                    telephone conference with R. Jacobson, R.
                                                    Muhlstock re customer matters and
                                                    communications (.7); research re same (1.1).
09/19/23 Olivia Acuna                          1.80 Telephone conference with C. McNamara,
                                                    A&M team re vendor claims (.4); telephone
                                                    conference with R. Jacobson, R. Muhlstock re
                                                    customer inbounds (.5); correspond with
                                                    Company re same (.4); draft correspondence
                                                    to customers re same (.5).
09/19/23 Whitney Fogelberg                     2.70 Telephone conferences with Company and
                                                    A&M team re customer collections (1.0);
                                                    correspond with R. Jacobson and O. Acuna re
                                                    same (.7); review and analyze issues re same
                                                    (1.0).
09/19/23 Conor P. McNamara                     1.00 Telephone conference with O. Acuna, A&M
                                                    re vendor issues (.5); review vendor
                                                    agreement re same (.5).
09/20/23 Olivia Acuna                          2.60 Correspond with A&M team, R. Jacobson, R.
                                                    Muhlstock re accounts receivable matters and
                                                    customer communications (.9); draft
                                                    correspondence to customers re same (1.2);
                                                    revise summary re customer communications
                                                    (.5).
09/21/23 Jacob E. Black                        3.20 Research, analyze caselaw re goods received
                                                    (2.9); draft analysis re same (.2); correspond
                                                    with R. Jacobson re same (.1).
09/21/23 Whitney Fogelberg                     2.90 Telephone conferences with Company and
                                                    A&M team re customer collections (1.2);
                                                    correspond with R. Jacobson and O. Acuna re
                                                    same (.9); review and analyze issues re same
                                                    (.8).



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Legal Services for the Period Ending September 30, 2023        Invoice Number:          1010173389
Yellow Corporation                                              Matter Number:            23631-55
Customer and Vendor Communications

Date     Name                                 Hours Description
09/22/23 Olivia Acuna                          0.20 Review, analyze correspondence from
                                                    customers.
09/25/23 Olivia Acuna                          1.60 Correspond with A&M team, R. Jacobson, R.
                                                    Muhlstock re accounts receivable and
                                                    customer communications matters (.6); draft
                                                    correspondence to customers re same (.4);
                                                    revise summary re customer communications
                                                    (.2); research re same (.4).
09/25/23 Rob Jacobson                          2.00 Review, analyze customer collections issues.
09/25/23 Roy Michael Roman                     0.40 Telephone conference with K. Puccia, K&E
                                                    team re customer workstreams.
09/26/23 Olivia Acuna                          5.60 Telephone conference with Company, A&M
                                                    team, R. Jacobson, R. Muhlstock re accounts
                                                    receivable and customer communications (.7);
                                                    telephone conference with R. Jacobson re
                                                    same (.4); correspond with A&M team re
                                                    same (.4); telephone conference with A&M
                                                    team re same (.2); draft correspondence to
                                                    customers re same (.7); revise summary re
                                                    accounts receivable (.6); correspond with R.
                                                    Jacobson, R. Muhlstock re same (.6);
                                                    telephone conference with customer counsel
                                                    re customer agreements (.4); draft
                                                    correspondence to utilities provider (.6);
                                                    telephone conference with utilities provider
                                                    (.3); correspond with Company re utility issue
                                                    (.3); research re same (.4).
09/26/23 Rob Jacobson                          2.80 Correspond with Company, A&M team, W.
                                                    Fogelberg, O. Acuna re customer collections
                                                    matters (.7); correspond with various
                                                    customers re collections (1.2); correspond
                                                    with counsel to customer re setoffs (.4);
                                                    review, analyze draft stipulation re same (.5).
09/26/23 Ryan Connor Muhlstock                 2.40 Conference with R. Jacobson, K&E team,
                                                    Company and A&M team re collections
                                                    issues (.8); correspond with opposing counsel
                                                    re same (.6); review, revise summary re same
                                                    (1.0).
09/27/23 Olivia Acuna                          0.30 Draft correspondence to customers re
                                                    accounts receivable matters.
09/27/23 Whitney Fogelberg                     1.90 Telephone conferences with R. Jacobson and
                                                    A&M re customer issues (1.4); correspond
                                                    with counsel to certain customer re return of
                                                    trailers (.5).


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Legal Services for the Period Ending September 30, 2023         Invoice Number:         1010173389
Yellow Corporation                                               Matter Number:           23631-55
Customer and Vendor Communications

Date     Name                                 Hours Description
09/27/23 Rob Jacobson                          4.20 Correspond with O. Acuna re customer
                                                    matters (.9); correspond with W. Fogelberg re
                                                    customer matters (.8); correspond with M.
                                                    Leto, V. Hsu, W. Fogelberg, O. Acuna re
                                                    same (.5); research legal issues re customer
                                                    stay violations (1.5); correspond with counsel
                                                    to certain customer re offsets, related issues
                                                    (.5).
09/29/23 Olivia Acuna                          1.70 Telephone conference with A&M team re
                                                    accounts receivable matters (.3); analyze
                                                    correspondence re same (.4); correspond with
                                                    R. Jacobson, R. Muhlstock re same (.6);
                                                    telephone conference with R. Jacobson re
                                                    same (.4).

Total                                          89.90




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

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November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173388
                                                                                           Client Matter: 23631-56

In the Matter of Claims Administration and Objections



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 57,231.50
Total legal services rendered                                                                                                    $ 57,231.50




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Legal Services for the Period Ending September 30, 2023        Invoice Number:         1010173388
Yellow Corporation                                              Matter Number:           23631-56
Claims Administration and Objections




                                        Summary of Hours Billed

Name                                                        Hours         Rate          Amount
Olivia Acuna                                                  1.20    1,155.00          1,386.00
Susan D. Golden                                               1.00    1,475.00          1,475.00
Richard U. S. Howell, P.C.                                    1.20    1,620.00          1,944.00
Trent William Huskey                                          0.40      995.00            398.00
Rob Jacobson                                                  0.30    1,245.00            373.50
Catherine Lee                                                 4.20    1,155.00          4,851.00
Aaron Metviner                                                0.30    1,245.00            373.50
Ryan Connor Muhlstock                                        21.10      885.00         18,673.50
Patrick J. Nash Jr., P.C.                                     0.40    2,045.00            818.00
Karra A. Puccia                                               4.60      885.00          4,071.00
David R. Seligman, P.C.                                       0.40    2,045.00            818.00
Eric Steinfeld                                               30.00      735.00         22,050.00

TOTALS                                                       65.10                    $ 57,231.50




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Legal Services for the Period Ending September 30, 2023        Invoice Number:         1010173388
Yellow Corporation                                              Matter Number:           23631-56
Claims Administration and Objections


                                      Description of Legal Services

Date     Name                                 Hours Description
09/05/23 Catherine Lee                         0.20 Correspond with E. Steinfeld, K&E team re
                                                    bar date order (.1); review and revise same
                                                    (.1).
09/05/23 Eric Steinfeld                        1.00 Review, revise bar date order (.8); correspond
                                                    with C. Lee and R. Jacobson re same (.2).
09/06/23 Catherine Lee                         0.50 Review and revise bar date motion (.2);
                                                    review and analyze stakeholder comments re
                                                    same (.3).
09/06/23 Eric Steinfeld                        2.30 Review, revise bar date motion (.3);
                                                    correspond with C. Lee and R. Jacobson re
                                                    same (.2); research consolidated claim
                                                    precedent (1.6); correspond with C. Lee, R.
                                                    Jacobson and C. McNamara re same (.2).
09/07/23 Catherine Lee                         0.80 Review and revise bar date order (.2); review
                                                    and analyze comments, precedent re same
                                                    (.3); correspond with E. Steinfeld, K&E team
                                                    re same (.3).
09/07/23 Eric Steinfeld                        2.10 Review, revise bar date motion (1.3); research
                                                    precedent re same (.5); correspond with C.
                                                    Lee and R. Jacobson re same (.3).
09/11/23 Catherine Lee                         0.70 Review, revise bar date order (.2); correspond
                                                    with R. Jacobson, K&E team re same (.2);
                                                    review, revise summary re same (.3).
09/12/23 Catherine Lee                         0.80 Review and revise bar date motion (.3);
                                                    correspond with E. Steinfeld re same (.1);
                                                    review and analyze comments re same (.4).
09/12/23 Karra A. Puccia                       1.10 Research precedent re stipulations to
                                                    consolidating proofs of claim.
09/12/23 Eric Steinfeld                        1.50 Review, revise bar date order (1.0)
                                                    correspond with R. Jacobson and C. Lee re
                                                    same (.5).
09/13/23 Olivia Acuna                          1.00 Review, revise stipulation with PBGC re
                                                    filing proofs of claim.
09/13/23 Karra A. Puccia                       2.30 Revise consolidated claims stipulation (1.4);
                                                    research precedent re same (.9).
09/14/23 Catherine Lee                         0.90 Review and revise exhibits to bar date order
                                                    for noticing, publication (.5); telephone
                                                    conference with E. Steinfeld re same (.1);
                                                    correspond with Epiq re same (.1); conference
                                                    with R. Jacobson, E. Steinfeld re same (.2).

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Legal Services for the Period Ending September 30, 2023        Invoice Number:         1010173388
Yellow Corporation                                              Matter Number:           23631-56
Claims Administration and Objections

Date     Name                                 Hours Description
09/14/23 Eric Steinfeld                        2.20 Research and analyze claims issues.
09/14/23 Eric Steinfeld                        1.80 Review, revise bar date notice (.5);
                                                    correspond with C. Lee and R. Jacobson re
                                                    same (.4); review, revise bar date publication
                                                    (.3); correspond with S. Golden, R. Jacobson,
                                                    and C. Lee re same (.2); telephone conference
                                                    with certain creditor re claim (.2); review,
                                                    analyze issue re same (.2).
09/15/23 Susan D. Golden                       0.50 Coordinate publication of bar date notice in
                                                    USA Today and Transport Topics.
09/15/23 Catherine Lee                         0.10 Correspond with PSZJ re bar date notice.
09/15/23 Ryan Connor Muhlstock                 2.10 Research, analyze caselaw re claims issues
                                                    (1.5); prepare analysis re same (.5);
                                                    correspond with R. Jacobson re same (.1).
09/15/23 Karra A. Puccia                       1.20 Revise consolidated claims stipulation (.9);
                                                    correspond with Akin re same (.3).
09/15/23 Eric Steinfeld                        1.20 Research, analyze issues re multi-pension
                                                    plan claim.
09/18/23 Richard U. S. Howell, P.C.            1.20 Telephone conference with C. McNamara,
                                                    K&E team re potential claims issues (.5);
                                                    review, analyze correspondence re litigation
                                                    issues (.7).
09/18/23 Eric Steinfeld                        2.70 Research, analyze issues re claims (2.2);
                                                    telephone conference with W. Fogelberg, C.
                                                    McNamara, T. Huskey and K&E team re
                                                    same (.5).
09/19/23 Rob Jacobson                          0.30 Correspond with Epiq re claims bar date
                                                    notices (.1); review, analyze matters re same
                                                    (.2).
09/19/23 Ryan Connor Muhlstock                 0.70 Draft memorandum re claims issue.
09/19/23 Eric Steinfeld                        4.70 Telephone conference with T. Huskey, K.
                                                    Puccia and R. Roman re claims issue (.3);
                                                    research caselaw and analyze same (4.4).
09/20/23 Ryan Connor Muhlstock                 2.00 Draft memorandum re claims issue (.9);
                                                    research, analyze caselaw re same (1.1).
09/20/23 Patrick J. Nash Jr., P.C.             0.40 Telephone conference with J. Bergman re
                                                    claims process (.2); review, analyze bar date
                                                    order (.2).
09/20/23 Eric Steinfeld                        5.40 Research, analyze issues relating to claims
                                                    issue (4.9); conference with T. Huskey and K.
                                                    Puccia re same (.5).



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Legal Services for the Period Ending September 30, 2023         Invoice Number:         1010173388
Yellow Corporation                                               Matter Number:           23631-56
Claims Administration and Objections

Date     Name                                 Hours Description
09/21/23 Catherine Lee                         0.10 Correspond with R. Jacobson re publication
                                                    of bar date notice.
09/21/23 Ryan Connor Muhlstock                 6.00 Draft memorandum re claims issue (3.9);
                                                    research, analyze caselaw re same (1.9);
                                                    conference with R. Jacobson re same (.2).
09/21/23 Eric Steinfeld                        4.90 Research, analyze claims issue precedent
                                                    (3.2); draft memorandum re same (1.3);
                                                    correspond with T. Huskey, K. Puccia and R.
                                                    Roy re same (.4).
09/22/23 Ryan Connor Muhlstock                 2.70 Research, analyze case law re claims issue.
09/25/23 Olivia Acuna                          0.20 Correspond with Epiq team re noticing
                                                    updates.
09/25/23 Trent William Huskey                  0.40 Research discount rates re issue re filed
                                                    claims.
09/25/23 Aaron Metviner                        0.30 Review, analyze proof of claim issue (.2);
                                                    correspond with A. Harnes re Canadian bar
                                                    date issue (.1).
09/25/23 Ryan Connor Muhlstock                 2.80 Research, analyze case law re claims issue
                                                    (2.0); prepare analysis re same (.8).
09/26/23 Susan D. Golden                       0.50 Coordinate publication of bar date notice in
                                                    Canada's Globe and Mail.
09/26/23 Catherine Lee                         0.10 Correspond with S. Golden, K&E team re bar
                                                    date notice.
09/26/23 Ryan Connor Muhlstock                 4.80 Research, analyze case law re claims issue
                                                    (4.0); prepare analysis re same (.6);
                                                    correspond with T. Huskey re same (.2).
09/27/23 Eric Steinfeld                        0.20 Telephone conferences with certain creditors
                                                    re proofs of claims.
09/30/23 David R. Seligman, P.C.               0.40 Correspond with A. Smith and K&E team re
                                                    claims analysis.

Total                                          65.10




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

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November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173387
                                                                                           Client Matter: 23631-57

In the Matter of Official Committee Matters and Meetings



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                            $ 9,443.00
Total legal services rendered                                                                                                      $ 9,443.00




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Yellow Corporation                                              Matter Number:           23631-57
Official Committee Matters and Meetings




                                        Summary of Hours Billed

Name                                                        Hours         Rate          Amount
Richard U. S. Howell, P.C.                                   2.40     1,620.00          3,888.00
Patrick J. Nash Jr., P.C.                                    1.90     2,045.00          3,885.50
Michael B. Slade                                             0.90     1,855.00          1,669.50

TOTALS                                                        5.20                     $ 9,443.00




                                                     2
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Legal Services for the Period Ending September 30, 2023         Invoice Number:         1010173387
Yellow Corporation                                               Matter Number:           23631-57
Official Committee Matters and Meetings


                                      Description of Legal Services

Date     Name                                 Hours Description
09/06/23 Patrick J. Nash Jr., P.C.             1.10 Review and comment on draft response re
                                                    committee request (.9); draft correspondence
                                                    to M. Doheny re same (.2).
09/06/23 Michael B. Slade                      0.90 Review and edit response equity committee
                                                    letter.
09/07/23 Patrick J. Nash Jr., P.C.             0.70 Correspond with M. Doheny re draft response
                                                    to committee request (.2); revise draft
                                                    response to committee request (.3); review
                                                    Unsecured Creditor Committee’s draft
                                                    response re same (.2).
09/12/23 Richard U. S. Howell, P.C.            2.40 Telephone conference with various parties
                                                    re 341 meeting and additional restructuring
                                                    issues (.8); prepare, review correspondence
                                                    from UCC re same (.5); review, analyze
                                                    pension liability issues (.2); review and
                                                    provide comments to draft declarations (.7);
                                                    telephone conference with A. Smith re draft
                                                    declarations (.2).
09/12/23 Patrick J. Nash Jr., P.C.             0.10 Review letter from U.S. Trustee re committee
                                                    matter.

Total                                           5.20




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

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November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173386
                                                                                           Client Matter: 23631-58

In the Matter of Use, Sale, and Disposition of Property



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                         $ 866,212.50
Total legal services rendered                                                                                                   $ 866,212.50




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Legal Services for the Period Ending September 30, 2023        Invoice Number:         1010173386
Yellow Corporation                                              Matter Number:           23631-58
Use, Sale, and Disposition of Property




                                        Summary of Hours Billed

Name                                                        Hours         Rate          Amount
Olivia Acuna                                                  0.40    1,155.00            462.00
Gabe Navarro Almario                                         21.90      885.00         19,381.50
Jacob E. Black                                                0.10      995.00             99.50
John G. Caruso                                                1.80    1,895.00          3,411.00
Kennedy Chiglo                                                1.00      885.00            885.00
Jennifer C. Cornejo                                           7.20    1,375.00          9,900.00
Daniel S. Daines                                             32.40    1,420.00         46,008.00
James Dolphin III                                             6.90    1,405.00          9,694.50
Michael P. Esser                                              5.00    1,475.00          7,375.00
Whitney Fogelberg                                            11.10    1,425.00         15,817.50
Jack Frisbie                                                  3.90      735.00          2,866.50
Susan D. Golden                                               0.50    1,475.00            737.50
Stephanie Greco                                               5.70    1,425.00          8,122.50
Samuel Sean Hamner                                            9.90    1,455.00         14,404.50
Christopher S.C. Heasley, P.C.                                1.30    2,045.00          2,658.50
Ian Hesterly                                                 31.50      995.00         31,342.50
Richard U. S. Howell, P.C.                                    2.40    1,620.00          3,888.00
Trent William Huskey                                         26.60      995.00         26,467.00
Jean Y. Hyun                                                  3.80      995.00          3,781.00
Michelle Kilkenney, P.C.                                      2.30    2,045.00          4,703.50
Brandon King                                                 65.90    1,155.00         76,114.50
Catherine Lee                                                 5.50    1,155.00          6,352.50
Bob McAuliff                                                  7.70      885.00          6,814.50
Casey McGushin                                                5.00    1,415.00          7,075.00
Conor P. McNamara                                             0.20    1,295.00            259.00
Aaron Metviner                                              113.70    1,245.00        141,556.50
Patrick J. Nash Jr., P.C.                                     7.80    2,045.00         15,951.00
Keyan Norman                                                 45.90      995.00         45,670.50
Lola Ojeniyi                                                  0.20    1,080.00            216.00
Veena Raghuraman                                             21.00      545.00         11,445.00
Zak Read                                                      9.90      885.00          8,761.50
Roy Michael Roman                                             0.50      885.00            442.50


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Yellow Corporation                                              Matter Number:           23631-58
Use, Sale, and Disposition of Property

Name                                                        Hours         Rate          Amount
Rebekah Tobison Scherr                                       21.60    1,425.00         30,780.00
David R. Seligman, P.C.                                       1.10    2,045.00          2,249.50
Michael B. Slade                                              0.50    1,855.00            927.50
Allyson B. Smith                                             95.90    1,375.00        131,862.50
Luke Spangler                                                 0.50      325.00            162.50
Eric Steinfeld                                                2.60      735.00          1,911.00
Paul D. Tanaka, P.C.                                         14.10    1,895.00         26,719.50
Spencer Topham                                               19.10    1,375.00         26,262.50
Steve Toth                                                   55.30    1,615.00         89,309.50
Ali Mohammad Zarrabi                                         26.40      885.00         23,364.00

TOTALS                                                      696.10                   $ 866,212.50




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Legal Services for the Period Ending September 30, 2023        Invoice Number:            1010173386
Yellow Corporation                                              Matter Number:              23631-58
Use, Sale, and Disposition of Property


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Gabe Navarro Almario                   1.70 Telephone conference with P. Tanaka, K&E
                                                     team re environmental matters (.4); draft
                                                     disclosure schedules (1.3).
09/01/23 Jennifer C. Cornejo                    1.80 Telephone conference with potential bidder re
                                                     sale considerations (.9); review and revise
                                                     disclosure schedules (.6); review, analyze
                                                     purchase agreements re same (.3).
09/01/23 Daniel S. Daines                      10.30 Draft issues list for stalking horse APA (3.3);
                                                     telephone conference with potential bidder
                                                     counsel (.5); prepare for telephone conference
                                                     with bidder counsel re asset purchase
                                                     agreement revisions and negotiation points
                                                     (1.1); draft response to bidder’s asset
                                                     purchase agreement (2.6); draft escrow
                                                     agreement (.3); correspond with S. Toth, B.
                                                     King, K. Norman, A. Smith, Ducera team re
                                                     asset purchase agreement negotiation issues
                                                     and drafting points (2.5).
09/01/23 James Dolphin III                      2.50 Telephone conference with potential bidder re
                                                     transaction (1.0); correspond with J. Cornejo,
                                                     K&E team re same (.5); draft issues list (.5);
                                                     draft schedules (.5).
09/01/23 Stephanie Greco                        1.50 Review, analyze purchase agreements (1.1);
                                                     draft issues list (.4).
09/01/23 Samuel Sean Hamner                     4.00 Review, revise asset purchase agreements.
09/01/23 Ian Hesterly                           2.60 Review and revise disclosure schedules re
                                                     asset purchase agreement.
09/01/23 Brandon King                           6.70 Review and revise confidentiality agreements
                                                     (.5); prepare asset purchase agreement issues
                                                     list (2.5); revise asset purchase agreement
                                                     (3.7).
09/01/23 Bob McAuliff                           0.50 Compile surveys for each property (.1);
                                                     correspond with J. Caruso and K&E team
                                                     (.4).
09/01/23 Aaron Metviner                         3.50 Review, revise bidding procedures order
                                                     (1.8); review, revise stalking horse order (.3);
                                                     correspond with A. Smith, C. McNamara re
                                                     same (.5); review, comment on stalking horse
                                                     pleadings (.9).
09/01/23 Patrick J. Nash Jr., P.C.              0.30 Review, analyze status of stalking horse asset
                                                     purchase agreement for owned real estate.

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Legal Services for the Period Ending September 30, 2023        Invoice Number:          1010173386
Yellow Corporation                                              Matter Number:            23631-58
Use, Sale, and Disposition of Property

Date     Name                                 Hours Description
09/01/23 Keyan Norman                          8.30 Telephone conference with D. Daines re asset
                                                    purchase agreement revisions (.4); draft issues
                                                    list re asset purchase agreement (2.1);
                                                    correspond with D. Daines, K&E team re
                                                    escrow agreement and coordination (1.0);
                                                    review, revise equipment purchase agreement
                                                    (2.5); review, analyze escrow agreement (.5);
                                                    correspond with Company re disclosure
                                                    schedules (.5); review, revise asset purchase
                                                    agreement (.8); review, analyze Company
                                                    correspondence re disclosure schedules re
                                                    same (.5).
09/01/23 Allyson B. Smith                      2.10 Telephone conference with C. Kaldenberg re
                                                    sale process (.3); telephone conference with
                                                    A. Metviner, K&E team, Ducera, bidder re
                                                    same (.5); telephone conference with S. Toth,
                                                    stalking horse bidder re asset purchase
                                                    agreement (.7); correspond with S. Toth,
                                                    K&E team, Ducera re same (.6).
09/01/23 Paul D. Tanaka, P.C.                  1.60 Review, analyze environmental
                                                    documentation re environmental assessments
                                                    (1.2); correspond with R. Byerley, G.
                                                    Almario, K&E team, Ducera re same (.4).
09/01/23 Steve Toth                            5.10 Correspond with Ducera re bid process (.2);
                                                    review, analyze Company and advisor
                                                    correspondence re asset purchase agreement
                                                    (.3); conference with bidder counsel, A.
                                                    Smith, K&E team, Ducera re same (.3);
                                                    review, comment on bidding procedures (.6);
                                                    conference with bidder counsel, A. Smith,
                                                    K&E team re bidding procedures (.8); review
                                                    and revise asset purchase agreement (1.0);
                                                    correspond with Ducera team re asset
                                                    purchase agreement (.1); analyze, revise
                                                    bidder asset purchase agreement (1.8).




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Date     Name                                 Hours Description
09/01/23 Ali Mohammad Zarrabi                  6.00 Correspond with Company, bankers re owned
                                                    properties leased to third parties (.8);
                                                    correspond with Company, advisors re asset
                                                    matter (.6); evaluate, revise asset purchase
                                                    agreement (1.6); review, analyze lease terms
                                                    re same (.8); review, analyze certain lease re
                                                    disclosure schedules (1.2); correspond with D.
                                                    Daines, K&E team re same (.2); attend to
                                                    administrative matter re diligence issues (.2);
                                                    correspond with G. Almario, K&E team re
                                                    asset purchase agreement comments (.6).
09/02/23 Gabe Navarro Almario                  9.10 Analyze, revise asset purchase agreement
                                                    (4.0); correspond with A. Zarrabi, K&E team
                                                    re same (.7); draft disclosure schedules (4.0);
                                                    research disclosure schedule precedent (.4).
09/02/23 Jennifer C. Cornejo                   2.80 Draft, revise purchase agreements (1.1);
                                                    review, analyze issues re same (.5); review,
                                                    analyze bidder, Company correspondence re
                                                    same (.9); correspond with J. Dolphin re same
                                                    (.3).
09/02/23 Daniel S. Daines                      9.90 Coordinate with A. Smith, Ducera and S.
                                                    Toth re stalking horse asset purchase
                                                    agreement and deal terms (.7); telephone
                                                    conference with Ducera team re same
                                                    (.4); telephone conference with Akin team re
                                                    same (.6); telephone conference with B. King
                                                    re asset purchase agreement disclosure
                                                    schedules (.7); correspond with B. King, A.
                                                    Zarabbi, S. Toth, K&E team, A&M team,
                                                    Ducera team and Company re asset purchase
                                                    agreement and disclosure schedule issues
                                                    (2.9); coordinate with A. Zarabbi, K&E team
                                                    and Company re lease matters (.6); review,
                                                    revise stalking horse asset purchase
                                                    agreements (4.0).
09/02/23 James Dolphin III                     2.50 Review, revise asset purchase agreements
                                                    (1.5); review, revise schedules re same (1.0).
09/02/23 Stephanie Greco                       1.20 Review, revise purchase agreements.
09/02/23 Ian Hesterly                          5.60 Review and revise purchase agreement.
09/02/23 Brandon King                          8.20 Review and revise asset purchase agreements
                                                    (7.0); prepare disclosure schedules (1.2).




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09/02/23 Bob McAuliff                           6.00 Revise asset purchase agreement (2.5);
                                                     correspond with J. Caruso, K&E corporate
                                                     team re asset purchase agreements (.5);
                                                     review, analyze leases re schedules and
                                                     consent matters (1.0); review, revise
                                                     disclosure schedules (2.0).
09/02/23 Aaron Metviner                         5.60 Telephone conference with S. Toth, Ducera
                                                     team re bid procedures (.5); telephone
                                                     conference with A. Smith, K&E team re same
                                                     (.4); review, revise bidding procedures (4.0);
                                                     review, analyze precedent re same (.7).
09/02/23 Patrick J. Nash Jr., P.C.              0.80 Review stalking horse proposals for owned
                                                     real estate (.4); review, analyze bid
                                                     procedures (.4).
09/02/23 Keyan Norman                           5.50 Review bidder correspondence re asset
                                                     purchase agreement (.5); review, revise asset
                                                     purchase agreement (3.4); research, analyze
                                                     asset purchase agreement precedent (1.6).
09/02/23 Allyson B. Smith                       2.40 Telephone conference with S. Toth, Ducera
                                                     team re stalking horse matters (.5); telephone
                                                     conference with A. Metviner, K&E, Ducera,
                                                     Akin teams re same (.7); telephone
                                                     conference with S. Toth, K&E team re same
                                                     (.4); review, revise updated asset purchase
                                                     agreement (.8).
09/02/23 Paul D. Tanaka, P.C.                   1.90 Review, revise disclosure schedules (.7);
                                                     review, analyze permit and permit transfer
                                                     matters (.9); correspond with G. Almario,
                                                     K&E team re same (.3).
09/02/23 Steve Toth                            11.40 Review, analyze asset purchase agreement
                                                     issues (1.1); telephone conference with A.
                                                     Smith, K&E team, Ducera team re asset
                                                     purchase agreement issues and process (.5);
                                                     review and analyze bidder asset purchase
                                                     agreement (.8); telephone conference with
                                                     W&C, Ducera, A. Smith, K&E team re
                                                     stalking horse matters (.4) telephone
                                                     conference with A. Smith, K&E team, Ducera
                                                     re same (.2); analyze, revise bidder asset
                                                     purchase agreement (3.9); review, comment
                                                     on bidding procedures (2.7); draft analysis re
                                                     asset purchase agreement (.6); review, revise
                                                     bidder asset purchase agreement (1.2).



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Date     Name                                 Hours Description
09/02/23 Ali Mohammad Zarrabi                  3.40 Correspond with K. Norman, K&E team re
                                                    asset purchase agreement draft (.2);
                                                    correspond with Company re owned property
                                                    lease agreements (.4); correspond with B.
                                                    McAuliff, K&E team re same (.6); review,
                                                    analyze asset purchase agreement draft (.4);
                                                    correspond with D. Daines, K&E team re
                                                    same (.2); review, analyze certified freight
                                                    lease issue (.3); correspond with B. McAuliff,
                                                    K&E team re same (.1); correspond with
                                                    A&M re owned properties matter (.4); review,
                                                    analyze lease agreements (.8).
09/03/23 Gabe Navarro Almario                  4.00 Draft disclosure schedules.
09/03/23 Kennedy Chiglo                        0.20 Review, analyze draft bidding procedures.
09/03/23 Aaron Metviner                        6.30 Review, revise bidding procedures (3.7);
                                                    correspond with A. Smith, S. Toth, Ducera re
                                                    same (.3); review, revise bidding procedures
                                                    order (2.3).
09/03/23 Keyan Norman                          0.50 Review, analyze asset purchase agreement.
09/03/23 Steve Toth                            3.20 Review and revise bidder asset purchase
                                                    agreement (2.9); review, analyze bidder debt
                                                    commitment letter (.3).
09/04/23 Gabe Navarro Almario                  1.30 Draft disclosure schedules (1.0); analyze,
                                                    revise asset purchase agreement (.3).
09/04/23 Jennifer C. Cornejo                   0.50 Review, analyze purchase agreements (.4);
                                                    correspond with J. Dolphin, K&E team re
                                                    same (.1).
09/04/23 Daniel S. Daines                      5.90 Correspond with opposing counsel, S. Toth re
                                                    stalking horse asset purchase agreement (.3);
                                                    review, analyze stalking horse bidder’s
                                                    revised draft of asset purchase agreement (.5);
                                                    prepare for telephone conference with
                                                    stalking horse bidder’s counsel (.4); attend
                                                    telephone conference with stalking horse
                                                    bidder’s counsel, S. Toth, K&E team (.5);
                                                    review and revise asset purchase
                                                    agreement (3.5); draft rolling stock asset
                                                    purchase agreement (.7).
09/04/23 James Dolphin III                     0.30 Review, comment on purchase agreement.
09/04/23 Samuel Sean Hamner                    1.00 Review, revise asset purchase agreement.
09/04/23 Brandon King                          2.30 Review, revise disclosure schedules (1.3);
                                                    correspond with A. Smith, K&E team, Ducera
                                                    team re purchase agreement issues (1.0).


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09/04/23 Bob McAuliff                          0.20 Review, analyze asset purchase agreement
                                                    issues.
09/04/23 Aaron Metviner                        0.30 Correspond with B. Whittman re bidding
                                                    issues (.1); review, analyze same (.2).
09/04/23 Keyan Norman                          1.50 Review, revise purchase agreement closing
                                                    matters (1.0); review, analyze disclosure
                                                    schedules (.5).
09/04/23 Allyson B. Smith                      6.40 Correspond with S. Toth, K&E, Whiteford,
                                                    Ducera, Akin, MFN teams re stalking horse
                                                    APA (2.4); review, revise same (4.0).
09/04/23 Paul D. Tanaka, P.C.                  1.10 Review, revise asset purchase agreement (.8);
                                                    correspond with G. Almario, K&E team re
                                                    same (.3).
09/04/23 Steve Toth                            6.20 Participate in telephone conference with A.
                                                    Smith, K&E, Ducera and A&M teams re sale
                                                    process (.4); prepare correspondence re bidder
                                                    asset purchase agreement questions (.9);
                                                    correspond with A. Smith, K&E team, bidder
                                                    counsel re asset purchase agreement (1.1);
                                                    review and revise bidder asset purchase
                                                    agreement (3.0); conference with Ducera
                                                    team re bidder matter (.5); review, analyze
                                                    revised bidder asset purchase agreement (.3).
09/05/23 Olivia Acuna                          0.40 Telephone conference with counsel to
                                                    potential bidder re assets.
09/05/23 Gabe Navarro Almario                  3.00 Coordinate with P. Tanaka, K&E team re
                                                    reporting matter (1.0); draft disclosure
                                                    schedules (2.0).
09/05/23 Kennedy Chiglo                        0.30 Correspond with Company re real property
                                                    sales.
09/05/23 Jennifer C. Cornejo                   0.80 Review, analyze issues re purchase agreement
                                                    (.3); prepare for telephone conference with
                                                    Akin team re same (.2); telephone conference
                                                    with same re same (.3).
09/05/23 Stephanie Greco                       2.00 Review, analyze preliminary antitrust
                                                    assessment (.6); draft summary of findings re
                                                    same (.9); draft diligence requests re same
                                                    (.5).
09/05/23 Samuel Sean Hamner                    0.50 Review, analyze asset purchase agreement
                                                    (.2); review, analyze asset allocation (.3).
09/05/23 Ian Hesterly                          0.50 Coordinate with K. Norman, K&E team re
                                                    purchase agreement matters.
09/05/23 Trent William Huskey                  0.20 Review, revise stalking horse motion.

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09/05/23 Jean Y. Hyun                          3.80 Analyze antitrust assessment re sale process.
09/05/23 Brandon King                          3.30 Review, revise disclosure schedules (1.0);
                                                    conference with K. Norman re same (.5);
                                                    review, revise confidentiality agreements (.9);
                                                    review, revise asset purchase agreement (.9).
09/05/23 Catherine Lee                         0.70 Review and revise de minimis assets
                                                    procedures order (.3); correspond with Z.
                                                    Read, K&E team re same (.2); correspond
                                                    with A&M, Ducera re same (.2).
09/05/23 Aaron Metviner                        9.00 Draft bidding procedures order (4.0); review,
                                                    analyze precedent re same (1.8); review,
                                                    analyze bidder revisions to same (.5);
                                                    telephone conference with Ducera team re
                                                    bidding procedures issues (1.0); correspond
                                                    with S. Toth and A. Smith re same and
                                                    bidding mechanics (.7); telephone conference
                                                    with Ducera team, A. Smith, S. Toth re
                                                    stalking horse matters (1.0).
09/05/23 Patrick J. Nash Jr., P.C.             0.40 Review, analyze revised bidding procedures.
09/05/23 Keyan Norman                          3.90 Review, analyze escrow agreement and
                                                    know-your-customer analysis (.8); review,
                                                    analyze materials re disclosure schedules (.4);
                                                    correspond with S. Toth, K&E team re
                                                    disclosure schedules (1.1); coordinate closing
                                                    matters re same (1.0); review, revise asset
                                                    purchase agreement (.6).
09/05/23 Zak Read                              1.60 Review, revise de minimis asset sale order
                                                    (.4); correspond with R. Jacobson, K&E team
                                                    re same (.1); review, analyze de minimis asset
                                                    order issues (.4); research, analyze caselaw re
                                                    same (.3); draft summary re same (.3);
                                                    correspond with R. Jacobson, K&E team re
                                                    same (.1).
09/05/23 Allyson B. Smith                      5.30 Correspond with S. Toth, K&E team re
                                                    bidding procedures (.7); telephone conference
                                                    with S. Toth and K&E team re stalking horse
                                                    matters (1.0); telephone conference with
                                                    Ducera team re bidding procedures (1.0);
                                                    review, revise documents re same (2.6).
09/05/23 Paul D. Tanaka, P.C.                  1.20 Correspond with D. Quigley , G. Almario,
                                                    K&E team re environmental matters (.4);
                                                    review, analyze documents re same (.8).




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Date     Name                                 Hours Description
09/05/23 Steve Toth                            3.30 Review, analyze bidding procedures (.8);
                                                    analyze, revise bidder asset purchase
                                                    agreement (.6); prepare issues list re bidder
                                                    asset purchase agreement (.5); correspond
                                                    with Ducera team, A. Smith, K&E team re
                                                    same (.5); revise bidder asset purchase
                                                    agreement (.9).
09/05/23 Ali Mohammad Zarrabi                  3.00 Correspond with Ducera team re lease
                                                    agreements (.4); evaluate priority tasks re sale
                                                    process (.4); review, revise asset purchase
                                                    agreement (2.2).
09/06/23 Samuel Sean Hamner                    1.00 Draft asset allocation methodology.
09/06/23 Ian Hesterly                          2.00 Review, analyze asset purchase agreement.
09/06/23 Trent William Huskey                  1.40 Conference with A. Smith, K&E team re
                                                    bidding procedures (.4); review, revise
                                                    declaration in support of bidding procedures
                                                    (.2); research and review bidding procedures
                                                    precedent re notice (.8).
09/06/23 Michelle Kilkenney, P.C.              1.20 Review, revise commitment letter (.7);
                                                    prepare for conference with J. Goldfarb re
                                                    same (.2); conference with J. Goldfarb re
                                                    same (.3).
09/06/23 Brandon King                          3.80 Draft assignment and assumption agreement
                                                    (1.0); coordinate workstreams among and
                                                    conference with K. Norman, K&E team re
                                                    same (1.0); review, revise confidentiality
                                                    agreements (1.0); correspond with K.
                                                    Norman, K&E team re same (.8).
09/06/23 Catherine Lee                         2.00 Review and revise de minimis asset
                                                    procedures order (.9); analyze precedent re
                                                    same (.4); telephone conference with Z. Read
                                                    re same (.5); telephone conference with R.
                                                    Jacobson re same (.2).
09/06/23 Conor P. McNamara                     0.20 Telephone conference with A. Smith, creditor
                                                    advisors re bid procedures.




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09/06/23 Aaron Metviner                        11.40 Correspond with A. Smith, B. Whittman re
                                                     bidding procedures (.3); review, revise
                                                     bidding procedures (3.9); research, analyze
                                                     bidding procedures precedent re key terms
                                                     (1.4); telephone conference with, A. Smith,
                                                     Ducera team re stalking horse issues (.5);
                                                     review, revise bidding procedures order (4.0);
                                                     telephone conference with DIP lender counsel
                                                     re bidding procedures issues (.8); correspond
                                                     with bidder counsel re bid forms (.2); review,
                                                     analyze same (.2); correspond with Ducera
                                                     team re same (.1).
09/06/23 Patrick J. Nash Jr., P.C.              0.80 Review, analyze correspondence from DIP
                                                     lender’s counsel re issues with bid procedures
                                                     (.3); review, analyze open issues with
                                                     potential stalking horse asset purchase
                                                     agreement (.2); review, analyze proposed bid
                                                     procedures (.3).
09/06/23 Patrick J. Nash Jr., P.C.              0.10 Review correspondence from potential bidder
                                                     re interest in certain owned rolling stock.
09/06/23 Keyan Norman                           3.50 Coordinate data room access (.5); prepare
                                                     know-your-customer analysis (.7); review and
                                                     revise escrow agreement (1.6); review, revise
                                                     disclosure schedules (.7).
09/06/23 Zak Read                               3.10 Review, revise de minimis asset sales
                                                     procedures order (1.9); research, analyze
                                                     considerations re same (.4); draft summary re
                                                     same (.2); correspond with C. Lee, K&E team
                                                     re same (.2); conference with C. Lee re same
                                                     (.4).
09/06/23 David R. Seligman, P.C.                0.50 Conferences with A. Smith, K&E team and
                                                     Company advisors re bidding procedures.
09/06/23 Allyson B. Smith                       7.20 Telephone conference with A. Metviner,
                                                     K&E team, Ducera team, lender groups, Akin
                                                     team re stalking horse matters (2.2); review,
                                                     revise documentation re same (3.1);
                                                     correspond with A. Metviner, A&M re bid
                                                     procedures issues (.4); review, revise
                                                     documentation re same (1.5).
09/06/23 Steve Toth                             1.80 Review, analyze correspondence re bidder
                                                     asset purchase agreement (1.2); review,
                                                     analyze correspondence re asset purchase
                                                     agreement and Delaware law (.3); review,
                                                     revise bidder asset purchase agreement (.3).


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Date     Name                                 Hours Description
09/06/23 Ali Mohammad Zarrabi                  2.00 Correspond with K. Norman re certain lease
                                                    agreements (.2); prepare execution
                                                    documentation re same (.6); prepare summary
                                                    of priority tasks re sale process (.4); review
                                                    debt commitment letter re asset purchase
                                                    agreement (.4); correspond with S. Toth re
                                                    same (.4).
09/07/23 Whitney Fogelberg                     2.40 Telephone conference with counsel to bidder,
                                                    A. Metviner, K&E team re stalking horse
                                                    agreement (1.6); review, analyze issues re
                                                    same (.8).
09/07/23 Ian Hesterly                          1.50 Review purchase agreement.
09/07/23 Trent William Huskey                  3.90 Review, revise stalking horse motion (1.5);
                                                    review, revise stalking horse order (1.4);
                                                    review, revise declaration in support of
                                                    stalking horse (1.0).
09/07/23 Michelle Kilkenney, P.C.              0.50 Review, revise debt commitment letter for
                                                    stalking horse.
09/07/23 Brandon King                          5.00 Review, revise purchase agreement (2.0);
                                                    correspond with I. Hesterly re same (.5);
                                                    review and revise disclosure schedules (1.5);
                                                    review and revise confidentiality agreements
                                                    (1.0).
09/07/23 Catherine Lee                         1.20 Review and revise de minimis asset
                                                    procedures order (.2); telephone conference
                                                    with R. Jacobson re same (.4); review and
                                                    analyze precedent re same (.3); correspond
                                                    with Z. Read, K&E team re same (.3).
09/07/23 Aaron Metviner                        9.90 Review, revise bidding procedures (4.0);
                                                    review, revise bidding procedures order (3.6);
                                                    correspond with lender parties re same (.3);
                                                    correspond with stalking horse counsel re
                                                    same (.2); review, analyze Canadian issues re
                                                    bid procedures (.4); correspond with C.
                                                    Descours re same (.2); review, analyze bidder
                                                    comments to bidding procedures (.4) and
                                                    bidding procedures order (.3); review, analyze
                                                    A&P comments to same (.3); correspond with
                                                    A. Smith re same (.2).
09/07/23 Keyan Norman                          6.10 Review, revise IT agreement (2.5); coordinate
                                                    closing tasks (.5); review and revise escrow
                                                    agreement (1.0); correspond with A. Zarrabi
                                                    re same (.3); attend to and coordinate closing
                                                    tasks re same (1.8).


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09/07/23 Zak Read                              2.00 Review, revise de minimis asset sale
                                                    procedures order (.9); correspond with C. Lee
                                                    re same (.2); correspond with R. Jacobson,
                                                    K&E team re same, related considerations
                                                    (.2); analyze considerations re same (.6);
                                                    review, revise summary re same (.1).
09/07/23 Allyson B. Smith                      8.20 Telephone conference with A. Metviner,
                                                    K&E team, stalking horse bidders, lender
                                                    groups, Akin, Ducera re stalking horse
                                                    matters (1.7); review, revise documentation re
                                                    same (3.2); telephone conference with A.
                                                    Metviner, K&E team, stalking horse bidders,
                                                    lender groups, Akin, Ducera team re bidding
                                                    procedures (.9); review, revise documentation
                                                    re same (2.4).
09/07/23 Eric Steinfeld                        2.60 Research, analyze bidding procedures
                                                    precedent (2.4); correspond with A. Smith
                                                    and A. Metviner re same (.2).
09/07/23 Spencer Topham                        6.50 Conference with D. Daines re asset purchase
                                                    agreement for rolling stock (.5); draft asset
                                                    purchase agreement for rolling stock assets
                                                    (3.6); research asset purchase agreement
                                                    precedent re non-real estate assets (2.4).
09/07/23 Steve Toth                            3.80 Correspond with S. Topham, K&E team,
                                                    Ducera re asset purchase agreement (.7);
                                                    correspond with bidder counsel re debt
                                                    commitment letter (.2); correspond with
                                                    Canada counsels, S. Topham, K&E team re
                                                    asset purchase agreement (.4); review and
                                                    revise bidder asset purchase agreement (.6);
                                                    conference with A. Metviner, K&E team re
                                                    sale process developments (.1); review and
                                                    revise bidder asset purchase agreement (.3);
                                                    telephone conference with A. Metviner re
                                                    bidding process (.2); correspond with Ducera
                                                    team re sale process developments (.1);
                                                    conference with bidder counsel re bidding
                                                    procedures (.1); review and revise bidder
                                                    asset purchase agreement (.8); conference
                                                    with bidder counsel re asset purchase
                                                    agreement (.2) correspond with bidder
                                                    counsel re bidder asset purchase agreement
                                                    (.1).




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09/07/23 Ali Mohammad Zarrabi                  3.40 Prepare and coordinate purchase agreement
                                                    and escrow agreement execution (2.8); review
                                                    and evaluate priority tasks re sale process (.6).
09/08/23 Gabe Navarro Almario                  0.60 Telephone conference with K. Cornejo, K&E
                                                    team re environmental matters (.3); review,
                                                    analyze documents re same (.3).
09/08/23 Kennedy Chiglo                        0.50 Conference with C. Aiken, K&E team, A&M,
                                                    Akin re stalking horse bid and procedures.
09/08/23 Jennifer C. Cornejo                   0.30 Telephone conference with G. Almario, K&E
                                                    team, Akin re environmental matters (.2);
                                                    correspond with J. Dolphin, K&E team re
                                                    same (.1).
09/08/23 Daniel S. Daines                      4.50 Telephone conference with DIP lender,
                                                    Ropes, Ducera team, S. Toth, K&E team re
                                                    bidding procedures (1.8); telephone
                                                    conference with S. Toth, K&E team, Ducera
                                                    team re bidder issues (1.3); review and revise
                                                    stalking horse purchase agreement (1.4).
09/08/23 James Dolphin III                     0.50 Telephone conference with Akin re diligence
                                                    matters (.2); prepare for same (.3).
09/08/23 Michael P. Esser                      1.30 Correspond with potential witness re bidding
                                                    procedures (.3); review and analyze draft
                                                    declaration in support of same (.5); draft
                                                    agenda re same (.5).
09/08/23 Trent William Huskey                  2.80 Conference with A. Smith, K&E team,
                                                    Ducera team, A&M team re bidding
                                                    procedures (1.8); draft, revise objection
                                                    summaries (1.0).
09/08/23 Michelle Kilkenney, P.C.              0.60 Review, revise commitment letter.
09/08/23 Brandon King                          3.00 Review, revise purchase agreement (2.2);
                                                    review, revise escrow agreement (.8).




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Date     Name                                 Hours Description
09/08/23 Aaron Metviner                        9.70 Review, revise bidding procedures (3.5);
                                                    research, analyze precedent re same (.8);
                                                    review, revise bidding procedures order (2.3);
                                                    correspond with C. Descours re Canadian
                                                    issues in bidding procedures (.4); telephone
                                                    conference with DIP lender re bidding
                                                    procedures issues (.5); telephone conference
                                                    with A. Smith, K&E team re stalking horse,
                                                    bidding procedures issues (.5); correspond
                                                    with A. Smith, S. Toth re bidding procedures,
                                                    stalking horse issues and documentation (.6);
                                                    review, revise stalking horse documentation
                                                    (.6); telephone conference with Ducera,
                                                    lender groups, stalking horse bidder, Akin re
                                                    same (.5).
09/08/23 Patrick J. Nash Jr., P.C.             0.30 Review, analyze revised bid procedures.
09/08/23 Keyan Norman                          6.30 Review, analyze Canadian regulatory analysis
                                                    (1.3); review, revise IT agreement (.8);
                                                    review, revise escrow agreement (.2); review,
                                                    revise asset purchase agreement (3.5);
                                                    correspond with S. Toth re same (.5).
09/08/23 Lola Ojeniyi                          0.20 Correspond with M. Esser, Ducera team re
                                                    bidder data room.
09/08/23 Zak Read                              0.40 Review, analyze de minimis asset transaction
                                                    procedures (.2); review, revise summary re
                                                    same (.1); correspond with C. Lee re same
                                                    (.1).
09/08/23 David R. Seligman, P.C.               0.60 Conferences with various parties re bidding
                                                    procedures.
09/08/23 Allyson B. Smith                      9.40 Correspond with A. Metviner, K&E team,
                                                    Ducera, lender groups, Akin, stalking horse
                                                    bidder re stalking horse documentation (.7);
                                                    review, analyze same (2.4), correspond with
                                                    A. Metviner, K&E team, Ducera team, lender
                                                    groups, Akin team, stalking horse bidder re
                                                    bidding procedures (1.2); review, analyze
                                                    same (2.6); correspond with A. Metviner,
                                                    K&E team, Ducera team, lender groups, Akin
                                                    team, stalking horse bidder re declarations
                                                    accompanying motions (.5); review, analyze
                                                    same (1.5); telephone conference with L.
                                                    Jones re logistics (.5).
09/08/23 Spencer Topham                        3.00 Review and revise asset purchase agreement
                                                    re rolling stock assets.


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09/08/23 Steve Toth                            6.20 Review, analyze revised bidder asset purchase
                                                    agreement (.4); conference with bidder
                                                    counsel re asset purchase agreement (.1);
                                                    correspond with Ducera, D. Daines, K&E
                                                    team re bidding procedures (.2); correspond
                                                    with DIP lender, Ropes, D. Daines, K&E
                                                    team, Ducera re bidding procedures (1.8);
                                                    correspond with bidder, bidder counsel,
                                                    Ducera team, D. Daines, K&E team re
                                                    bidding issues (.6); analyze correspondence re
                                                    bidder asset purchase agreement (.7);
                                                    correspond with Ducera team, D. Daines,
                                                    K&E team re bidding developments (1.3);
                                                    revise bidder asset purchase agreement (.4);
                                                    revise bidder asset purchase agreement (.7).
09/08/23 Ali Mohammad Zarrabi                  1.60 Correspond with K. Norman, K&E team re
                                                    asset purchase agreement closing items (.4);
                                                    revise escrow agreement (.8); review, analyze
                                                    IT purchase agreement (.3); correspond with
                                                    K. Wormington re IT purchase agreement
                                                    (.1).
09/09/23 Daniel S. Daines                      1.80 Correspond with K. Norman, S. Toth, K&E
                                                    team, opposing counsel re bidding procedures
                                                    and asset purchase agreement (.3); correspond
                                                    with S. Toth and Ducera team re rolling stock
                                                    asset purchase agreement (.3); draft rolling
                                                    stock asset purchase agreement (.7);
                                                    correspond with bidder counsel re
                                                    confidentiality agreement (.3); correspond
                                                    with B. King and opposing counsel re certain
                                                    property rights (.2).
09/09/23 Aaron Metviner                        9.10 Review, revise bidding procedures (2.9);
                                                    review, revise bidding procedures order (2.1);
                                                    correspond with lender counsel re same (.3);
                                                    correspond with A. Smith re same (.3); draft
                                                    stalking horse motion (2.0); draft order re
                                                    same (.5); correspond with A. Smith and T.
                                                    Huskey re same (.2); review, analyze lender
                                                    comments to bidding procedures (.5); review,
                                                    analyze stalking horse counsel’s comments to
                                                    asset purchase agreement (.3).
09/09/23 Patrick J. Nash Jr., P.C.             0.50 Review, analyze bid procedures (.3); review,
                                                    analyze Akin team issues re stalking horse
                                                    asset purchase agreement (.2).



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Date     Name                                 Hours Description
09/09/23 Keyan Norman                          0.50 Review, analyze materials re asset purchase
                                                    agreement.
09/09/23 Steve Toth                            1.90 Review, analyze Akin team correspondence
                                                    re bidder asset purchase agreement (.3);
                                                    correspond with bidder counsel, D. Daines,
                                                    K&E team re bidding procedures (.8);
                                                    correspond with A. Smith re same (.2);
                                                    review, analyze revised asset purchase
                                                    agreement (.6).
09/10/23 Brandon King                          1.00 Coordinate workstreams re disclosure
                                                    schedules and lease consents.
09/10/23 Aaron Metviner                        9.40 Review, revise bidding procedures (3.2);
                                                    review, revise bidding procedures order (1.5);
                                                    correspond with J. Leahy re same (.2); draft
                                                    stalking horse declaration (1.5); correspond
                                                    with A. Smith re bidding procedures issues
                                                    (.4); review, revise bidding procedures
                                                    declaration (1.2); draft stalking horse motion
                                                    (1.2); correspond with S. Toth, K&E team re
                                                    same (.2).
09/10/23 Keyan Norman                          0.50 Review, analyze materials re asset purchase
                                                    agreement.
09/10/23 Rebekah Tobison Scherr                0.30 Prepare HSR filing re sale process.
09/10/23 Allyson B. Smith                      9.90 Telephone conference with DIP lender,
                                                    Ropes, stalking horse bidder, Whiteford re
                                                    stalking horse asset purchase agreement,
                                                    bidding procedures (2.8); correspond with
                                                    DIP lender, Ropes, stalking horse bidder,
                                                    Whiteford re same (3.1); review, revise
                                                    bidding procedures (2.3); review, revise asset
                                                    purchase agreement (1.7).
09/10/23 Steve Toth                            0.90 Analyze, revise bidder asset purchase
                                                    agreement (.4); review, analyze materials re
                                                    asset purchase agreement and bidding
                                                    procedures (.5).
09/10/23 Ali Mohammad Zarrabi                  0.80 Analyze certain lease agreement and related
                                                    documents.
09/11/23 Michael P. Esser                      1.20 Conference with potential witness re bidding
                                                    procedures hearing (.5); correspond with A.
                                                    Smith re same (.2); conference with L. Jones
                                                    re hearing matters (.3); correspond with M.
                                                    Slade re same (.2).
09/11/23 Ian Hesterly                          5.20 Review, analyze asset purchase documents
                                                    and correspondence.

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09/11/23 Trent William Huskey                  4.40 Review, revise stalking horse motion (1.1);
                                                    review, revise bidding procedures (.3);
                                                    review, revise bidding procedures objection
                                                    summaries (.3); review, revise declaration in
                                                    support of stalking horse (.5); review, revise
                                                    declaration in support of bidding procedures
                                                    (.5); correspond with A. Metviner re same
                                                    (.4); correspond with A. Smith, K&E team,
                                                    Ducera team re bidding procedures (1.3).
09/11/23 Brandon King                          7.10 Review, revise confidentiality agreements
                                                    (1.0); review, revise disclosure schedules
                                                    (2.6); review, revise escrow agreement (1.4);
                                                    prepare documents for execution of same
                                                    (2.1).
09/11/23 Catherine Lee                         0.80 Review, revise de minimis asset procedures
                                                    order (.2); correspond with Z. Read, K&E
                                                    team re same (.2); review, analyze objections
                                                    and reservations of rights re same (.4).
09/11/23 Bob McAuliff                          0.20 Correspond with title company re title matter.
09/11/23 Casey McGushin                        1.10 Review and revise bidding procedures motion
                                                    (.9); review, revise supporting declaration re
                                                    same (.2).
09/11/23 Aaron Metviner                        3.10 Telephone conference with DIP lender re
                                                    bidding procedures (.2); telephone conference
                                                    with E. McGrady re bidding procedures (.3);
                                                    draft motion to shorten notice re stalking
                                                    horse (1.4); review, analyze legal precedent re
                                                    same (.5); telephone conference with M.
                                                    Doheny, C. Kaldenberg and A. Smith re
                                                    stalking horse issues (.3); correspond with A.
                                                    Smith, T. Huskey re same (.4).
09/11/23 Patrick J. Nash Jr., P.C.             0.90 Review, analyze bidding procedures order
                                                    (.2); review, analyze final bidding procedures
                                                    (.2); review, analyze final terms of stalking
                                                    horse bid (.2); review, analyze motion to
                                                    approve stalking horse (.3).
09/11/23 Keyan Norman                          6.00 Prepare asset purchase agreement execution
                                                    documents (4.0); correspond with A.
                                                    Zarrabisame re same (1.0); review, analyze
                                                    disclosure schedules (1.0).
09/11/23 Veena Raghuraman                      1.50 Prepare administrative documents re HSR
                                                    filing.




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Date     Name                                 Hours Description
09/11/23 Zak Read                              1.10 Conference with C. Lee, K&E team re de
                                                    minimis asset procedures motion (.4); review,
                                                    revise same (.1); correspond with R. Jacobson
                                                    re same (.1); review, revise summary re
                                                    objections, reservations of rights re same (.4);
                                                    correspond with E. Steinfeld re same, related
                                                    considerations (.1).
09/11/23 Rebekah Tobison Scherr                0.70 Prepare HSR filing re sale process.
09/11/23 Allyson B. Smith                      7.10 Telephone conference with Ducera re bidding
                                                    procedures (.5); telephone conference with L.
                                                    Smith re same (.3); review, revise same (1.5);
                                                    telephone conference with S. Toth, K&E
                                                    team, Ducera team, DIP lender re same (.6);
                                                    telephone conference with bidder counsel re
                                                    same (.3); correspond with K&E team,
                                                    Ducera team re same (2.1); review, analyze
                                                    stalking horse asset purchase agreement (1.1);
                                                    conference with S. Toth, Whiteford re same
                                                    (.4); telephone conference with Company re
                                                    asset purchase agreement (.3).
09/11/23 Spencer Topham                        3.00 Draft, revise asset purchase agreement for
                                                    rolling stock assets.
09/11/23 Steve Toth                            4.40 Correspond with DIP lender, Ropes, Ducera,
                                                    A. Smith, K&E team re bidding procedures
                                                    (.6); revise bidder asset purchase agreement
                                                    (.4); prepare analysis re same (.7); correspond
                                                    with Ducera, A. Smith, K&E team, Company
                                                    re asset purchase agreement (.2); review,
                                                    revise asset purchase agreement (.4); prepare
                                                    APA and schedules and related documents for
                                                    filing (1.6); correspond with W&C re asset
                                                    purchase agreement (.2); review, analyze
                                                    revised bidding procedures order (.3).
09/11/23 Ali Mohammad Zarrabi                  1.00 Review, analyze escrow agreement (.5);
                                                    correspond with K. Norman re same (.1);
                                                    prepare executed escrow agreement (.4).
09/12/23 Gabe Navarro Almario                  1.00 Analyze documentation re environmental
                                                    matters.
09/12/23 Ian Hesterly                          3.10 Review, analyze antitrust issues.




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09/12/23 Trent William Huskey                  6.80 Review, revise stalking horse motion (2.7);
                                                    review, revise stalking horse order (.9);
                                                    review, revise declaration in support of
                                                    bidding procedures (.8); review, revise
                                                    declaration in support of stalking horse (.8);
                                                    correspond with parties re objections to
                                                    bidding procedures (.2); correspond with A.
                                                    Metviner re stalking horse motion (.5);
                                                    correspond with D. Daines re stalking horse
                                                    agreement (.1); review, revise motion to
                                                    shorten notice re stalking horse (.8).
09/12/23 Brandon King                          1.30 Prepare execution sale documents (1.0);
                                                    attend status telephone conference with I.
                                                    Hesterly, K&E team re same (.3).
09/12/23 Catherine Lee                         0.50 Review and revise de minimis asset
                                                    procedures order (.1); correspond with Z.
                                                    Read, K&E team re same (.1); review and
                                                    analyze stakeholder comments re same (.2);
                                                    conference with R. Jacobson re same (.1).
09/12/23 Casey McGushin                        0.40 Review and revise draft declaration in support
                                                    of bid procedures motion.
09/12/23 Aaron Metviner                        6.60 Review, analyze objections to bidding
                                                    procedures (1.1); correspond with A. Smith,
                                                    T. Huskey re same (.3); correspond with
                                                    objecting lender’s counsel re same (.3);
                                                    review, revise declaration in support of
                                                    stalking horse (.9); review, revise declaration
                                                    in support of bidding procedures (.8); review,
                                                    revise motion to shorten notice re stalking
                                                    horse (1.1); review, revise stalking horse
                                                    motion (1.2) review, revise stalking horse
                                                    order (.4); review, analyze precedent re same
                                                    (.3); correspond with Pachulski team re same
                                                    (.2).
09/12/23 Keyan Norman                          1.30 Prepare execution sale documents (.7);
                                                    correspond with B. King re same (.6).
09/12/23 Veena Raghuraman                      1.00 Prepare initial HSR information re sale
                                                    process.
09/12/23 Zak Read                              1.00 Review, analyze comments re de minimis
                                                    asset sales procedures order (.4); correspond
                                                    with C. Lee, K&E team re same (.1); review,
                                                    revise de minimis asset sales procedures order
                                                    (.5).
09/12/23 Rebekah Tobison Scherr                0.80 Prepare HSR filing re sale process.


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09/12/23 Allyson B. Smith                      5.40 Correspond with objecting parties re bidding
                                                    procedures (.5); correspond with A. Metviner,
                                                    T. Huskey re same (1.1); review, update
                                                    summary re same (.3); revise bidding
                                                    procedures (.7); draft bidding procedures
                                                    declaration (1.3); draft stalking horse motion
                                                    (.6); draft motion to shorten (.4); draft
                                                    stalking horse declaration (.5).
09/12/23 Steve Toth                            0.60 Review, comment on rolling stock asset
                                                    purchase agreement.
09/12/23 Ali Mohammad Zarrabi                  1.20 Review, analyze executed purchase
                                                    agreement (.4); correspond with A. Maidment
                                                    re same (.2); correspond with T. Martin re
                                                    same (.6).
09/13/23 John G. Caruso                        0.50 Review, analyze lease termination agreement.
09/13/23 Jennifer C. Cornejo                   0.20 Correspond with J. Dolphin, K&E team re
                                                    bulk fuel matters.
09/13/23 James Dolphin III                     0.30 Correspond with J. Cornejo, K&E team and
                                                    A&M team re permit considerations.
09/13/23 Michael P. Esser                      0.50 Conference with witness re bidding
                                                    procedures testimony (.3); prepare for same
                                                    (.2).
09/13/23 Ian Hesterly                          1.00 Correspond with B. King, K&E team re
                                                    antitrust matters.
09/13/23 Trent William Huskey                  1.20 Review, revise stalking horse motion (.5);
                                                    review revise declaration in support of same
                                                    (.3); review, revise declaration in support of
                                                    bidding procedures (.2); correspond with A.
                                                    Metviner re same (.2).
09/13/23 Brandon King                          2.20 Review, revise confidentiality agreements
                                                    (1.0); review, analyze stalking horse motion
                                                    (.5); correspond with I. Hesterly, K&E team
                                                    re HSR matters (.7).
09/13/23 Catherine Lee                         0.30 Review and revise de minimis asset order
                                                    (.2); correspond with R. Jacobson, K&E team
                                                    re same (.1).
09/13/23 Casey McGushin                        1.20 Review and revise draft declaration in support
                                                    of stalking horse bid.




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09/13/23 Aaron Metviner                        3.80 Review, analyze lender objections to bidding
                                                    procedures (.4); telephone conference with K.
                                                    Zuzolo re bidding issues (.3); review, revise
                                                    bidding procedures declaration (.6); review,
                                                    revise stalking horse declaration (.8); review,
                                                    revise stalking horse motion (.9); review,
                                                    revise stalking order (.3); correspond with P.
                                                    Keane re same (.2); correspond with A. Smith
                                                    re same (.1); correspond with J. Cremeans re
                                                    same (.2).
09/13/23 Veena Raghuraman                      1.00 Draft HSR filing re sale process.
09/13/23 Zak Read                              0.70 Review, analyze correspondence from R.
                                                    Jacobson re de minimis asset sales order (.1);
                                                    review, revise de minimis asset sales order
                                                    (.4); correspond with R. Jacobson, K&E team
                                                    re same (.2).
09/13/23 Roy Michael Roman                     0.20 Correspond with B. Roth re reclamation
                                                    notice.
09/13/23 Rebekah Tobison Scherr                2.30 Prepare HSR filing re sale process.
09/13/23 Allyson B. Smith                      5.10 Correspond with A. Metviner re bidding
                                                    procedures (3.1); correspond with A.
                                                    Metviner re stalking horse matters and
                                                    pleadings (1.3); correspond with A. Metviner
                                                    re sale hearing (.7).
09/13/23 Luke Spangler                         0.50 Research precedent re bidding procedure
                                                    orders (.4); correspond with A. Smith re same
                                                    (.1).
09/13/23 Spencer Topham                        3.00 Review, revise rolling stock asset purchase
                                                    agreement (2.5); review, analyze materials re
                                                    asset purchase agreement (.5).
09/13/23 Steve Toth                            0.50 Review, analyze updated bidding procedures
                                                    (.2); review, analyze materials re asset
                                                    purchase agreement (.3).
09/14/23 John G. Caruso                        0.80 Review and revise lease termination
                                                    agreement.
09/14/23 Jennifer C. Cornejo                   0.80 Correspond with J. Dolphin, K&E team and
                                                    Company re fuel matter.
09/14/23 James Dolphin III                     0.30 Correspond with J. Cornejo, K&E team and
                                                    A&M team re permits matter.
09/14/23 Michael P. Esser                      1.00 Conference with witness re bidding
                                                    procedures hearing preparation (.4); prepare
                                                    for same (.1); review and analyze draft
                                                    declaration re same (.5).

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09/14/23 Whitney Fogelberg                     2.10 Review and analyze issues re bidding
                                                    procedures order (.9); correspond with A.
                                                    Smith and K&E team re same (1.2).
09/14/23 Ian Hesterly                          0.80 Review materials re asset purchase
                                                    agreement.
09/14/23 Richard U. S. Howell, P.C.            1.40 Telephone conference with A. Smith, K&E
                                                    team, A&M, Ducera re bidding procedures
                                                    matters (.6); review, revise documents re
                                                    same (.5); review, analyze materials re
                                                    bidding procedures hearing (.3).
09/14/23 Trent William Huskey                  3.40 Draft bidding procedures talking points (2.4);
                                                    review, revise bidding procedures objection
                                                    summary (.6); conference with A. Smith,
                                                    K&E team re objections (.4).
09/14/23 Brandon King                          2.80 Telephone conference with Company re HSR
                                                    matters (.5); review, revise confidentiality
                                                    agreements (1.0); telephone conference with
                                                    A. Smith, K&E team, A&M, Ducera re sale
                                                    matters (.2); review, revise equipment
                                                    purchase agreement (1.1).
09/14/23 Bob McAuliff                          0.80 Review, revise lease termination agreement.
09/14/23 Aaron Metviner                        3.00 Correspond with C. Descours re stalking
                                                    horse asset purchase agreement (.2);
                                                    correspond with C. Kaldenberg re sale
                                                    process (.2); telephone conference with DIP
                                                    lender advisors re bidding issues (.2);
                                                    telephone conference with K. Zuzolo re
                                                    bidding issue (.2); correspond with A. Smith
                                                    re bidding procedures order (.3); review,
                                                    revise same (1.4); review, analyze lender
                                                    issues re bidding procedures (.5).
09/14/23 Patrick J. Nash Jr., P.C.             0.20 Review final bid procedures in preparation for
                                                    filing.
09/14/23 Keyan Norman                          1.00 Review, revise purchase agreement (.8);
                                                    review and coordinate with R. Scherr, K&E
                                                    team (.2).
09/14/23 Veena Raghuraman                      2.00 Attend HSR information request meeting (.9);
                                                    prepare HSR filing (1.1).
09/14/23 Rebekah Tobison Scherr                2.50 Prepare HSR filing.
09/14/23 Michael B. Slade                      0.50 Conference with A. Smith, K&E team re
                                                    bidding procedures.




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09/14/23 Allyson B. Smith                      5.20 Telephone conference with A. Metviner,
                                                    Ducera re revised bid procedures (.9);
                                                    correspond with A. Metviner, K&E team re
                                                    same (1.2); review, revise same (2.7);
                                                    conference with M. Esser re declaration (.4).
09/14/23 Paul D. Tanaka, P.C.                  1.20 Review and analyze materials re bulk fuel and
                                                    permitting matters (.8); correspond with J.
                                                    Cornejo, K&E team re same (.4).
09/14/23 Ali Mohammad Zarrabi                  1.20 Review, revise IP purchase agreement (.8);
                                                    correspond with K. Norman, B. King, K&E
                                                    team re same (.4).
09/15/23 Ian Hesterly                          1.30 Review, analyze asset purchase agreement.
09/15/23 Brandon King                          2.50 Review, revise asset purchase agreements
                                                    (2.0); review, analyze confidentiality
                                                    agreements (.5).
09/15/23 Aaron Metviner                        2.20 Correspond with J. Lewis re bidding
                                                    procedures issue (.3); correspond with A.
                                                    Smith re same (.1); correspond with P. Keane
                                                    re same (.2); review, revise bidding
                                                    procedures (.3); telephone conference with A.
                                                    Smith, Ducera, A&M re bidding issues (.5);
                                                    review, analyze bidding procedure talking
                                                    points (.4); telephone conference with C.
                                                    Kaldenberg, J. Creamens, A. Smith re sale
                                                    and bidding issues (.4).
09/15/23 Patrick J. Nash Jr., P.C.             0.80 Review rolling stock indications of interest
                                                    (.5); telephone conference with potential
                                                    rolling stock purchaser (.3).
09/15/23 Keyan Norman                          0.50 Review, analyze correspondence re IT
                                                    equipment agreement.
09/15/23 Roy Michael Roman                     0.30 Telephone conference with B. Roth re
                                                    reclamation demand (.2); review, analyze
                                                    materials re same (.1).
09/15/23 Rebekah Tobison Scherr                1.30 Prepare HSR filing.
09/15/23 Paul D. Tanaka, P.C.                  1.30 Review and analyze permitting and bulk fuel
                                                    regulatory questions (.9); telephone
                                                    conferences with J. Cornejo, K&E team re
                                                    same (.4).
09/15/23 Spencer Topham                        2.00 Review, analyze materials re asset purchase
                                                    agreement (.7); review, analyze stakeholder
                                                    comments to rolling stock asset purchase
                                                    agreement (.5); review, revise rolling stock
                                                    asset purchase agreement (.8).


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Yellow Corporation                                              Matter Number:             23631-58
Use, Sale, and Disposition of Property

Date     Name                                 Hours Description
09/15/23 Steve Toth                            0.70 Review, revise rolling stock asset purchase
                                                    agreement.
09/15/23 Ali Mohammad Zarrabi                  0.60 Prepare analysis of key milestones re escrow
                                                    agreement, IT purchase agreement and rolling
                                                    asset purchase agreement.
09/18/23 Whitney Fogelberg                     2.40 Telephone conference with A. Smith, Ducera
                                                    re bidding procedures and sale issues (.8);
                                                    review, analyze issues re same (1.1);
                                                    correspond with S. Toth and K&E team re
                                                    same (.5).
09/18/23 Richard U. S. Howell, P.C.            1.00 Telephone conference with A. Smith, K&E
                                                    team re sale process and related issues.
09/18/23 Trent William Huskey                  1.70 Review, revise bidding procedures notice (.7);
                                                    review, revise auction notice (.5); correspond
                                                    with S. Golden re same (.3); correspond with
                                                    A. Metviner re same (.2).
09/18/23 Aaron Metviner                        2.00 Correspond with A. Smith, T. Huskey re
                                                    hearing matters (.2); correspond with counsel
                                                    to secured lender parties and Akin re same
                                                    (.2); review, revise bid procedures notice (.7);
                                                    review, revise auction notice (.7); correspond
                                                    with S. Golden re same and publication
                                                    matters (.2).
09/18/23 Veena Raghuraman                      1.00 Prepare administrative documents re HSR
                                                    filing.
09/18/23 Allyson B. Smith                      1.60 Telephone conference with W. Fogelberg,
                                                    K&E team re sale deadlines and related
                                                    matters (.8); correspond with A. Metviner,
                                                    K&E team re auction logistics, stalking horse
                                                    asset purchase agreement (.8).
09/18/23 Spencer Topham                        0.50 Review, analyze materials re asset purchase
                                                    agreement (.2); review, analyze Canadian
                                                    counsel comments to rolling stock asset
                                                    purchase agreement (.3).
09/18/23 Steve Toth                            1.00 Review, analyze correspondence re stalking
                                                    horse asset purchase agreement (.5);
                                                    correspond with A&M, Ducera, A. Smith,
                                                    K&E team re sale process matters (.5).
09/19/23 Susan D. Golden                       0.50 Coordinate publication of notice of auction in
                                                    New York Times and Globe & Mail.




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Use, Sale, and Disposition of Property

Date     Name                                 Hours Description
09/19/23 Brandon King                          4.50 Review, revise rolling stock asset purchase
                                                    agreement (3.5); review, revise confidentiality
                                                    agreements (.8); attend status telephone
                                                    conference with S. Toth re sale process (.2).
09/19/23 Casey McGushin                        2.30 Review and analyze pleadings and supporting
                                                    documents re stalking horse motion.
09/19/23 Aaron Metviner                        3.20 Telephone conference with A. Smith, Ducera,
                                                    A&M teams re bidding issues (.5); telephone
                                                    conference with DIP lender and counsel re
                                                    same (.2); correspond with S. Golden re
                                                    publication notices (.2); review, analyze same
                                                    (.3); review, analyze rolling stock agent
                                                    indication of interest (1.1); review, analyze
                                                    precedent re same (.5); correspond with J.
                                                    Creamens re same (.3); correspond with T.
                                                    Huskey re same (.1).
09/19/23 Rebekah Tobison Scherr                0.80 Prepare HSR filing (.4); review, analyze
                                                    supporting documentation re same (.4).
09/19/23 Allyson B. Smith                      3.80 Telephone conference S. Toth, K&E team,
                                                    Ducera team, DIP lender, Ropes, Q&E re sale
                                                    process developments (1.0); conference with
                                                    Ducera re rolling stock sales (.8); analyze
                                                    asset purchase agreement (.6); correspond
                                                    with Company re title considerations (.9);
                                                    review, analyze same (.5).
09/19/23 Spencer Topham                        0.30 Review correspondence from S. Toth re asset
                                                    purchase agreement.
09/19/23 Steve Toth                            1.00 Telephone conference with A&M, A. Smith,
                                                    K&E team re deal updates (.3); review and
                                                    revise stalking horse asset purchase
                                                    agreement (.4); review, analyze rolling stock
                                                    asset purchase agreement (.2); telephone
                                                    conference with DIP lender, Ropes, Ducera,
                                                    A. Smith, K&E team re same (.1).
09/20/23 Gabe Navarro Almario                  1.20 Correspond with S. Toth, K&E team re
                                                    environmental matters.
09/20/23 Whitney Fogelberg                     2.10 Telephone conference with Company re
                                                    rolling stock sale matters (.8); review and
                                                    analyze issues re same (1.3).
09/20/23 Samuel Sean Hamner                    2.50 Review, analyze rolling stock asset asset
                                                    purchase agreement.




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Date     Name                                 Hours Description
09/20/23 Ian Hesterly                          5.60 Telephone conference with Company re
                                                    equipment issues (.5); review, revise
                                                    confidentiality agreements (4.0); research
                                                    precedent re key confidentiality terms re same
                                                    (.5); correspond with K. Norman, K&E team
                                                    re same (.6).
09/20/23 Trent William Huskey                  0.50 Correspond with Epiq team re bidding
                                                    procedures notice (.3); review, revise same
                                                    (.2).
09/20/23 Brandon King                          3.40 Review, revise rolling stock asset purchase
                                                    agreement (3.0); telephone conference with
                                                    Company re rolling stock (.2); review, revise
                                                    confidentiality agreements (.2).
09/20/23 Aaron Metviner                        3.50 Review, analyze rolling stock agent bid (.5);
                                                    review, analyze related precedent (.5);
                                                    correspond with T. Huskey and A. Smith re
                                                    same (.2); comment upon same (.4); review,
                                                    analyze noticing issues re sale process and
                                                    auctions (.5); correspond with T. Huskey re
                                                    same (.3); review, analyze communications
                                                    with Epiq re same (.2); telephone conference
                                                    with A. Smith, Ducera, A&M teams re sale
                                                    sale matters (.7); correspond with A. Smith, P.
                                                    Keane re stalking horse order (.2).
09/20/23 Keyan Norman                          0.50 Review rolling stock asset purchase
                                                    agreement.
09/20/23 Veena Raghuraman                      0.50 Prepare administrative documents re HSR
                                                    filing.
09/20/23 Veena Raghuraman                      0.50 Review administrative documents re HSR
                                                    filing.
09/20/23 Allyson B. Smith                      2.90 Telephone conference with S. Toth, K&E,
                                                    Ducera, A&M re sale process (.8); telephone
                                                    conference with Company, W. Fogelberg,
                                                    K&E team re leased equipment sales (.6);
                                                    correspond with bidder, Akin re stalking
                                                    horse asset purchase agreement (1.5).
09/20/23 Paul D. Tanaka, P.C.                  1.30 Correspond with S. Toth, K&E team and
                                                    A&M re bulk fuel matters (.6); review and
                                                    analyze research re permitting obligations
                                                    (.7).
09/20/23 Paul D. Tanaka, P.C.                  1.30 Research due diligence process re bidding
                                                    process (.9); correspond with S. Toth, K&E
                                                    team re same (.4).


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Yellow Corporation                                               Matter Number:           23631-58
Use, Sale, and Disposition of Property

Date     Name                                 Hours Description
09/20/23 Spencer Topham                        0.80 Review, analyze asset purchase transaction
                                                    materials.
09/20/23 Steve Toth                            1.00 Correspond with A. Smith, Ducera, A&M and
                                                    K&E teams re sale process (.6); review and
                                                    revise bidder asset purchase agreement (.2);
                                                    review, analyze auction asset purchase
                                                    agreement (.2).
09/20/23 Ali Mohammad Zarrabi                  1.60 Review, analyze critical tasks re sale process
                                                    (1.4); correspond with B. King, K&E team re
                                                    same (.2).
09/21/23 Ian Hesterly                          0.10 Review, analyze confidentiality agreements.
09/21/23 Trent William Huskey                  0.30 Correspond with bidder re bidding procedures
                                                    issue.
09/21/23 Brandon King                          3.10 Review and revise rolling stock purchase
                                                    agreement (2.2); review and revise
                                                    confidentiality agreements (.9).
09/21/23 Aaron Metviner                        2.00 Correspond with certain bidder counsel re
                                                    asset purchase agreement schedules (.2);
                                                    correspond with S. Toth, D. Daines, A. Smith
                                                    re same (.2); review, analyze same (.3);
                                                    review, analyze entered stalking horse order
                                                    (.2); correspond with A. Smith re sale
                                                    hearings, timeline (.2); review, analyze issues
                                                    re same (.2); telephone conference with A.
                                                    Smith, K&E team re sale and related issues
                                                    (.5); review, analyze sale process matters and
                                                    strategy (.2).
09/21/23 Veena Raghuraman                      1.00 Prepare administrative documents re HSR
                                                    filing.
09/21/23 Rebekah Tobison Scherr                0.50 Prepare HSR filing.
09/21/23 Allyson B. Smith                      1.10 Correspond with C. Kaldenberg re sale status
                                                    (.3); correspond with PSZJ re stalking horse
                                                    approval order (.2); conference with C.
                                                    Kaldenberg, S. Toth, K&E team re rolling
                                                    stock sale process, leased equipment, strategy
                                                    (.6).
09/21/23 Paul D. Tanaka, P.C.                  0.80 Review and analyze due diligence questions
                                                    re sale process (.4); correspond with S. Toth,
                                                    K&E team re same (.4).
09/21/23 Paul D. Tanaka, P.C.                  0.50 Review and analyze research re bulk fuel
                                                    matters (.3); correspond with S. Toth, K&E
                                                    team re same (.2).



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Use, Sale, and Disposition of Property

Date     Name                                 Hours Description
09/21/23 Steve Toth                            0.50 Review, comment on rolling stock asset
                                                    purchase agreement (.3); correspond with P.
                                                    Tanaka re environmental matters (.2).
09/21/23 Ali Mohammad Zarrabi                  0.60 Correspond with party re confidentiality
                                                    agreements.
09/22/23 Stephanie Greco                       0.20 Correspond with R. Scherr re HSR filing.
09/22/23 Ian Hesterly                          1.10 Review and revise confidentiality agreements.
09/22/23 Brandon King                          1.70 Review, analyze correspondence re rolling
                                                    stock asset purchase agreement (.5); review,
                                                    analyze confidentiality agreements (1.2).
09/22/23 Aaron Metviner                        0.30 Correspond with S. Toth, T. Huskey re
                                                    bidding issue (.2); correspond with R.
                                                    Jacobson re rolling stock sale issue (.1).
09/22/23 Veena Raghuraman                      3.00 Conference with R. Scherr and Whiteford re
                                                    HSR filing (.9); prepare HSR filing (2.1).
09/22/23 Rebekah Tobison Scherr                1.80 Prepare HSR filing.
09/23/23 Ian Hesterly                          0.10 Review, analyze confidentiality agreement.
09/23/23 Aaron Metviner                        0.50 Review and analyze Ducera rolling stock
                                                    materials (.4); correspond with C. Kaldenberg
                                                    re same (.1).
09/23/23 Steve Toth                            0.30 Review, analyze draft presentation re rolling
                                                    stock process.
09/24/23 Patrick J. Nash Jr., P.C.             0.70 Telephone conference with C. Kaldenberg re
                                                    rolling stock sale process (.3); review Ducera
                                                    deck re rolling stock bids (.4).
09/25/23 James Dolphin III                     0.50 Correspond with J. Cornejo, K&E team re
                                                    permitting matters.
09/25/23 Michael P. Esser                      1.00 Conference with A. Metviner, K&E team re
                                                    rolling stock issues (.3); prepare for same (.2);
                                                    correspond with C. Kaldenberg re same (.2);
                                                    correspond with O. O’Callaghan re same (.3).
09/25/23 Samuel Sean Hamner                    0.90 Review, analyze asset purchase agreement
                                                    asset allocation provisions.
09/25/23 Christopher S.C. Heasley, P.C.        0.50 Analyze materials re bulk fuel matters.
09/25/23 Brandon King                          1.50 Review, analyze materials re asset purchase
                                                    agreement (.7); review, revise confidentiality
                                                    agreements (.8).




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Use, Sale, and Disposition of Property

Date     Name                                 Hours Description
09/25/23 Aaron Metviner                        2.60 Review, revise sale process presentation (.5);
                                                    review, analyze liquidator proposal (.4);
                                                    research, analyze precedent re same (.6);
                                                    telephone conference with J. Cremeans re
                                                    same (.2); telephone conference with C.
                                                    Kaldenberg re same (.2); telephone
                                                    conference with A. Smith re same (.2);
                                                    telephone conference with A. Smith, Ducera,
                                                    A&M re sale process and related issues and
                                                    strategy (.5).
09/25/23 Patrick J. Nash Jr., P.C.             1.10 Review Ducera revised deck re rolling stock
                                                    bids (.5); telephone conference with C.
                                                    Kaldenberg, J. Cremeans and B. Whittman re
                                                    rolling stock bids (.6).
09/25/23 Rebekah Tobison Scherr                0.10 Correspond with S. Greco, K&E team re HSR
                                                    filing.
09/25/23 Allyson B. Smith                      4.30 Conference with A. Metviner, K&E team,
                                                    A&M, Ducera re rolling stock sale process,
                                                    strategy, next steps (1.2); evaluate operational
                                                    issues re Company assets in connection with
                                                    sale process (2.0); coordinate leased
                                                    equipment return (1.1).
09/25/23 Steve Toth                            0.70 Analyze correspondence re fuel and other
                                                    asset sales (.2); discuss rolling stock sale
                                                    matters with Ducera, A&M, A. Smith, K&E
                                                    team (.5).
09/26/23 Christopher S.C. Heasley, P.C.        0.80 Review materials re bulk fuel sale matters.
09/26/23 Ian Hesterly                          0.50 Review and revise confidentiality agreements.
09/26/23 Brandon King                          1.40 Review, revise confidentiality agreements.
09/26/23 Aaron Metviner                        1.00 Review, analyze bidding issue and related
                                                    documentation (.4); review, analyze rolling
                                                    stock sale materials (.2); correspond with A.
                                                    Smith re same (.1); correspond with J.
                                                    Cremeans re same (.1); review, analyze lease
                                                    assignment issue, related correspondence (.2).
09/26/23 Patrick J. Nash Jr., P.C.             0.30 Telephone conference with E. Kaup re rolling
                                                    stock bid.
09/26/23 Patrick J. Nash Jr., P.C.             0.40 Review proposal to assist in real estate
                                                    disposition.
09/26/23 Veena Raghuraman                      1.00 Prepare administrative documents re HSR
                                                    filing.
09/26/23 Rebekah Tobison Scherr                2.30 Prepare HSR filing.



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Date     Name                                 Hours Description
09/26/23 Allyson B. Smith                      3.80 Telephone conferences with A. Metviner,
                                                    K&E team, advisors re rolling stock process,
                                                    strategy, next steps (1.2); evaluate operational
                                                    issues re Company assets in connection with
                                                    sale process (1.7); coordinate leased
                                                    equipment return (.9).
09/26/23 Paul D. Tanaka, P.C.                  0.90 Review and analyze documents re bulk fuel
                                                    sale matters (.7); correspond with S. Toth,
                                                    K&E team re same (.2).
09/27/23 Whitney Fogelberg                     2.10 Telephone conference A. Smith and Ducera
                                                    team re asset sale issues (.5); telephone
                                                    conference with A. Smith and Akin re same
                                                    (.7); correspond with A. Smith and Ducera re
                                                    same (.9).
09/27/23 Jack Frisbie                          0.70 Conference with J. Black re auction process
                                                    (.6); conference with R. Jacobson re auction
                                                    process (.1).
09/27/23 Brandon King                          0.50 Review and revise confidentiality agreements.
09/27/23 Aaron Metviner                        1.30 Correspond with Ducera re rolling stock sale
                                                    issues (.7); correspond with M. Lahaie re
                                                    same (.1); correspond with A. Smith re same
                                                    (.2); telephone conference with Akin re
                                                    rolling stock and related sale issues (.3).
09/27/23 Veena Raghuraman                      2.00 Prepare administrative documents re HSR
                                                    filing.
09/27/23 Rebekah Tobison Scherr                1.90 Prepare HSR filing.
09/27/23 Allyson B. Smith                      4.70 Telephone conferences with A&M, A.
                                                    Metviner, K&E team re rolling stock process,
                                                    strategy (2.1); evaluate operational issues re
                                                    Company assets (1.4); coordinate leased
                                                    equipment return (1.2).
09/27/23 Paul D. Tanaka, P.C.                  0.60 Review, analyze documents re bulk fuel sales
                                                    (.4); correspond with S. Toth, K&E team re
                                                    same (.2).
09/27/23 Steve Toth                            0.80 Telephone conference with A&M, A. Smith,
                                                    K&E team re sale process (.4); correspond
                                                    with Akin, A. Smith, K&E team re rolling
                                                    stock sale matters (.2); correspond with
                                                    Ducera, A. Smith, K&E team re same (.2).
09/28/23 Jacob E. Black                        0.10 Correspond with R. Jacobson, O. Acuna re
                                                    asset sale matters.
09/28/23 John G. Caruso                        0.50 Telephone conference with title company re
                                                    title policies.

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Date     Name                                 Hours Description
09/28/23 Jack Frisbie                          1.50 Analyze, evaluate bidding procedure
                                                    pleadings.
09/28/23 Stephanie Greco                       0.80 Review HSR documents.
09/28/23 Ian Hesterly                          0.50 Prepare executed confidentiality agreement.
09/28/23 Brandon King                          0.30 Review, revise confidentiality agreements
                                                    (.2); review materials re HSR filing (.1).
09/28/23 Aaron Metviner                        3.70 Prepare for telephone conference with Akin re
                                                    sale issues and strategy (.1); telephone
                                                    conference with Akin re s same (.4);
                                                    correspond with A. Smith re liquidator
                                                    agreement and strategy (.3); research, analyze
                                                    precedent re same (2.0); prepare for
                                                    conference with A. Smith, K&E team re sale
                                                    and related case issues (.1); conference with
                                                    A. Smith, K&E team re same (.6); correspond
                                                    with Ducera re sale issues (.2).
09/28/23 Patrick J. Nash Jr., P.C.             0.20 Telephone conference with S. Charles re sale
                                                    process.
09/28/23 Veena Raghuraman                      3.00 Prepare administrative documents re HSR
                                                    filing.
09/28/23 Rebekah Tobison Scherr                2.20 Prepare HSR filing.
09/28/23 Paul D. Tanaka, P.C.                  0.40 Correspond with S. Toth, K&E team, A&M
                                                    re asset sales (.3); review, analyze materials re
                                                    same (.1).
09/29/23 Jack Frisbie                          1.70 Analyze, evaluate bidding procedure
                                                    pleadings.
09/29/23 Brandon King                          0.30 Review and revise confidentiality agreements.
09/29/23 Aaron Metviner                        0.70 Review, analyze sale report (.3); review,
                                                    analyze disbursements report (.1); review,
                                                    analyze lease issue (.2); review, analyze
                                                    correspondence re same (.1).
09/29/23 Veena Raghuraman                      3.50 Prepare administrative documents re HSR
                                                    filing.
09/29/23 Rebekah Tobison Scherr                4.10 Prepare HSR filing (2.0); correspond with
                                                    Company, B. King, K&E team re HSR filing
                                                    status (2.1).

Total                                         696.10




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173385
                                                                                           Client Matter: 23631-59

In the Matter of Corp., Governance, & Securities Matters



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 64,923.50
Total legal services rendered                                                                                                    $ 64,923.50




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Corp., Governance, & Securities Matters




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Noah Allen                                                    27.70    1,375.00         38,087.50
Sara Lampert                                                   4.90    1,245.00          6,100.50
Patrick J. Nash Jr., P.C.                                      1.60    2,045.00          3,272.00
Selin Ozaltun                                                  4.90      885.00          4,336.50
Matt Pacey, P.C.                                               5.30    2,045.00         10,838.50
Ben Sharp                                                      2.30      995.00          2,288.50

TOTALS                                                        46.70                   $ 64,923.50




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                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Noah Allen                            1.00 Research re deregistration (.6); correspond
                                                    with various parties re same (.2); review and
                                                    analyze other delisting questions from Yellow
                                                    team (.2).
09/01/23 Matt Pacey, P.C.                      1.00 Coordinate delisting and disclosure matters.
09/05/23 Noah Allen                            1.30 Correspond with Company advisors re
                                                    Nasdaq press release and questions from
                                                    Yellow team re delisting and deregistration
                                                    (.6); correspond with M. Pacey and K&E
                                                    team re governance matters and director
                                                    appointments (.7).
09/06/23 Noah Allen                            0.50 Correspond with B. Sharp re deregistration
                                                    requirements and timeline for Yellow.
09/06/23 Sara Lampert                          0.20 Telephone conference with R. Jacobson and
                                                    K&E team re auditor obligations.
09/06/23 Patrick J. Nash Jr., P.C.             0.30 Review, revise board conference minutes.
09/06/23 Ben Sharp                             0.30 Research SEC reporting requirements re 10-K
                                                    (.2); draft and review correspondence (.1).
09/07/23 Noah Allen                            2.50 Telephone conference with Company re
                                                     deregistration issues and questions from
                                                    Company team (.8); prepare for telephone
                                                    conference (.2); review, revise form 8-K for
                                                    MFN director appointees and related
                                                    correspondence (1.5)
09/07/23 Sara Lampert                          2.20 Draft and revise 8-K.
09/07/23 Matt Pacey, P.C.                      1.30 Conference with Company re corporate,
                                                    governance, securities matters (.8); coordinate
                                                    with N. Allen re reporting matters (.5).
09/07/23 Ben Sharp                             0.30 Review and analyze prior press releases re
                                                    director announcements (.1); conference with
                                                    N. Allen re same (.1); draft and review
                                                    correspondence re same (.1).
09/08/23 Noah Allen                            1.80 Correspondence re form 8-K for director
                                                    appointments (.9); review, analyze questions
                                                    from Company team re 8-K filings and Form
                                                    25/deregistration (.9).
09/11/23 Noah Allen                            1.00 Research re securities trading policy (.5);
                                                    correspond with C. Lee, K&E team re same
                                                    (.1); correspond with E. Steinfeld, K&E team
                                                    re 8-K filing for director appointments (.4).

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Date     Name                                 Hours Description
09/11/23 Sara Lampert                          1.00 Review and analyze 8-K filing matters.
09/11/23 Selin Ozaltun                         0.80 Draft, revise Form 15.
09/12/23 Noah Allen                            2.00 Correspond with T. Hursh re insider trading
                                                    policy and related amendments.
09/12/23 Selin Ozaltun                         0.30 Revise and coordinate Form 15.
09/12/23 Matt Pacey, P.C.                      1.00 Coordinate reporting matters.
09/12/23 Ben Sharp                             0.30 Review and revise Form 15 (.2); draft and
                                                    review correspondence (.1).
09/13/23 Noah Allen                            2.00 Correspond with T. Hursh re insider trading
                                                    policy and related amendments (.6); draft
                                                    board points for memo re delisting
                                                    requirements and deregistration from SEC
                                                    filing obligations (1.0); review, revise Form
                                                    15 draft (.4)
09/13/23 Selin Ozaltun                         0.20 Coordinate Form 15 review.
09/13/23 Matt Pacey, P.C.                      0.50 Correspond with S. Ozaltun re delisting.
09/14/23 Noah Allen                            2.50 Review, revise correspondence from S.
                                                    Ozaltun re deregistration process with SEC
                                                    and related requirements for ongoing filing
                                                    obligations.
09/15/23 Noah Allen                            2.00 Telephone conference with Kasowitz re
                                                    shareholder litigation matters in connection
                                                    with corporate governance documents and
                                                    relevant updates (.5); correspond with
                                                    Company advisors re same (.3); review,
                                                    analyze board memorandum re deregistration
                                                    process with SEC and related requirements
                                                    for ongoing filing obligations (1.2).
09/15/23 Matt Pacey, P.C.                      0.50 Revise correspondence from S. Ozaltun re
                                                    delisting.
09/17/23 Noah Allen                            2.00 Correspond with Company advisors re
                                                    delisting requirements and related
                                                    correspondence to the board.
09/18/23 Noah Allen                            1.50 Correspond with Company re delisting
                                                    requirements and correspondence to board
                                                    (.3); review, analyze 8-K filing for final
                                                    approval of DIP (1.2).
09/19/23 Noah Allen                            2.00 Review, analyze correspondence for the board
                                                    re deregistration rights and obligations (1.0);
                                                    correspond with T. Hursh re same (.3);
                                                    review, analyze Form 8-K re final order
                                                    approving DIP facility (.7).


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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173385
Yellow Corporation                                               Matter Number:          23631-59
Corp., Governance, & Securities Matters

Date     Name                                 Hours Description
09/19/23 Patrick J. Nash Jr., P.C.             0.60 Review, analyze certain corporate governance
                                                    matters.
09/19/23 Selin Ozaltun                         0.50 Review, analyze Form 15 matters.
09/19/23 Matt Pacey, P.C.                      0.50 Conference with Company advisors re
                                                    corporate, governance, securities matters.
09/20/23 Sara Lampert                          1.00 Draft and revise 8-K.
09/20/23 Selin Ozaltun                         0.90 Analyze, revise and coordinate 8-K matters
                                                    (.7); correspond with B. Sharp and K&E team
                                                    re same (.2).
09/20/23 Matt Pacey, P.C.                      0.50 Coordinate with N. Allen re disclosure
                                                    matters.
09/20/23 Ben Sharp                             0.60 Draft 8-K re final DIP order (.5); draft and
                                                    review correspondence with S. Ozaltun and
                                                    K&E team (.1).
09/21/23 Noah Allen                            1.50 Review and revise Form 8-K re final order
                                                    from court approving DIP credit agreement
                                                    and prepetition credit facility amendment
                                                    (1.3); correspond with M. Pacey re same (.2).
09/21/23 Sara Lampert                          0.50 Review, analyze 8-K filing.
09/21/23 Patrick J. Nash Jr., P.C.             0.70 Participate in board conference.
09/21/23 Ben Sharp                             0.80 Review and analyze 8-K and Form 15 filings
                                                    (.7); correspond with S. Ozaltun and K&E
                                                    team (.1).
09/22/23 Noah Allen                            0.50 Correspond with S. Frontczak re Form 15
                                                    filing and post-filing obligations.
09/25/23 Noah Allen                            1.00 Correspond with S. Frontczak re 10-Q and
                                                    liquidation accounting method (.3); research,
                                                    analyze precedent re same (.7).
09/26/23 Noah Allen                            0.80 Correspond with S. Frontczak re 10-Q and
                                                    liquidation accounting method (.3); research,
                                                    analyze precedent re same (.5).
09/26/23 Selin Ozaltun                         1.30 Research, analyze 10-Q considerations.
09/27/23 Noah Allen                            1.00 Review, analyze precedent Form 10-Qs
                                                    re liquidation accounting methods (.7);
                                                    correspond with S. Frontczak re same (.3).
09/27/23 Selin Ozaltun                         0.90 Review, analyze 10-Q considerations (.7);
                                                    correspond with N. Allen, K&E team re same
                                                    (.1); correspond with Company re same (.1).




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Yellow Corporation                                                Matter Number:          23631-59
Corp., Governance, & Securities Matters

Date     Name                                 Hours Description
09/28/23 Noah Allen                            0.80 Correspond with W. Fogelberg re current
                                                    equity issued and outstanding at Company.

Total                                          46.70




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173384
                                                                                           Client Matter: 23631-60

In the Matter of Employee Matters



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                         $ 676,625.00
Total legal services rendered                                                                                                   $ 676,625.00




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Yellow Corporation                                               Matter Number:          23631-60
Employee Matters




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Olivia Acuna                                                  13.80    1,155.00         15,939.00
Jack M. Amaro                                                  4.40    1,245.00          5,478.00
Wes Benter                                                     7.30    1,295.00          9,453.50
Jack N. Bernstein                                             70.90    1,585.00        112,376.50
Jacob E. Black                                                 5.30      995.00          5,273.50
Lauren Collins                                                 4.10    1,155.00          4,735.50
Shane Cooper                                                  13.60      885.00         12,036.00
Michael P. Esser                                              34.40    1,475.00         50,740.00
Whitney Fogelberg                                             33.80    1,425.00         48,165.00
Kaitlyn Hodgman                                                3.80      885.00          3,363.00
Richard U. S. Howell, P.C.                                     2.90    1,620.00          4,698.00
Olivia Claire Hunter                                           3.50      885.00          3,097.50
Trent William Huskey                                          54.60      995.00         54,327.00
Rob Jacobson                                                   1.00    1,245.00          1,245.00
R.D. Kohut                                                     5.20    1,795.00          9,334.00
Nishtha Manish Kulkarni                                        1.50      735.00          1,102.50
Abigail Lane                                                   3.60    1,495.00          5,382.00
Catherine Lee                                                  0.20    1,155.00            231.00
Conor P. McNamara                                             62.40    1,295.00         80,808.00
Allison McQueeney                                              2.50    1,245.00          3,112.50
Colin R. Monaghan                                              2.20      985.00          2,167.00
Patrick J. Nash Jr., P.C.                                      8.80    2,045.00         17,996.00
Orla O'Callaghan                                              10.00    1,215.00         12,150.00
Lola Ojeniyi                                                   3.20    1,080.00          3,456.00
Evangelia Podaras                                              3.60    1,405.00          5,058.00
Scott D. Price, P.C.                                           2.90    2,045.00          5,930.50
Karra A. Puccia                                               18.60      885.00         16,461.00
Roy Michael Roman                                              0.80      885.00            708.00
Maayan Sachs                                                   8.20      885.00          7,257.00
David R. Seligman, P.C.                                       34.90    2,045.00         71,370.50
Michael B. Slade                                              36.70    1,855.00         68,078.50
Allyson B. Smith                                              10.70    1,375.00         14,712.50


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Yellow Corporation                                               Matter Number:           23631-60
Employee Matters

Name                                                         Hours           Rate         Amount
Eric Steinfeld                                                21.70        735.00        15,949.50
Matthew Calloway Walker                                        6.20        715.00         4,433.00

TOTALS                                                       497.30                   $ 676,625.00




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Yellow Corporation                                               Matter Number:           23631-60
Employee Matters


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Olivia Acuna                          1.10 Telephone conference with M. Slade, K&E
                                                    team, Company, A&M team re employment
                                                    considerations (.7); telephone conference with
                                                    M. Slade, K&E team re same (.4).
09/01/23 Wes Benter                            1.00 Review, analyze WARN Act considerations
                                                    (.6); draft summary re same (.4).
09/01/23 Jack N. Bernstein                     4.00 Review and analyze multiemployer pension
                                                    issues (2.0); analyze related employee issues
                                                    (1.0); analyze ERISA issues (1.0).
09/01/23 Jacob E. Black                        0.40 Analyze, revise third interim wages order (.3);
                                                    correspond with R. Jacobson and K&E team
                                                    re same (.1).
09/01/23 Lauren Collins                        1.00 Review, revise wages final order.
09/01/23 Michael P. Esser                      4.50 Conference with S. Faust re grievance
                                                    summary review (1.0); prepare for same (.5);
                                                    conference with W. Fogelberg re employment
                                                    and labor related issues (.3); prepare for same
                                                    (.2); review and analyze collective bargaining
                                                    agreements, summary re same (1.5); outline
                                                    proposal re same (.5); research re protective
                                                    order re union access to bidder data room (.5).
09/01/23 Whitney Fogelberg                     0.80 Telephone conferences and correspond with
                                                    A&M team and Akin team re third interim
                                                    wages order (.3); review and analyze issues re
                                                    same (.5).
09/01/23 Whitney Fogelberg                     1.50 Telephone conference with S. Faust,
                                                    Company and K&E team re IBT grievance
                                                    hearings (1.1); telephone conference with M.
                                                    Slade and K&E team re litigation matters (.4).
09/01/23 Richard U. S. Howell, P.C.            0.60 Telephone conferences with K. Puccia and
                                                    K&E team re open litigation issues and
                                                    employee issues (.4); review and analyze
                                                    correspondence re same (.2).
09/01/23 R.D. Kohut                            0.50 Review and analyze labor issues.
09/01/23 Conor P. McNamara                     0.50 Review, analyze employee wages issues.




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Yellow Corporation                                               Matter Number:            23631-60
Employee Matters

Date     Name                                 Hours Description
09/01/23 Conor P. McNamara                     3.50 Review, revise motion re labor, employee
                                                    matters (1.0); conference and correspond with
                                                    W. Fogelberg, M. Esser re same (.5);
                                                    conference and correspond with W.
                                                    Fogelberg, K&E team re collective bargaining
                                                    considerations (1.0); telephone conference
                                                    with M. Slade, A&M team, Company re
                                                    union grievances (1.0).
09/01/23 Colin R. Monaghan                     1.70 Review and analyze collective bargaining
                                                    agreement issues, related documents.
09/01/23 Orla O'Callaghan                      1.20 Conference with S. Faust, Company and K&E
                                                    team re grievances (.7); conference with C.
                                                    Monaghan and K&E team re employment,
                                                    labor issues (.3); prepare for K&E team call re
                                                    collective bargaining considerations (.2).
09/01/23 Karra A. Puccia                       0.50 Telephone conference with W. Fogelberg,
                                                    K&E team re employment and labor related
                                                    issues.
09/01/23 David R. Seligman, P.C.               1.50 Telephone conference with C. McNamara and
                                                    K&E team re grievance status and summaries
                                                    and collective bargaining agreement issues.
09/01/23 Michael B. Slade                      1.70 Telephone conference with A. Smith, K&E
                                                    team, Company and Proskauer team re
                                                    grievances (.7); review and analyze
                                                    spreadsheet re same (.1); telephone
                                                    conference with C. McNamara, K&E team re
                                                    equity committee request (.5); telephone
                                                    conference with C. McNamara and K&E team
                                                    re labor issues and correspond re same (.4).
09/01/23 Allyson B. Smith                      1.60 Conference with Company, M. Slade, K&E
                                                    team, Proskauer team re union grievances and
                                                    strategy (1.2); telephone conference with D.
                                                    Seligman, K&E team re same, related
                                                    considerations (.4).
09/02/23 Conor P. McNamara                     2.00 Review, revise wages order (1.5); correspond
                                                    with W. Fogelberg and K&E team re same
                                                    (.5).
09/02/23 Patrick J. Nash Jr., P.C.             0.50 Review correspondence from M. Leto re
                                                    status of workman's compensation insurance
                                                    in various states (.2); consider options re same
                                                    (.3).
09/02/23 Evangelia Podaras                     0.10 Correspond with Company re WARN
                                                    considerations.


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Yellow Corporation                                               Matter Number:             23631-60
Employee Matters

Date     Name                                 Hours Description
09/03/23 Patrick J. Nash Jr., P.C.             0.50 Telephone conference with A&M team re
                                                    workman's compensation insurance and next
                                                    steps.
09/04/23 Whitney Fogelberg                     0.50 Telephone conference with M. Slade and
                                                    K&E team re collective bargaining issues.
09/05/23 Olivia Acuna                          1.40 Research re employee considerations (1.0);
                                                    telephone conference with K. Puccia re same
                                                    (.2); correspond with C. McNamara re same
                                                    (.2).
09/05/23 Jack N. Bernstein                     4.00 Review and analyze multiemployer pension
                                                    issues (1.0); analyze pension and related
                                                    employee issues (2.0); prepare comments to
                                                    draft ERISA summaries (1.0).
09/05/23 Jacob E. Black                        0.40 Analyze, revise interim, final orders re critical
                                                    vendors (.3); correspond with R. Jacobson
                                                    and K&E team re same (.1).
09/05/23 Michael P. Esser                      0.50 Review and analyze data room index re
                                                    collective bargaining agreements.
09/05/23 Whitney Fogelberg                     1.30 Telephone conferences and correspond with
                                                    A&M team and Akin team re final wages
                                                    order (.8); review and analyze issues re same
                                                    (.5).
09/05/23 Whitney Fogelberg                     1.60 Telephone conferences with Company and
                                                    WTW re pension plan issues (.4); review and
                                                    analyze issues re same (1.2).
09/05/23 R.D. Kohut                            0.10 Review and analyze labor issues.
09/05/23 Conor P. McNamara                     1.80 Telephone conference and correspond with D.
                                                    Seligman and K&E team re employee wage
                                                    issues.
09/05/23 Conor P. McNamara                     1.80 Conference and correspond with W.
                                                    Fogelberg, K&E team re collective bargaining
                                                    considerations.
09/05/23 Patrick J. Nash Jr., P.C.             0.90 Review issues re workers comp insurance
                                                    (.4); review collective bargaining issues (.5).
09/05/23 David R. Seligman, P.C.               1.30 Correspond and telephone conferences with
                                                    C. McNamara, K&E team and Company re
                                                    labor issues.




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Employee Matters

Date     Name                                 Hours Description
09/05/23 Michael B. Slade                      2.60 Telephone conference with A&M team re
                                                    labor issue updates (.3); telephone conference
                                                    with Company re stay considerations
                                                    (.4); telephone conference with UCC re
                                                    WARN considerations and follow up re same
                                                    (.4); review and edit stay motion (1.1); review
                                                    and edit answer (.4).
09/05/23 Allyson B. Smith                      0.70 Telephone conference with Goodmans re
                                                    wages considerations.
09/06/23 Olivia Acuna                          2.00 Telephone conference with J. Bernstein re
                                                    employment considerations (.2); research re
                                                    same (1.6); correspond with K. Puccia re
                                                    same (.2).
09/06/23 Jack N. Bernstein                     5.00 Analyze pension and related employee issues
                                                    (3.0); review and analyze collective
                                                    bargaining agreements (1.0); analyze ERISA
                                                    issues (1.0).
09/06/23 Abigail Lane                          2.30 Analyze severance considerations.
09/06/23 Conor P. McNamara                     0.30 Correspond with L. Collins, J. Black re
                                                    independent contractor payment issues.
09/06/23 Conor P. McNamara                     2.30 Conference and correspond with W.
                                                    Fogelberg, M. Slade, K&E team re collective
                                                    bargaining considerations (.8); review,
                                                    analyze CBAs re same (1.5).
09/06/23 Allison McQueeney                     2.50 Review and analyze severance considerations.
09/06/23 Patrick J. Nash Jr., P.C.             0.30 Review, analyze Company draft response to
                                                    WARN litigation in preparation for filing.
09/06/23 Orla O'Callaghan                      1.30 Review and analyze collective bargaining
                                                    agreement summaries.
09/06/23 Scott D. Price, P.C.                  1.30 Review and analyze summary re severance
                                                    matters (.6); conference with D. Seligman,
                                                    K&E team re labor and benefits issues (.7).
09/06/23 Karra A. Puccia                       0.80 Revise summary re labor and benefits issues.
09/06/23 David R. Seligman, P.C.               1.10 Analyze labor and benefits issues (.4);
                                                    conference with S. Price and K&E team re
                                                    same (.7).
09/06/23 Michael B. Slade                      0.90 Review and edit WARN stay motion and
                                                    review cases.
09/06/23 Allyson B. Smith                      0.60 Telephone conference with C. McNamara,
                                                    K&E team, A&M team and Ducera re wages
                                                    considerations.



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Yellow Corporation                                               Matter Number:          23631-60
Employee Matters

Date     Name                                 Hours Description
09/07/23 Jack N. Bernstein                     4.00 Review and analyze multiemployer pension
                                                    issues (3.0); analyze pension and related
                                                    employee issues (1.0).
09/07/23 Michael P. Esser                      2.70 Prepare for conference with C. Descours re
                                                    Canada employee matters (.3); conference
                                                    with same re same (.3); prepare for
                                                    conference with W. Fogelberg re collective
                                                    bargaining considerations (.2); conference
                                                    with same re same (.4); review and revise
                                                    draft document re same (1.0); correspond with
                                                    O. O’Callaghan re labor negotiation strategy
                                                    (.5).
09/07/23 Whitney Fogelberg                     1.10 Telephone conference with M. Slade and
                                                    K&E team re collective bargaining issues (.4);
                                                    review and analyze issues re same (.7).
09/07/23 R.D. Kohut                            0.50 Review and analyze labor issues.
09/07/23 Abigail Lane                          1.30 Evaluate severance issues.
09/07/23 Conor P. McNamara                     1.00 Telephone conference with L. Trevino-Legler
                                                    re employee issues (.5); correspond with W.
                                                    Fogelberg re PTO and severance issues (.5).
09/07/23 Conor P. McNamara                     4.00 Conference with W. Fogelberg, K&E team re
                                                    collective bargaining considerations (1.1);
                                                    correspond with W. Fogelberg re same (.4);
                                                    review, revise documents re same (2.5).
09/07/23 Colin R. Monaghan                     0.50 Telephone conference with M. Slade, W.
                                                    Fogelberg and K&E team re strategy,
                                                    collective bargaining considerations and next
                                                    steps.
09/07/23 Orla O'Callaghan                      0.50 Conference with W. Fogelberg, K&E team re
                                                    collective bargaining considerations (.4);
                                                    correspond with M. Esser re same (.1).
09/07/23 David R. Seligman, P.C.               0.40 Analyze and perform diligence re labor and
                                                    benefits issues (.3); correspond with C.
                                                    McNamara and K&E team re same (.1).
09/07/23 David R. Seligman, P.C.               1.60 Telephone conference with W. Fogelberg,
                                                    K&E team re collective bargaining
                                                    considerations (1.2); correspond with W.
                                                    Fogelberg, K&E team re same (.4).




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Yellow Corporation                                               Matter Number:          23631-60
Employee Matters

Date     Name                                 Hours Description
09/07/23 Michael B. Slade                      1.90 Telephone conference re labor issues with C.
                                                    McNamara and K&E team (.4); edit equity
                                                    letter (.6); correspond and telephone
                                                    conferences with C. McNamara, K&E team re
                                                    WARN complaints (.2); review, revise
                                                    documents re same (.7).
09/07/23 Allyson B. Smith                      0.70 Telephone conference with Goodmans re
                                                    Canadian labor issues.
09/08/23 Olivia Acuna                          0.50 Participate in grievance hearing update.
09/08/23 Wes Benter                            0.70 Conference with M. Slade and K&E team re
                                                    labor and employment issues.
09/08/23 Jack N. Bernstein                     4.90 Review and analyze multiemployer pension
                                                    issues (2.0); prepare comments to draft
                                                    ERISA summaries (.9); analyze ERISA issues
                                                    (2.0).
09/08/23 Michael P. Esser                      1.60 Conference with L. Briney re grievance
                                                    hearing update (.5); prepare for same (.6);
                                                    conference with W. Fogelberg re employment
                                                    and labor related issues (.5).
09/08/23 Whitney Fogelberg                     1.60 Telephone conferences and correspond with
                                                    A&M team and Akin team re final wages
                                                    order (1.1); review and analyze issues re same
                                                    (.5).
09/08/23 Whitney Fogelberg                     1.80 Telephone conference with S. Faust,
                                                    Company, M. Esser, K&E team re grievance
                                                    hearing update (.5); telephone conference
                                                    with M. Slade and K&E team re WARN
                                                    actions, collective bargaining considerations
                                                    (.4); review and analyze issues re same (.9).
09/08/23 R.D. Kohut                            0.40 Review and analyze WARN issues.
09/08/23 Conor P. McNamara                     0.30 Correspond with C. Descours re PTO and
                                                    employee issues.
09/08/23 Conor P. McNamara                     0.50 Telephone conference with L. Briney, S.
                                                    Faust, K&E team re grievance update.
09/08/23 Orla O'Callaghan                      1.00 Conference with W. Fogelberg, K&E team re
                                                    grievance proceedings (.5); conference with
                                                    same re labor issues (.5).
09/08/23 Scott D. Price, P.C.                  0.80 Conference with advisors re labor and
                                                    benefits issues.
09/08/23 David R. Seligman, P.C.               2.10 Telephone conferences and correspond with
                                                    C. McNamara and K&E team re CBA
                                                    compliance issues and labor matters.


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Yellow Corporation                                               Matter Number:           23631-60
Employee Matters

Date     Name                                 Hours Description
09/08/23 Michael B. Slade                      2.90 Telephone conference with O. Acuna and
                                                    K&E team re grievance issues and review
                                                    spreadsheets re same (.9); telephone
                                                    conference with C. McNamara and K&E team
                                                    re labor issues (.7); review materials re same
                                                    (.7); conference with advisors re same (.6).
09/09/23 Michael B. Slade                      0.30 Correspond with W. Benter and K&E team re
                                                    WARN considerations (.1); review
                                                    correspondence re same (.2).
09/10/23 Conor P. McNamara                     3.00 Review, revise draft union proposal re labor,
                                                    employment considerations (2.8); correspond
                                                    with W. Fogelberg, M. Slade, K&E team re
                                                    same (.2).
09/10/23 David R. Seligman, P.C.               2.30 Review and revise collective bargaining
                                                    agreement materials and correspondence
                                                    (2.1); conference with C. McNamara and
                                                    K&E team re same (.2).
09/11/23 Jack N. Bernstein                     2.00 Review and analyze collective bargaining
                                                    agreements (1.0); analyze ERISA issues (1.0).
09/11/23 Michael P. Esser                      2.00 Conference with W. Fogelberg re ongoing
                                                    work streams (.5); prepare for conference
                                                    with P. Spangler re pension issues (.2);
                                                    conference with same re same (.3); review
                                                    and analyze work product re same (.5);
                                                    review and analyze data room for collective
                                                    bargaining agreement diligence (.5).
09/11/23 Whitney Fogelberg                     1.70 Telephone conferences and correspond with
                                                    Akin team re final wages order objections
                                                    (.4); review and analyze issues re same (.8);
                                                    correspond with C. McNamara and K&E
                                                    team re same (.5).
09/11/23 Whitney Fogelberg                     2.30 Telephone conference with M. Slade and
                                                    K&E team re collective bargaining issues
                                                    (1.2); review and analyze issues re same (1.1).
09/11/23 R.D. Kohut                            0.40 Review and analyze WARN issues.
09/11/23 Conor P. McNamara                     1.00 Telephone conference with C. Descours re
                                                    Canadian collective bargaining agreements
                                                    (.5); review, analyze collective bargaining
                                                    agreements (.5).
09/11/23 Patrick J. Nash Jr., P.C.             0.40 Review and draft summary re collective
                                                    bargaining considerations.
09/11/23 Orla O'Callaghan                      0.20 Conference with W. Fogelberg, K&E team re
                                                    labor, benefits issues.


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Employee Matters

Date     Name                                 Hours Description
09/11/23 Scott D. Price, P.C.                  0.80 Correspond with Company advisors re
                                                    incentive programs.
09/11/23 David R. Seligman, P.C.               3.10 Telephone conferences and correspond with
                                                    Company advisors re withdrawal liability
                                                    analysis and determination.
09/11/23 Michael B. Slade                      0.70 Correspond with O. Acuna and K&E team re
                                                    grievances (.3); correspond with W. Benter
                                                    and K&E team re employee considerations
                                                    (.4).
09/11/23 Allyson B. Smith                      1.10 Conference with C. McNamara, Goodmans re
                                                    Canadian employees (.6); conference with C.
                                                    McNamara, K&E team, Company re
                                                    compensation considerations (.5).
09/12/23 Olivia Acuna                          1.30 Research re stipulation re combined POC (.6);
                                                    correspond with J. Bernstein re same (.2);
                                                    telephone conference with with J. Bernstein re
                                                    same (.2); correspond with C. McNamara, K.
                                                    Puccia re same (.3).
09/12/23 Jack M. Amaro                         0.20 Correspond with J. Bernstein re pension
                                                    matters.
09/12/23 Lauren Collins                        0.70 Correspond with J. Black, A&M team re
                                                    wages issues.
09/12/23 Michael P. Esser                      0.70 Conference with W. Fogelberg re pension
                                                    issues (.4); prepare for same (.1); correspond
                                                    with O. O’Callaghan re same (.2).
09/12/23 Whitney Fogelberg                     1.30 Telephone conferences and correspond with
                                                    Akin team re final wages order objections
                                                    (.4); review and analyze issues re same (.4);
                                                    correspond with C. McNamara and K&E
                                                    team re same (.5).
09/12/23 R.D. Kohut                            0.10 Review and analyze WARN issues.
09/12/23 Conor P. McNamara                     2.30 Telephone conference with L. Dawson re
                                                    benefits committee (.5); telephone conference
                                                    with W. Fogelberg, K&E team re pension
                                                    plans (.5); review diligence re same (.5);
                                                    correspond with C. Descours re Canadian
                                                    employee issues (.8).
09/12/23 Conor P. McNamara                     1.30 Telephone conference with M. Slade, K&E
                                                    team re collective bargaining considerations
                                                    (.5); review, revise union proposal documents
                                                    re same (.8).
09/12/23 Patrick J. Nash Jr., P.C.             0.60 Review and analyze legal issues re pension
                                                    considerations.

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Employee Matters

Date     Name                                 Hours Description
09/12/23 Orla O'Callaghan                      0.70 Conference with M. Esser and K&E team re
                                                    pension issues (.4); review and analyze
                                                    summary re same (.3).
09/12/23 David R. Seligman, P.C.               2.10 Telephone conferences and correspond with
                                                    C. McNamara, K&E team and Company re
                                                    labor, pension and collective bargaining
                                                    agreement.
09/12/23 David R. Seligman, P.C.               1.10 Review and analyze diligence and re
                                                    withdrawal liability.
09/12/23 Michael B. Slade                      2.90 Telephone conference with A. Smith and
                                                    K&E team re pension considerations (.7);
                                                    review, analyze documents re same (.7);
                                                    analyze WARN stipulation considerations
                                                    (.6); review and prepare correspondence re
                                                    employee considerations (.9).
09/12/23 Allyson B. Smith                      1.50 Conference with Company, C. McNamara
                                                    and K&E team re benefits matters (.5);
                                                    conference with M. Slade, K&E team re
                                                    pension matters (.7); review, analyze
                                                    correspondence re same (.3).
09/13/23 Jack M. Amaro                         0.60 Research re pension matters.
09/13/23 Jack N. Bernstein                     4.00 Analyze pension and related employee issues
                                                    (2.0); review and analyze collective
                                                    bargaining agreements (1.0); analyze ERISA
                                                    issues (1.0).
09/13/23 Conor P. McNamara                     2.30 Conference and correspond with W.
                                                    Fogelberg, M. Slade, K&E team re collective
                                                    bargaining issues (1.0); analyze collective
                                                    bargaining agreements re same (.5); review,
                                                    revise termination agreement re same (.8).
09/13/23 Patrick J. Nash Jr., P.C.             0.40 Analyze issues re pension considerations.
09/13/23 David R. Seligman, P.C.               0.40 Review diligence re pension funding.
09/13/23 David R. Seligman, P.C.               1.80 Telephone conferences and correspond with
                                                    C. McNamara, K&E team and Company re
                                                    labor, pension and collective bargaining
                                                    agreement.
09/13/23 David R. Seligman, P.C.               0.50 Analyze withdrawal liability and review
                                                    diligence re same.
09/13/23 Michael B. Slade                      2.50 Review and analyze WARN litigation (.4);
                                                    review and analyze documents re insurance
                                                    issues (.6); review and edit documents re
                                                    labor proposals (1.5).



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Employee Matters

Date     Name                                 Hours Description
09/14/23 Olivia Acuna                          1.10 Telephone conference with M. Slade, K&E
                                                    team re employee considerations (.3); review,
                                                    revise summary of diligence requests (.6);
                                                    telephone conference with K. Puccia re same
                                                    (.1); correspond with C. McNamara re same
                                                    (.1).
09/14/23 Jack M. Amaro                         2.00 Review and analyze due diligence matters re
                                                    employee information.
09/14/23 Jack N. Bernstein                     4.00 Review and analyze pension issues (1.0);
                                                    analyze pension and related employee issues
                                                    (2.0); analyze ERISA issues (1.0).
09/14/23 Michael P. Esser                      1.00 Prepare for conference with W. Fogelberg re
                                                    grievance hearing update (.3); conference
                                                    with same re same (.7).
09/14/23 Whitney Fogelberg                     3.80 Telephone conference with S. Faust,
                                                    Company, O. Acuna, K&E team re grievance
                                                    hearing update (.7); telephone conference
                                                    with M. Slade and K&E team re WARN
                                                    actions and collective bargaining issues (1.0);
                                                    review and analyze issues re same (2.1).
09/14/23 Richard U. S. Howell, P.C.            0.80 Telephone conference with various parties re
                                                    pension issues.
09/14/23 Trent William Huskey                  0.60 Correspond with former employees re
                                                    workers compensation issues.
09/14/23 R.D. Kohut                            0.10 Review and analyze WARN issues.
09/14/23 Conor P. McNamara                     0.80 Review, revise union proposal documents re
                                                    collective bargaining considerations.
09/14/23 Patrick J. Nash Jr., P.C.             0.60 Review, analyze collective bargaining
                                                    agreement considerations.
09/14/23 Orla O'Callaghan                      0.60 Conference with W. Fogelberg, K&E team re
                                                    grievance hearings update (.5); correspond
                                                    with Company re access to grievance data
                                                    room (.1).
09/14/23 Karra A. Puccia                       0.50 Telephone conference with W. Fogelberg,
                                                    K&E team, Company re grievance hearings.
09/14/23 David R. Seligman, P.C.               0.50 Telephone conferences and correspond with
                                                    C. McNamara and K&E team re grievance
                                                    process.
09/14/23 David R. Seligman, P.C.               0.80 Telephone conferences and correspond with
                                                    C. McNamara, K&E team and Company re
                                                    labor, pension and collective bargaining
                                                    agreements.


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Employee Matters

Date     Name                                 Hours Description
09/14/23 Michael B. Slade                      1.20 Conference with W. Fogelberg and K&E
                                                    team re grievance update (.5); review and edit
                                                    labor correspondence (.7).
09/14/23 Allyson B. Smith                      0.90 Correspond with W. Fogelberg, K&E team re
                                                    union updates (.7); correspond with C.
                                                    McNamara re employee PTO (.2).
09/15/23 Olivia Acuna                          1.00 Telephone conference with M. Slade, K&E
                                                    team re employee considerations (.5); review,
                                                    revise summary of diligence requests (.3);
                                                    telephone conference with K. Puccia re same
                                                    (.1); correspond with C. McNamara, K.
                                                    Puccia re same (.1).
09/15/23 Jack N. Bernstein                     5.00 Review and analyze multiemployer pension
                                                    issues (2.0); analyze pension and related
                                                    employee issues (2.0); analyze ERISA issues
                                                    (1.0).
09/15/23 Michael P. Esser                      3.00 Conference with M. Slade re collective
                                                    bargaining issues (.4); prepare for same (.1);
                                                    prepare for conference with J. Cremeans re
                                                    collective bargaining dataroom (.2);
                                                    conference with same re same (.3); review
                                                    and analyze documents in bidder data room re
                                                    same (1.5); review and analyze pension
                                                    considerations work product (.5).
09/15/23 Whitney Fogelberg                     2.80 Telephone conference with Dexter Hofing
                                                    and K&E team re pension considerations (.5);
                                                    telephone conferences with M. Slade and
                                                    K&E team re collective bargaining issues
                                                    (1.1); review and analyze issues re same (1.2).
09/15/23 Richard U. S. Howell, P.C.            1.20 Prepare and review correspondence from
                                                    Company re open litigation and restructuring
                                                    issues (.3); review memorandum re pension
                                                    issues (.5); conference with A. Smith, K&E
                                                    team and Company re employee issues (.4).
09/15/23 Trent William Huskey                  0.40 Correspond with former employees re
                                                    workers compensation issues.
09/15/23 Conor P. McNamara                     0.50 Telephone conference with A. Smith, K&E
                                                    team and Company re PTO and other issues.
09/15/23 Conor P. McNamara                     2.00 Telephone conference with C. Descours re
                                                    union contracts (.5); telephone conference
                                                    with W. Fogelberg, K&E team re collective
                                                    bargaining issues (.5); review, revise union
                                                    and pension fund diligence request summary
                                                    (1.0).

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Employee Matters

Date     Name                                 Hours Description
09/15/23 Patrick J. Nash Jr., P.C.             0.40 Review human capital retention issues.
09/15/23 Orla O'Callaghan                      0.50 Conference with M. Esser, K&E team re
                                                    collective bargaining agreements (.4);
                                                    correspond with same re same (.1).
09/15/23 Lola Ojeniyi                          0.50 Telephone conference with M. Esser, K&E
                                                    team re collective bargaining issues (.4);
                                                    review and analyze correspondence from
                                                    same re same (.1).
09/15/23 David R. Seligman, P.C.               1.30 Telephone conferences and correspond with
                                                    C. McNamara, K&E team and Company re
                                                    labor, pension and collective bargaining
                                                    agreements.
09/15/23 David R. Seligman, P.C.               0.70 Telephone conference with C. McNamara and
                                                    K&E team re collective bargaining
                                                    agreements and follow up re same.
09/15/23 Michael B. Slade                      1.90 Telephone conference with potential
                                                    consultant re employee matters (.8); telephone
                                                    conference with O. Acuna and K&E team re
                                                    data room for labor issues and review
                                                    materials re same (.4); review and edit
                                                    documents re potential labor process (.7).
09/16/23 R.D. Kohut                            0.80 Review and analyze labor and CBA issues.
09/16/23 Conor P. McNamara                     1.50 Review, revise union proposal documents re
                                                    collective bargaining considerations.
09/16/23 David R. Seligman, P.C.               0.60 Conferences with C. McNamara and K&E
                                                    team re collective bargaining agreements.
09/17/23 Richard U. S. Howell, P.C.            0.30 Prepare and review correspondence with M.
                                                    Slade re employee litigation issues.
09/17/23 David R. Seligman, P.C.               2.10 Telephone conferences with C. McNamara,
                                                    K&E team re collective bargaining issues
                                                    (1.1); telephone conferences with
                                                    stakeholders (1.0).
09/17/23 Michael B. Slade                      1.60 Correspond with R. Howell re labor issues
                                                    and revise materials re same.
09/18/23 Wes Benter                            0.80 Telephone conference with E. Podaras re
                                                    employee and governmental notices
09/18/23 Jack N. Bernstein                     4.00 Analyze ERISA issues (3.0); review and
                                                    analyze multiemployer pension issues (1.0).
09/18/23 Shane Cooper                          2.00 Conference with O. Hunter, W. Benter and M.
                                                    Sachs re employee matters (.8); review
                                                    background materials re same (.2); research,
                                                    draft, correspondence re employee matters
                                                    (1.0).

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Employee Matters

Date     Name                                 Hours Description
09/18/23 Michael P. Esser                      3.10 Conference with J. Cremeans re collective
                                                    bargaining issues (.5); prepare for same (.1);
                                                    conference with M. Lahaie re same (.3);
                                                    prepare for same (.2); review and analyze
                                                    draft documents re same (.5); conference with
                                                    D. Gaffey re collective bargaining issues (.4);
                                                    prepare for same (.1); conference with L.
                                                    Smith re same (.4); prepare for same (.1);
                                                    conference with A. Smith re PTO funding
                                                    issues (.3); prepare for same (.2).
09/18/23 Whitney Fogelberg                     2.20 Telephone conferences with UCC and lenders
                                                    re collective bargaining issues (1.3);
                                                    telephone conference with M. Esser and K&E
                                                    team re diligence re same (.4); telephone
                                                    conference with C. McNamara and K&E team
                                                    re pension issues (.5).
09/18/23 Olivia Claire Hunter                  0.80 Conference with S. Cooper, W. Benter and M.
                                                    Sachs re scope of assignment and locations.
09/18/23 Trent William Huskey                  2.90 Correspond with C. McNamara, K&E team re
                                                    pension research (.3); research valuation
                                                    considerations re same (2.6).
09/18/23 R.D. Kohut                            0.20 Review and analyze labor issues.
09/18/23 Conor P. McNamara                     0.50 Telephone conference with K. Puccia, K&E
                                                    team re pension considerations.
09/18/23 Conor P. McNamara                     6.40 Review, revise collective bargaining
                                                    documents (2.0); conference and correspond
                                                    with W. Fogelberg, M. Slade, K&E team re
                                                    same (1.0); review, revise union diligence
                                                    summary re same (1.0); telephone conference
                                                    with M. Esser, A&M team re union dataroom
                                                    (1.0); telephone conferences with M. Slade,
                                                    Akin team, lenders' counsel, K&E team re
                                                    collective bargaining issues (1.4).
09/18/23 Patrick J. Nash Jr., P.C.             0.80 Review and analyze New England Teamsters
                                                    pension fund demand for payment and assess
                                                    response (.4); review, analyze collective
                                                    bargaining agreement engagement plan (.4).
09/18/23 Orla O'Callaghan                      0.20 Telephone conference with stalking horse
                                                    bidders re collective bargaining issues (.1);
                                                    telephone conference with K&E team re
                                                    union diligence dataroom (.1).




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Employee Matters

Date     Name                                 Hours Description
09/18/23 Lola Ojeniyi                          1.00 Telephone conference with M. Esser, K&E
                                                    team re collective bargaining issues (.4);
                                                    correspond with M. Esser, K&E team re same
                                                    (.6).
09/18/23 Evangelia Podaras                     1.20 Telephone conference with NY Department
                                                    of Labor and W. Benter re WARN requests
                                                    (.6); draft summary re same (.2); correspond
                                                    with M. Slade and K&E team re same and
                                                    new demand letters (.4).
09/18/23 Karra A. Puccia                       0.30 Telephone conference with W. Fogelberg,
                                                    K&E team re MEPP liability research
                                                    questions.
09/18/23 Roy Michael Roman                     0.30 Telephone conference with W. Fogelberg,
                                                    K&E team re pension research.
09/18/23 David R. Seligman, P.C.               1.10 Telephone conferences and correspond with
                                                    C. McNamara, K&E team and client re
                                                    collective bargaining agreements.
09/18/23 Michael B. Slade                      2.20 Review and revise labor related
                                                    correspondence (.6); analyze diligence re
                                                    same (.7); telephone conference with UCC
                                                    team re same (.3); telephone conference with
                                                    lender counsel re same (.3); telephone
                                                    conference with A. Smith, K&E team and
                                                    stalking horse counsel re same (.3).
09/18/23 Allyson B. Smith                      1.50 Correspond with M. Slade, K&E team re
                                                    collective bargaining considerations (.5);
                                                    telephone conference with M. Slade, K&E
                                                    team and stalking horse counsel re same (.2);
                                                    conference with M. Slade, K&E team and
                                                    lender counsels re same (.3); conference with
                                                    lender re PTO (.5).
09/19/23 Olivia Acuna                          0.70 Telephone conference with M. Slade, K&E
                                                    team re employee considerations.
09/19/23 Wes Benter                            0.50 Telephone conference with E. Podaras and
                                                    K&E team re employment, labor issues.
09/19/23 Jacob E. Black                        4.20 Analyze, research issues re severance
                                                    considerations (1.9); correspond with C.
                                                    McNamara re same (.2); telephone conference
                                                    with same re same (.2); conference with C.
                                                    McNamara and K&E team re collective
                                                    bargaining agreement issues (.3); research
                                                    cases re same (1.6).




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Employee Matters

Date     Name                                 Hours Description
09/19/23 Shane Cooper                          5.80 Revise letter template (1.8); review modified
                                                    statute (1.0); research WARN notice contacts
                                                    (2.0); review, consider, draft and file
                                                    correspondence re WARN Act (1.0).
09/19/23 Michael P. Esser                      4.10 Conference with A. Smith re ongoing work
                                                    streams, litigation matters (.6); conference
                                                    with M. Slade re employment and labor issues
                                                    (.5); draft expert retention letter for collective
                                                    bargaining agreement actuarial work (1.2);
                                                    review and analyze issues re same (.3);
                                                    review and analyze PBGC diligence requests
                                                    (.5); review and analyze data room re same
                                                    (.5); review and analyze diligence summary re
                                                    same (.5).
09/19/23 Whitney Fogelberg                     0.60 Telephone conference with M. Slade and
                                                    K&E team re WARN litigation, collective
                                                    bargaining issues, and workers compensation
                                                    cases.
09/19/23 Trent William Huskey                  6.20 Correspond with C. McNamara, K&E team re
                                                    pension considerations (.7); research re same
                                                    (4.0); draft, revise memorandum re same
                                                    (1.5).
09/19/23 R.D. Kohut                            0.90 Review and analyze labor issues.
09/19/23 Patrick J. Nash Jr., P.C.             0.70 Review MEPP withdrawal liability.
09/19/23 Orla O'Callaghan                      0.60 Conference with W. Fogelberg, K&E team re
                                                    labor, employment matters (.4); correspond
                                                    with L. Ojeniyi re diligence re same (.1);
                                                    telephone conference with L. Ojeniyi re same
                                                    (.1).
09/19/23 Lola Ojeniyi                          0.30 Correspond with O. O’Callaghan and M.
                                                    Esser re collective bargaining issues (.2);
                                                    telephone conference with O. O'Callaghan re
                                                    same (.1).
09/19/23 Evangelia Podaras                     0.30 Telephone conference with W. Benter and
                                                    K&E team re employment, labor issues.
09/19/23 Karra A. Puccia                       0.30 Telephone conference with W. Fogelberg and
                                                    K&E team re labor issues.
09/19/23 Karra A. Puccia                       0.50 Review and revise summaries reunion
                                                    diligence requests.
09/19/23 Karra A. Puccia                       0.30 Telephone conference with C. McNamara and
                                                    K&E team re collective bargaining
                                                    agreements background and research tasks.



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Employee Matters

Date     Name                                 Hours Description
09/19/23 Roy Michael Roman                     0.50 Telephone conference with T. Huskey, K&E
                                                    team re pension research.
09/19/23 David R. Seligman, P.C.               1.60 Telephone conferences with W. Fogelberg,
                                                    K&E team re collective bargaining
                                                    agreements, related analysis.
09/19/23 Michael B. Slade                      2.30 Telephone conference with various advisors
                                                    re labor, benefits issues (.5); telephone
                                                    conference with W. Fogelberg and K&E team
                                                    re employment, labor matters (.5); review,
                                                    revise correspondence with union re labor,
                                                    benefits issues (1.1); correspond with union re
                                                    same (.2).
09/19/23 Allyson B. Smith                      0.70 Conference with W. Fogelberg, K&E team re
                                                    employment, labor matters.
09/19/23 Eric Steinfeld                        2.30 Conference with C. McNamara, K&E team re
                                                    collective bargaining issues (.5); research and
                                                    analyze case law re same (1.8).
09/20/23 Jack M. Amaro                         1.60 Research re pension matters (.7); draft
                                                    summary re same (.9).
09/20/23 Wes Benter                            0.80 Review and analyze governmental notices,
                                                    related issues.
09/20/23 Jack N. Bernstein                     6.00 Analyze ERISA issues (3.0); review and
                                                    analyze pension issues (1.0); analyze pension
                                                    and related employee issues (2.0).
09/20/23 Jacob E. Black                        0.30 Correspond with L. Collins re Canadian
                                                    severance considerations (.1); correspond
                                                    with L. Collins and A&M team re same (.1);
                                                    research and draft analysis re same (.1).
09/20/23 Shane Cooper                          4.20 Research WARN notice contacts (2.0); revise
                                                    template WARN notice (2.0); review,
                                                    consider, draft and file correspondence with
                                                    various parties (.2).
09/20/23 Whitney Fogelberg                     1.10 Telephone conference with B. Whittman re
                                                    employee compensation issues (.5); review
                                                    and analyze issues re same (.6).
09/20/23 Kaitlyn Hodgman                       2.60 Research WARN contacts in NY locations.
09/20/23 Olivia Claire Hunter                  1.00 Compile WARN notice recipient contact
                                                    information.
09/20/23 Trent William Huskey                  7.90 Research collective bargaining considerations
                                                    (3.7); draft, revise memorandum re same
                                                    (2.8); research valuation considerations re
                                                    same (1.4).
09/20/23 R.D. Kohut                            0.20 Review and analyze labor issues.

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Employee Matters

Date     Name                                 Hours Description
09/20/23 Catherine Lee                         0.20 Telephone conference with C. McNamara re
                                                    employment matters (.1); analyze
                                                    correspondence re same (.1).
09/20/23 Conor P. McNamara                     2.00 Analyze collective bargaining considerations
                                                    and union proposal timeline.
09/20/23 Karra A. Puccia                       0.70 Telephone conference with T. Huskey, E.
                                                    Steinfeld and R.M. Roman re MEPP
                                                    withdrawal liability.
09/20/23 Maayan Sachs                          5.20 Research contact information re labor and
                                                    employment issues.
09/20/23 David R. Seligman, P.C.               1.20 Telephone conferences with W. Fogelberg,
                                                    K&E team re collective bargaining issues and
                                                    related diligence.
09/20/23 Michael B. Slade                      0.90 Review and edit correspondence with IBT re
                                                    labor, employment issues.
09/20/23 Eric Steinfeld                        2.10 Research and analyze Canadian collective
                                                    bargaining agreement issues (1.8); correspond
                                                    with C. McNamara re same (.3).
09/20/23 Matthew Calloway Walker               1.00 Review and analyze collective bargaining
                                                    agreements.
09/21/23 Wes Benter                            0.50 Review and revise governmental notices and
                                                    contacts.
09/21/23 Jack N. Bernstein                     4.00 Analyze pension and related employee issues
                                                    (1.0); prepare comments to draft ERISA
                                                    summaries (2.0); review and analyze
                                                    collective bargaining agreements (1.0).
09/21/23 Shane Cooper                          0.50 Attend conference with M. Sachs re
                                                    employment and labor issues (.2); analyze
                                                    correspondence with various parties re same
                                                    (.3).
09/21/23 Michael P. Esser                      3.90 Conference with J. Carlson re pension
                                                    inquires follow ups (.2); prepare for same (.3);
                                                    conference with M. Slade re collective
                                                    bargaining issues (.4); prepare for same (.1);
                                                    review and analyze draft re same (.5); review
                                                    and analyze declaration precedent re same
                                                    (.5); conference with C. Yi re diligence issues
                                                    (.5); conference with S. Cohen re litigation
                                                    issues (.3); prepare for same (.2); review and
                                                    revise correspondence to IBT re diligence
                                                    (.9).




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Yellow Corporation                                               Matter Number:          23631-60
Employee Matters

Date     Name                                 Hours Description
09/21/23 Whitney Fogelberg                      3.00 Telephone conference with M. Esser and
                                                     K&E team re diligence process (.6); telephone
                                                     conference with C. McNamara and K&E team
                                                     re pension issues (.5); telephone conference
                                                     with Company re same (.6); review and
                                                     analyze issues re same (1.3).
09/21/23 Trent William Huskey                  12.20 Draft research memorandum re pension
                                                     considerations (3.9); research re same (3.9);
                                                     correspond with C. McNamara, K&E team re
                                                     same (2.5); evaluate docket for filings and
                                                     correspondence re pension issues (1.9).
09/21/23 Rob Jacobson                           0.50 Telephone conference with C. McNamara and
                                                     K&E team re employee matters.
09/21/23 Conor P. McNamara                      2.30 Research, analyze pension considerations
                                                     (1.3); review, comment on summary re same
                                                     (1.0).
09/21/23 Conor P. McNamara                      2.30 Review and analyze collective bargaining
                                                     issues and union proposal documents.
09/21/23 Orla O'Callaghan                       1.00 Review and analyze letter re diligence
                                                     requests (.2); revise same (.2); correspond
                                                     with L. Ojeniyi re same (.1); conference with
                                                     M. Esser and K&E team re collective
                                                     bargaining issues (.4); correspond with M.
                                                     Esser and C. McNamara re same (.1).
09/21/23 Karra A. Puccia                        5.40 Research issues related to MEPP liability,
                                                     including coal bailouts and third-party or
                                                     guarantor agreement examples (4.6);
                                                     telephone conference with R.M. Roman and
                                                     T. Huskey re same (.8).
09/21/23 David R. Seligman, P.C.                0.90 Telephone conferences and correspond with
                                                     C. McNamara and K&E team re grievance
                                                     matters.
09/21/23 David R. Seligman, P.C.                0.80 Telephone conferences and correspond with
                                                     Company re collective bargaining agreement
                                                     diligence, strategy, and analysis.
09/21/23 Michael B. Slade                       0.40 Telephone conference with C. McNamara and
                                                     K&E team re collective bargaining
                                                     considerations.
09/21/23 Matthew Calloway Walker                0.30 Conference with M. Slade re collective
                                                     bargaining agreements (.2); correspond with
                                                     M. Slade and M. Esser re same (.1).




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Yellow Corporation                                               Matter Number:          23631-60
Employee Matters

Date     Name                                 Hours Description
09/22/23 Jack N. Bernstein                     5.00 Analyze multi-employer pension issues (3.0);
                                                    analyze pension and related employee issues
                                                    (2.0).
09/22/23 Michael P. Esser                      4.80 Telephone conference with S. Faust re
                                                    collective bargaining issues (.5); telephone
                                                    conference with W. Fogelberg re employment
                                                    and labor issues (.5); review and analyze
                                                    revised diligence summary re same (.5);
                                                    review and analyze data room re same (1.0);
                                                    review and analyze IBT correspondence re
                                                    same (.5); review and analyze diligence
                                                    requests and strategize re same (.9);
                                                    correspond with O’Callaghan re same (.4);
                                                    review and revise correspondence to IBT re
                                                    diligence (.5).
09/22/23 Whitney Fogelberg                     2.90 Telephone conference with Company, M.
                                                    Slade, K&E team re union grievance hearings
                                                    (.6); telephone conference with M. Slade and
                                                    K&E team re WARN litigation and collective
                                                    bargaining issues (.6); telephone conference
                                                    with Company re same (.6); review and
                                                    analyze issues re same (1.1).
09/22/23 Trent William Huskey                  1.90 Correspond with C. McNamara re collective
                                                    bargaining agreements (.1); evaluate various
                                                    collective bargaining agreements re key terms
                                                    (.4); review and analyze various pension
                                                    considerations (1.4).
09/22/23 R.D. Kohut                            0.30 Review and analyze labor issues.
09/22/23 Conor P. McNamara                     2.50 Research, analyze pension considerations
                                                    (1.5); review, revise outline re same (.8);
                                                    correspond with M. Slade, K&E team re same
                                                    (.2).
09/22/23 Conor P. McNamara                     0.50 Telephone conference with L. Briney, K&E
                                                    team re grievance update.
09/22/23 Orla O'Callaghan                      1.20 Draft letter to IBT re collective bargaining
                                                    issues (.4); correspond with M. Esser, K&E
                                                    team re same (.2); revise same (.2);
                                                    conference with M. Esser, K&E team re labor
                                                    and employment issues (.4).
09/22/23 Lola Ojeniyi                          0.50 Telephone conference with M. Slade, O.
                                                    O'Callaghan, M. Esser and K&E team re
                                                    collective bargaining issues, diligence (.3);
                                                    correspond with O. O'Callaghan re same (.2).



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Yellow Corporation                                               Matter Number:           23631-60
Employee Matters

Date     Name                                 Hours Description
09/22/23 Evangelia Podaras                     0.40 Participate in labor matters weekly telephone
                                                    conference.
09/22/23 Karra A. Puccia                       0.90 Telephone conference with W. Fogelberg and
                                                    K&E team re employment and labor issues
                                                    (.5); revise labor diligence summary (.4).
09/22/23 Maayan Sachs                          1.50 Research contact information re labor and
                                                    employment issues.
09/22/23 Michael B. Slade                      2.10 Telephone conference with S. Faust,
                                                    Company, A. Smith and K&E team re
                                                    grievance hearing updates (.4); correspond
                                                    with C. McNamara and K&E team re
                                                    collective bargaining agreement
                                                    considerations (.3); analyze issues re same
                                                    (.9); review, revise stay letter (.5).
09/22/23 Allyson B. Smith                      1.40 Telephone conference with S. Faust,
                                                    Company, M. Slade, K&E team re grievance
                                                    hearing updates (1.0); conference with W.
                                                    Fogelberg, K&E team re employment, labor
                                                    issues (.4).
09/22/23 Matthew Calloway Walker               0.10 Correspond with M. Slade re labor,
                                                    employment issues.
09/23/23 David R. Seligman, P.C.               0.70 Conferences with C. McNamara and K&E
                                                    team re collective bargaining agreement
                                                    analysis.
09/24/23 Michael P. Esser                      1.50 Telephone conference with M. Slade re
                                                    collective bargaining issues (.6); prepare for
                                                    same (.4); review and analyze IBT
                                                    correspondence (.5).
09/24/23 R.D. Kohut                            0.40 Review and analyze collective bargaining
                                                    agreement issues.
09/24/23 Conor P. McNamara                     1.00 Telephone conference with M. Slade, K&E
                                                    team re collective bargaining considerations
                                                    (.5); review, analyze collective bargaining
                                                    agreements re same (.5).
09/24/23 Orla O'Callaghan                      0.40 Conference with C. McNamara and K&E
                                                    team re collective bargaining issues (.3);
                                                    review and analyze correspondence from C.
                                                    McNamara re same (.1).




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Yellow Corporation                                               Matter Number:          23631-60
Employee Matters

Date     Name                                 Hours Description
09/24/23 Matthew Calloway Walker               4.60 Telephone conference with M. Slade re
                                                    employment and labor issues (.4); correspond
                                                    with M. Slade re same (.1); research, analyze
                                                    employment and labor issues (2.1); draft
                                                    summary re same (1.9); correspond with M.
                                                    Slade re same (.1).
09/25/23 Jack N. Bernstein                     2.00 Analyze pension and related employee issues
                                                    (1.0); review and analyze collective
                                                    bargaining agreements (1.0).
09/25/23 Michael P. Esser                      0.50 Review and analyze research re collective
                                                    bargaining issues.
09/25/23 Whitney Fogelberg                     1.90 Review and analyze issues re collective
                                                    bargaining issues (.9); research re same (.6);
                                                    correspond and with C. McNamara re same
                                                    (.4).
09/25/23 Trent William Huskey                  0.60 Correspond with K. Puccia and K&E team re
                                                    workers' compensation issues.
09/25/23 Trent William Huskey                  1.40 Correspond with C. McNamara, K&E team re
                                                    collective bargaining agreement review (.2);
                                                    compile collective bargaining agreements
                                                    (.6); review same (.6).
09/25/23 Conor P. McNamara                     0.50 Review, analyze PBGC diligence requests
                                                    (.2); compile diligence re same (.3).
09/25/23 Conor P. McNamara                     1.30 Conference with T. Huskey, K&E team re
                                                    collective bargaining issues (.3); review,
                                                    analyze issues re same (.5); review, revise
                                                    drafts of letter responses to union re same
                                                    (.5).
09/25/23 Patrick J. Nash Jr., P.C.             0.90 Review and analyze correspondence from
                                                    IBT general counsel E. Gleason re collective
                                                    bargaining agreement issues (.3); review and
                                                    analyze issues re same (.6).
09/25/23 Karra A. Puccia                       1.10 Telephone conference with T. Huskey, K&E
                                                    team re collective bargaining issues (.4);
                                                    correspond with T. Huskey, K&E team re
                                                    same, related considerations (.4); analyze
                                                    issues re same (.3).
09/25/23 Eric Steinfeld                        2.00 Review and analyze collective bargaining
                                                    agreements.
09/26/23 Jack N. Bernstein                     5.00 Analyze ERISA issues (2.0); review and
                                                    analyze multiemployer pension issues (1.0);
                                                    analyze pension and related employee issues
                                                    (2.0).


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Yellow Corporation                                               Matter Number:           23631-60
Employee Matters

Date     Name                                 Hours Description
09/26/23 Shane Cooper                          0.10 Review, analyze labor, employee issues.
09/26/23 Michael P. Esser                      0.50 Review and revise collective bargaining
                                                    agreement diligence summaries.
09/26/23 Trent William Huskey                  4.20 Conference with C. McNamara re collective
                                                    bargaining agreement review (.2); correspond
                                                    with E. Steinfeld re same (.2); evaluate
                                                    collective bargaining agreements (3.4);
                                                    research pension discount rates (.4).
09/26/23 R.D. Kohut                            0.20 Review and analyze employment issues.
09/26/23 Conor P. McNamara                     1.30 Telephone conference with D. Seligman re
                                                    collective bargaining issues (.2); review and
                                                    analyze drafts of letter responses to union re
                                                    same (.5); review, comment on union
                                                    diligence requests re same (.6).
09/26/23 Patrick J. Nash Jr., P.C.             0.50 Review Central States SFA application.
09/26/23 Patrick J. Nash Jr., P.C.             0.30 Review research re claim liability to Central
                                                    States.
09/26/23 Karra A. Puccia                       0.60 Review and analyze union diligence requests
                                                    (.2); revise labor diligence summary (.4).
09/26/23 Karra A. Puccia                       0.70 Compile collective bargaining agreements.
09/26/23 Karra A. Puccia                       0.20 Revise summary re labor diligence.
09/26/23 Eric Steinfeld                        2.80 Review and analyze collective bargaining
                                                    agreements (1.7); draft, revise summary re
                                                    collective bargaining agreement issues (.8);
                                                    conference with T. Huskey re same (.3).
09/27/23 Olivia Acuna                          2.30 Telephone conference with M. Esser, K&E
                                                    team re union requests (.5); analyze collective
                                                    bargaining agreements (1.4); draft summary
                                                    re same (.4).
09/27/23 Wes Benter                            0.50 Review and analyze WARN governmental
                                                    contacts.
09/27/23 Jack N. Bernstein                     2.00 Prepare comments to draft ERISA summary
                                                    (1.0); review and analyze collective
                                                    bargaining agreements (1.0).
09/27/23 Trent William Huskey                  5.10 Correspond with O. Acuna, K&E team re
                                                    collective bargaining agreements (.4);
                                                    evaluate same (3.8); review, revise collective
                                                    bargaining agreement summaries (.9).
09/27/23 Nishtha Manish Kulkarni               1.50 Research and compile points of contact for
                                                    WARN act notices.
09/27/23 Conor P. McNamara                     0.20 Telephone conference with A. Smith re
                                                    payroll audits.

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Yellow Corporation                                               Matter Number:           23631-60
Employee Matters

Date     Name                                 Hours Description
09/27/23 Patrick J. Nash Jr., P.C.             0.40 Telephone conference with M. Slade and
                                                    K&E team re pension plan requests for
                                                    payroll audits.
09/27/23 Orla O'Callaghan                      0.60 Correspond with M. Walker re legal research
                                                    re collective bargaining issues (.1); review
                                                    and analyze M. Walker's research re same
                                                    (.4); correspond with C. McNamara re same,
                                                    related considerations (.1).
09/27/23 Evangelia Podaras                     0.30 Telephone conference with W. Benter re
                                                    WARN notices (.2); correspond with
                                                    Company re same (.1).
09/27/23 Karra A. Puccia                       0.10 Telephone conference with W. Fogelberg re
                                                    collective bargaining agreement diligence
                                                    data room.
09/27/23 David R. Seligman, P.C.               1.00 Telephone conferences and correspond with
                                                    C. McNamara, K&E team and Company re
                                                    payroll audit, collective bargaining agreement
                                                    diligence and related matters
09/27/23 Michael B. Slade                      3.40 Telephone conference with D. Seligman re
                                                    pension issues (.4); telephone conference with
                                                    advisors re upcoming issues (.4); telephone
                                                    conference with P. Nash and K&E team re
                                                    payroll audit request (.3); telephone
                                                    conference with C. McNamara and K&E team
                                                    re collective bargaining agreement issues (.5);
                                                    analyze research re same (.9); review and edit
                                                    cease and desist letter (.9).
09/27/23 Eric Steinfeld                        8.40 Review and analyze teamster collective
                                                    bargaining agreements (4.6); research and
                                                    analyze issues re same (1.1); draft, revise
                                                    summary re same (2.7).
09/27/23 Matthew Calloway Walker               0.20 Correspond with M. Slade re employment and
                                                    labor issues (.1); correspond with O.
                                                    O'Callaghan re employment and labor issues
                                                    (.1).
09/28/23 Olivia Acuna                          2.40 Analyze collective bargaining agreements
                                                    (1.9); draft summary re same (.5).
09/28/23 Wes Benter                            2.00 Analyze governmental notices (1.2); review
                                                    governmental agency contact information
                                                    (.8).
09/28/23 Jack N. Bernstein                     3.00 Analyze ERISA issues (2.0); review and
                                                    analyze multiemployer pension issues (1.0).



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Yellow Corporation                                               Matter Number:            23631-60
Employee Matters

Date     Name                                 Hours Description
09/28/23 Lauren Collins                        2.40 Review, analyze collective bargaining
                                                    agreements (2.0); draft summary re same (.4).
09/28/23 Trent William Huskey                  5.90 Research discount rates re pension annuities
                                                    (3.1); research re section collective bargaining
                                                    agreements (2.8).
09/28/23 R.D. Kohut                            0.10 Review and analyze employment issues.
09/28/23 Conor P. McNamara                     4.70 Review, comment on letter to union (1.2);
                                                    research case law re collective bargaining
                                                    agreement issues (1.1); review, comment on
                                                    union diligence requests (.5); conference and
                                                    correspond with T. Huskey, K&E team re
                                                    collective bargaining agreements (1.9).
09/28/23 Patrick J. Nash Jr., P.C.             0.40 Analyze issues re pension plan
                                                    considerations.
09/28/23 Patrick J. Nash Jr., P.C.             0.20 Review, analyze issues re collective
                                                    bargaining analysis.
09/28/23 Karra A. Puccia                       1.60 Review and summarize key provisions re
                                                    collective bargaining agreement.
09/28/23 David R. Seligman, P.C.               1.10 Telephone conferences with C. McNamara,
                                                    K&E team re collective bargaining
                                                    considerations.
09/28/23 Michael B. Slade                      1.80 Telephone conference with counsel to UCC re
                                                    union matters (.3); telephone conference with
                                                    Company re next steps in process (.6); review
                                                    and edit letter re diligence requests (.9).
09/29/23 Wes Benter                            0.50 Telephone conference with K. Hodgman,
                                                    K&E team re governmental agency contacts
                                                    and WARN research.
09/29/23 Jack N. Bernstein                     3.00 Analyze pension and related employee issues
                                                    (1.0); prepare comments to draft ERISA
                                                    summaries (1.0); review and analyze
                                                    collective bargaining agreements (1.0).
09/29/23 Shane Cooper                          1.00 Attend conference with W. Benter, O. Hunter,
                                                    M. Sachs, K. Hodgeman re retention issues
                                                    (.8); review and layer WARN contacts (.1);
                                                    draft, analyze correspondence re same (.1).
09/29/23 Kaitlyn Hodgman                       1.20 Telephone conference with W. Benter, K&E
                                                    team re WARN research and governmental
                                                    agency contacts (.5); revise research summary
                                                    re same (.7).




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Yellow Corporation                                               Matter Number:          23631-60
Employee Matters

Date     Name                                 Hours Description
09/29/23 Olivia Claire Hunter                  1.70 Attend conference with S. Cooper, W. Benter,
                                                    M. Sachs and K. Hodgeman re WARN notice
                                                    recipients (.8); review WARN notice recipient
                                                    contact information (.9).
09/29/23 Trent William Huskey                  5.30 Conference with C. McNamara re collective
                                                    bargaining considerations (.2); conference
                                                    with C. McNamara, K&E team re same (.3);
                                                    research issues re same (3.9); draft summary
                                                    re same (.9).
09/29/23 Rob Jacobson                          0.50 Telephone conference with W. Fogelberg,
                                                    K&E team re employee issue updates.
09/29/23 Conor P. McNamara                     1.50 Review, revise diligence requests for PBGC
                                                    (1.3); correspond with A. Walker re same (.2).
09/29/23 Conor P. McNamara                     2.70 Review, comment on union diligence requests
                                                    (.6); conference with T. Huskey, K&E team
                                                    re collective bargaining considerations (1.0);
                                                    telephone conference with B. Gudeman, M.
                                                    Esser re union diligence requests (1.1).
09/29/23 Lola Ojeniyi                          0.90 Telephone conference with M. Slade, K&E
                                                    team re diligence, collective bargaining
                                                    issues.
09/29/23 Evangelia Podaras                     1.30 Correspond with C. McNamara and K&E
                                                    team re information for NY WARN notices
                                                    (.4); revise notices (.9).
09/29/23 Karra A. Puccia                       4.10 Telephone conference with W. Fogelberg and
                                                    K&E team (.3); review and analyze collective
                                                    bargaining considerations (3.5); telephone
                                                    conference with T. Huskey re same (.3).
09/29/23 Maayan Sachs                          1.50 Research state contact information.
09/29/23 David R. Seligman, P.C.               1.20 Telephone conferences and correspond with
                                                    C. McNamara, K&E team and Company re
                                                    labor and pension matters.
09/29/23 Michael B. Slade                      1.90 Draft and edit letter re labor issues (1.1);
                                                    review, analyze research re same (.8).
09/29/23 Eric Steinfeld                        4.10 Review and analyze Canadian collective
                                                    bargaining agreements (2.5); draft, revise
                                                    summary re Canadian collective bargaining
                                                    agreement (1.3); telephone conferences with
                                                    T. Huskey re same (.3).
09/30/23 Michael B. Slade                      0.60 Review and revise draft correspondence re
                                                    unions.

Total                                         497.30

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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173383
                                                                                           Client Matter: 23631-61

In the Matter of Executory Contracts and Unexpired Leases



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                         $ 135,569.00
Total legal services rendered                                                                                                   $ 135,569.00




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Yellow Corporation                                               Matter Number:          23631-61
Executory Contracts and Unexpired Leases




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Olivia Acuna                                                  32.80    1,155.00         37,884.00
Jacob E. Black                                                 0.20      995.00            199.00
Lauren Collins                                                 4.20    1,155.00          4,851.00
Whitney Fogelberg                                             27.20    1,425.00         38,760.00
Trent William Huskey                                           3.70      995.00          3,681.50
Rob Jacobson                                                  17.60    1,245.00         21,912.00
Catherine Lee                                                  7.70    1,155.00          8,893.50
Ryan Connor Muhlstock                                          3.00      885.00          2,655.00
Karra A. Puccia                                                6.20      885.00          5,487.00
Zak Read                                                       9.00      885.00          7,965.00
Roy Michael Roman                                              0.60      885.00            531.00
Allyson B. Smith                                               2.00    1,375.00          2,750.00

TOTALS                                                       114.20                  $ 135,569.00




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Yellow Corporation                                               Matter Number:          23631-61
Executory Contracts and Unexpired Leases


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Olivia Acuna                          0.70 Telephone conference with A&M team re
                                                    equipment leases (.3); correspond with A&M
                                                    team re same (.4).
09/01/23 Whitney Fogelberg                     1.30 Telephone conferences and correspond with
                                                    multiple equipment lessors re leased
                                                    equipment (.7); correspond and conference
                                                    with A&M team re same (.6).
09/01/23 Rob Jacobson                          5.00 Correspond with Company re landlord
                                                    matters (.5); draft correspondence re same
                                                    (2.5); research issues re same (.7); analyze
                                                    lease agreements re same (1.3).
09/04/23 Rob Jacobson                          1.20 Correspond with A&M team re contract
                                                    matters (.5); review, analyze issues, strategy
                                                    re same (.7).
09/05/23 Olivia Acuna                          2.90 Draft form correspondence re return of leased
                                                    equipment (.9); analyze critical vendor status
                                                    (.7); correspond with R. Jacobson, K. Puccia
                                                    re same (.3); research re same (1.0).
09/05/23 Catherine Lee                         0.20 Review and analyze precedent re rejection
                                                    procedures (.1); correspond with R. Jacobson,
                                                    K&E team, and landlord counsel re same (.1).
09/05/23 Zak Read                              0.80 Research, analyze considerations re rejection
                                                    procedures order (.6); correspond with R.
                                                    Jacobson, K&E team re same (.1); review,
                                                    revise order re same (.1).
09/06/23 Olivia Acuna                          1.70 Revise lease termination motion (.4);
                                                    telephone conference with vendor counsel re
                                                    agreement (.5); correspond with R. Jacobson
                                                    re same (.1); telephone conference with A&M
                                                    team re same (.7).
09/06/23 Whitney Fogelberg                     1.60 Telephone conferences with multiple
                                                    equipment lessors re leased equipment (.5);
                                                    correspond with multiple equipment lessors re
                                                    leased equipment (.4); correspond and
                                                    conference with A&M team re same (.7).
09/06/23 Catherine Lee                         0.50 Review and revise contract rejection
                                                    procedures order (.1); analyze stakeholder
                                                    comments re same (.2); analyze precedent re
                                                    same (.1); correspond with Z. Read, K&E
                                                    team re same (.1).


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Yellow Corporation                                               Matter Number:          23631-61
Executory Contracts and Unexpired Leases

Date     Name                                 Hours Description
09/06/23 Zak Read                              1.20 Review, revise rejection procedures order
                                                    (.2); research, analyze considerations re same
                                                    (.6); draft summary re same (.2); correspond
                                                    with C. Lee, K&E team re same (.2).
09/07/23 Olivia Acuna                          2.70 Correspond with C. McNamara, K&E team re
                                                    executory contract treatment (.3); telephone
                                                    conference with M. Slade, K&E team re same
                                                    (.5); telephone conference with A&M team re
                                                    vendors (.3); telephone conference with
                                                    Company re same (.5); research re same (1.1).
09/07/23 Catherine Lee                         0.70 Review and revise contract rejection
                                                    procedures order (.3); correspond with Z.
                                                    Read, K&E team re same (.3); correspond
                                                    with Z. Read, K&E team re omnibus lease
                                                    rejection order (.1).
09/07/23 Zak Read                              1.90 Review, revise rejection procedures order
                                                    (.6); correspond with C. Lee, K&E team re
                                                    same (.2); analyze considerations re same
                                                    (.7); review, revise summary re same (.1);
                                                    review, revise omnibus rejection order (.1);
                                                    correspond with C. Lee, K&E team re same
                                                    (.2).
09/08/23 Olivia Acuna                          1.10 Telephone conference with A&M team re
                                                    equipment leases (.5); analyze reports re same
                                                    (.4); correspond with counterparties re same
                                                    (.2).
09/08/23 Jacob E. Black                        0.20 Correspond with R. Jacobson and K&E team
                                                    re executory contract, trade agreement (.1);
                                                    analyze, review re same (.1).
09/08/23 Trent William Huskey                  0.90 Review and analyze lease assumption
                                                    considerations (.5); review, revise motion to
                                                    assume leases (.4).
09/08/23 Catherine Lee                         0.30 Review and revise contract rejection
                                                    procedures order (.2); correspond with R.
                                                    Jacobson, K&E team re same (.1).
09/08/23 Karra A. Puccia                       3.60 Research re assumption motion precedent
                                                    (1.2); draft lease assumption motion (2.4).
09/08/23 Zak Read                              1.40 Review, analyze omnibus objection,
                                                    reservations of rights, joinders re executory
                                                    contract issues (.8); draft summary re same
                                                    (.4); correspond with C. Lee re same (.1);
                                                    correspond with R. Jacobson, K&E team re
                                                    same (.1).
09/09/23 Trent William Huskey                  0.60 Review, revise motion to assume leases.

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Legal Services for the Period Ending September 30, 2023         Invoice Number:          1010173383
Yellow Corporation                                               Matter Number:            23631-61
Executory Contracts and Unexpired Leases

Date     Name                                 Hours Description
09/10/23 Rob Jacobson                          3.60 Review, revise rejection procedures orders
                                                    (1.2); review reservations of rights re same
                                                    (.9); correspond with Z. Read, K&E team re
                                                    same (.7); correspond with counsel to
                                                    reservation of rights parties re same (.8).
09/10/23 Zak Read                              0.30 Review, revise rejection procedures order
                                                    (.2); correspond with R. Jacobson, K&E team
                                                    re same (.1).
09/11/23 Whitney Fogelberg                     1.50 Correspond and conference with R. Jacobson
                                                    and K&E team re contract rejection
                                                    procedures motion and omnibus contract
                                                    rejection motion (.7); review and analyze
                                                    objections re same (.8).
09/11/23 Rob Jacobson                          1.20 Conference with A&M team, Company re
                                                    lease matters (.5); correspond with contract
                                                    counterparty re rejection notice (.3);
                                                    correspond with A&M team re same (.4).
09/11/23 Catherine Lee                         0.20 Review and revise contract rejection
                                                    procedures motion (.1); correspond with Z.
                                                    Read, K&E team re same (.1).
09/11/23 Zak Read                              1.10 Review, analyze correspondence from
                                                    objecting parties re rejection procedures order
                                                    (.3); review, revise rejection procedures order
                                                    (.3); correspond with C. Lee re same (.1);
                                                    correspond with R. Jacobson, K&E team re
                                                    same (.1); review, revise summary re
                                                    objections, reservations of rights re same (.3).
09/12/23 Whitney Fogelberg                     1.60 Conference with R. Jacobson and K&E team
                                                    re contract rejection procedures motion and
                                                    omnibus contract rejection motion (.8);
                                                    correspond with R. Jacobson re same (.3);
                                                    review and analyze objections re same (.5).
09/12/23 Catherine Lee                         1.40 Review and revise contract rejection
                                                    procedures order (.3); correspond with Z.
                                                    Read, K&E team re same (.2); review and
                                                    analyze comments re same (.4); conference
                                                    with R. Jacobson re comments to same, filing
                                                    plan (.2); telephone conferences with A&M re
                                                    rejected leases (.3).




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Legal Services for the Period Ending September 30, 2023         Invoice Number:         1010173383
Yellow Corporation                                               Matter Number:           23631-61
Executory Contracts and Unexpired Leases

Date     Name                                 Hours Description
09/12/23 Zak Read                              1.60 Review, analyze comments, reservation of
                                                    rights to rejection procedures order (.8);
                                                    correspond with C. Lee re same (.3); review,
                                                    revise rejection procedures order (.4);
                                                    correspond with R. Jacobson, K&E team re
                                                    same (.1).
09/13/23 Olivia Acuna                          1.90 Review, revise stipulation re leases (1.4);
                                                    correspond with A. Smith, A&M team re
                                                    same (.5).
09/13/23 Catherine Lee                         1.00 Review and revise omnibus contract rejection
                                                    order (.4); telephone conference with R.
                                                    Jacobson re same (.2); correspond with R.
                                                    Jacobson, K&E team re same (.4).
09/13/23 Ryan Connor Muhlstock                 0.70 Research, analyze case law re rejection of
                                                    lease issues (.6); correspond with R. Jacobson
                                                    re same (.1).
09/13/23 Karra A. Puccia                       0.80 Draft correspondence to lessor re rejection
                                                    issues.
09/13/23 Zak Read                              0.70 Review, analyze rejection procedures order
                                                    considerations (.2); correspond with R.
                                                    Jacobson, K&E team re same (.2); review,
                                                    revise rejection procedures order (.1); review,
                                                    revise omnibus rejection order (.1);
                                                    correspond with R. Jacobson, K&E team re
                                                    same (.1).
09/14/23 Olivia Acuna                          1.60 Correspond with A&M team, W. Fogelberg,
                                                    A. Smith re lease stipulations (.4); draft
                                                    stipulations re same (.8); telephone
                                                    conference with A&M team re same (.4).
09/14/23 Catherine Lee                         2.00 Draft side letter to omnibus contract rejection
                                                    order (1.8); correspond with R. Jacobson re
                                                    same (.2).
09/15/23 Olivia Acuna                          1.20 Telephone conference with M. Esser, Ducera
                                                    team re executory contracts (.6); revise
                                                    stipulation re leases (.6).
09/15/23 Whitney Fogelberg                     2.80 Telephone conferences with various lessor
                                                    parties re equipment leases (1.4); review and
                                                    analyze issues re same (.9); telephone
                                                    conference with A&M team re same (.5).
09/15/23 Catherine Lee                         0.20 Correspond with R. Jacobson, K&E team re
                                                    side letter to omnibus rejection order.




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Legal Services for the Period Ending September 30, 2023         Invoice Number:          1010173383
Yellow Corporation                                               Matter Number:            23631-61
Executory Contracts and Unexpired Leases

Date     Name                                 Hours Description
09/15/23 Ryan Connor Muhlstock                 2.30 Research, analyze case law re lease payment
                                                    administrative expense priority (1.7); draft
                                                    analysis re same (.5); correspond with R.
                                                    Jacobson re same (.1).
09/16/23 Olivia Acuna                          0.20 Correspond with lessor counsel re lease
                                                    status.
09/18/23 Olivia Acuna                          2.50 Telephone conference with Company, W.
                                                    Fogelberg, K&E team, A&M team re
                                                    equipment leases (.6); prepare for same (.3);
                                                    revise summary re same (.4); telephone
                                                    conference with M. Esser, K&E team re
                                                    executory contracts (.5); telephone conference
                                                    with K. Puccia, R. Jacobson re lease
                                                    termination (.2); telephone conference with
                                                    lessor, W. Fogelberg, A. Smith re equipment
                                                    leases (.3); analyze diligence requests re
                                                    executory contracts (.2).
09/18/23 Whitney Fogelberg                     3.40 Telephone conferences and correspond with
                                                    Company, A&M, O. Acuna and K&E team re
                                                    equipment leases (1.3); telephone conferences
                                                    with multiple lessors re same (.9); draft
                                                    stipulations re same (1.2).
09/18/23 Allyson B. Smith                      0.50 Telephone conference with A&M, Company,
                                                    W. Fogelberg, K&E team re equipment
                                                    leasing issues.
09/19/23 Olivia Acuna                          3.90 Telephone conference with A&M team re
                                                    equipment leases (.5); correspond with
                                                    Company, W. Fogelberg, K&E team re same
                                                    (.6); analyze leased equipment inventory
                                                    (1.4); telephone conference with C.
                                                    McNamara, K&E team re executory contracts
                                                    (.4); telephone conference with M. Slade,
                                                    K&E team re same (.5); research re same (.5).
09/19/23 Trent William Huskey                  0.50 Conference with R. Jacobson, R.M. Roman re
                                                    lease rejections (.2); review lease rejection
                                                    procedures (.3).
09/19/23 Trent William Huskey                  1.30 Correspond with A&M team re equipment
                                                    leases (.3); correspond with O. Acuna re same
                                                    (.1); correspond with third parties re rejection
                                                    of lease agreements (.9).
09/19/23 Rob Jacobson                          1.60 Review, analyze executory contracts matters
                                                    (.9); correspond with lenders, UCC re same
                                                    (.7).



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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173383
Yellow Corporation                                               Matter Number:          23631-61
Executory Contracts and Unexpired Leases

Date     Name                                 Hours Description
09/19/23 Roy Michael Roman                     0.20 Telephone conference with R. Jacobson, K&E
                                                    team re contract rejection procedures.
09/20/23 Olivia Acuna                          1.40 Correspond with lessors re return of
                                                    equipment (.6); analyze comments to
                                                    stipulation (.6); telephone conference with
                                                    lessor re return of equipment (.2).
09/20/23 Whitney Fogelberg                     3.40 Telephone conferences and correspond with
                                                    Company, A&M team, O. Acuna and K&E
                                                    team re equipment leases (1.6); telephone
                                                    conferences with multiple lessors re same
                                                    (1.0); draft stipulations re same (.8).
09/20/23 Trent William Huskey                  0.40 Correspond with counterparties re equipment
                                                    leases.
09/20/23 Rob Jacobson                          0.80 Review, analyze executory contract matters.
09/20/23 Allyson B. Smith                      0.60 Conference with Company, W. Fogelberg,
                                                    K&E team re return of leased equipment
                                                    workstreams, stipulations.
09/21/23 Olivia Acuna                          3.20 Telephone conference with lessor re
                                                    equipment leases (.6); telephone conference
                                                    with M. Slade, K&E team re executory
                                                    contracts (.5); research re same (2.1).
09/21/23 Whitney Fogelberg                     2.40 Telephone conferences and correspond with
                                                    Company, A&M team, O. Acuna and K&E
                                                    team re equipment leases (1.1); telephone
                                                    conferences with multiple lessors re same
                                                    (1.0); review and revise stipulations re same
                                                    (.3).
09/21/23 Allyson B. Smith                      0.90 Conferences with W. Fogelberg, K&E team,
                                                    A&M re return of leased equipment and
                                                    stipulations for same.
09/22/23 Olivia Acuna                          1.40 Analyze leased equipment inventory (.5);
                                                    telephone conference with A&M team re
                                                    same (.6); correspond with W. Fogelberg, A.
                                                    Smith re same (.3).
09/22/23 Whitney Fogelberg                     2.90 Telephone conferences and correspond with
                                                    Company, A&M team, O. Acuna and K&E
                                                    team re equipment leases (1.0); telephone
                                                    conferences with multiple lessors re same
                                                    (.7); telephone conference with A&M team re
                                                    abandonment of equipment (.7); review and
                                                    revise stipulations re leased equipment (.5).




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Yellow Corporation                                               Matter Number:          23631-61
Executory Contracts and Unexpired Leases

Date     Name                                 Hours Description
09/22/23 Catherine Lee                         0.40 Telephone conference with T. Huskey re lease
                                                    rejections (.3); analyze correspondence re
                                                    same (.1).
09/22/23 Karra A. Puccia                       0.70 Revise motion to reject and terminate lease.
09/23/23 Whitney Fogelberg                     0.90 Correspond with multiple lessors re
                                                    equipment locations and stipulations to
                                                    release equipment.
09/25/23 Olivia Acuna                          2.40 Telephone conference with C. McNamara re
                                                    executory contracts (.5); correspond with C.
                                                    McNamara re same (.2); analyze leases (1.2);
                                                    telephone conference with A&M team re
                                                    same (.5).
09/25/23 Lauren Collins                        0.30 Telephone conference with O. Acuna re
                                                    executory contract review.
09/25/23 Whitney Fogelberg                     2.30 Telephone conference with Yellow, O.
                                                    Acuna, K&E team re equipment return update
                                                    (.5); review and revise stipulations re same
                                                    (.6); correspond and conference with multiple
                                                    lessor parties re same (1.2).
09/25/23 Rob Jacobson                          1.00 Review, comment on termination notice
                                                    letters for various contracts.
09/26/23 Olivia Acuna                          1.60 Analyze equipment leases (.4); correspond
                                                    with lessor counsel re return of equipment
                                                    (.6); correspond with K. Puccia, T. Huskey re
                                                    same (.6).
09/26/23 Lauren Collins                        3.90 Review, analyze executory contracts (3.0);
                                                    draft summary re same (.9).
09/26/23 Whitney Fogelberg                     2.40 Telephone conference with Company, O.
                                                    Acuna and K&E team re equipment return
                                                    update (.5); review and revise stipulations re
                                                    same (.6); review and analyze issues re same
                                                    (.4); correspond and conference with multiple
                                                    lessor parties re same (.9).
09/27/23 Olivia Acuna                          1.90 Revise summary re lease status (.1); telephone
                                                    conference with Company re stipulations re
                                                    leased equipment (.5); telephone conference
                                                    with T. Huskey re equipment leases (.2); draft
                                                    summary re executory contracts (.6);
                                                    correspond with W. Fogelberg re same (.3);
                                                    review, revise lease rejection motion (.2).
09/27/23 Catherine Lee                         0.50 Review and revise side letter to omnibus
                                                    contract rejection order (.4); correspond with
                                                    R. Jacobson re same (.1).


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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173383
Yellow Corporation                                               Matter Number:          23631-61
Executory Contracts and Unexpired Leases

Date     Name                                 Hours Description
09/27/23 Karra A. Puccia                       0.50 Revise lease rejection and termination
                                                    motion.
09/28/23 Whitney Fogelberg                     0.70 Telephone conference with counsel to
                                                    landlord re real estate lease rejection (.4);
                                                    correspond and conference with R. Jacobson
                                                    and A&M re same (.3).
09/28/23 Rob Jacobson                          0.90 Correspond with lenders, UCC re first
                                                    rejection notice.
09/28/23 Catherine Lee                         0.30 Correspond with R. Jacobson re side letter to
                                                    contract rejection order (.1); telephone
                                                    conferences and correspond with A&M re
                                                    same (.2).
09/28/23 Karra A. Puccia                       0.60 Correspond with R. Jacobson, O. Acuna and
                                                    PSZI team re lease rejection.
09/29/23 Olivia Acuna                          0.50 Telephone conference with C. McNamara, T.
                                                    Huskey, K. Puccia re rejection of executory
                                                    contracts.
09/29/23 Rob Jacobson                          2.30 Review, comment on first rejection notice
                                                    (1.5); correspond with T. Huskey, R.M.
                                                    Roman re same (.6); correspond with PSZJ
                                                    team re filing re same (.2).
09/29/23 Roy Michael Roman                     0.40 Review and revise notice re lease rejection
                                                    (.3); correspond with R. Jacobson, K&E team
                                                    re same (.1).

Total                                         114.20




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173382
                                                                                           Client Matter: 23631-62

In the Matter of SOFAs and Schedules



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 30,798.50
Total legal services rendered                                                                                                    $ 30,798.50




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173382
Yellow Corporation                                               Matter Number:          23631-62
SOFAs and Schedules




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Olivia Acuna                                                  1.10     1,155.00          1,270.50
Jacob E. Black                                                2.80       995.00          2,786.00
Lauren Collins                                                4.60     1,155.00          5,313.00
Whitney Fogelberg                                             0.70     1,425.00            997.50
Trent William Huskey                                          1.50       995.00          1,492.50
Rob Jacobson                                                  8.60     1,245.00         10,707.00
Catherine Lee                                                 2.10     1,155.00          2,425.50
Conor P. McNamara                                             2.10     1,295.00          2,719.50
Eric Steinfeld                                                4.20       735.00          3,087.00

TOTALS                                                        27.70                   $ 30,798.50




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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173382
Yellow Corporation                                               Matter Number:          23631-62
SOFAs and Schedules


                                      Description of Legal Services

Date     Name                                 Hours Description
09/06/23 Whitney Fogelberg                     0.70 Telephone conference with A&M and
                                                    Company re review of schedules and SoFAs.
09/06/23 Rob Jacobson                          1.00 Telephone conference with W. Fogelberg,
                                                    A&M team, Company re schedules and
                                                    statements.
09/06/23 Conor P. McNamara                     1.30 Telephone conference with R. Jacobson,
                                                    A&M, Company re SoFAs and schedules.
09/07/23 Olivia Acuna                          0.30 Correspond with R. Jacobson re SoFA
                                                    amounts.
09/08/23 Olivia Acuna                          0.80 Analyze, revise SoFAs and schedules.
09/08/23 Rob Jacobson                          0.90 Review, comment on global notes.
09/11/23 Jacob E. Black                        2.80 Analyze, evaluate SoFAs and schedules re
                                                    legal issues (2.3); correspond with R.
                                                    Jacobson and K&E team re same (.1);
                                                    conference with R. Jacobson and K&E team
                                                    re same (.4).
09/11/23 Lauren Collins                        4.60 Conference with R. Jacobson, K&E team re
                                                    schedules and SoFAs (.7); review, analyze
                                                    draft schedules and SoFAs (3.9).
09/11/23 Trent William Huskey                  1.50 Review, revise SoFAs and schedules (1.2);
                                                    correspond with R. Jacobson, K&E team re
                                                    same (.3).
09/11/23 Rob Jacobson                          6.70 Review, comment on schedules and
                                                    statements (2.4); review, comment on global
                                                    notes (1.1); conference with C. McNamara,
                                                    K&E team re schedules and statements
                                                    review (.6); correspond with A&M team re
                                                    schedules and statements (.3); review, analyze
                                                    schedules and statements, related issues,
                                                    inbound questions (2.3).
09/11/23 Catherine Lee                         2.10 Review and analyze schedules and SoFAs
                                                    (1.3); summarize findings re same (.3);
                                                    conference with R. Jacobson, K&E team re
                                                    same (.5).
09/11/23 Conor P. McNamara                     0.80 Review, comment on global notes and drafts
                                                    of SoFAs and schedules.




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Legal Services for the Period Ending September 30, 2023          Invoice Number:        1010173382
Yellow Corporation                                                Matter Number:          23631-62
SOFAs and Schedules

Date     Name                                 Hours Description
09/11/23 Eric Steinfeld                        4.20 Conference with R. Jacobson, C. McNamara,
                                                    L. Collins, K&E team re SoFA and schedules
                                                    review (.7); review, revise SoFAs and
                                                    schedules (3.2); correspond with R. Jacobson,
                                                    L. Collins and K&E team re same (.3).

Total                                          27.70




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173381
                                                                                           Client Matter: 23631-63

In the Matter of Hearings



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 17,870.00
Total legal services rendered                                                                                                    $ 17,870.00




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173381
Yellow Corporation                                               Matter Number:          23631-63
Hearings




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Olivia Acuna                                                  0.30     1,155.00            346.50
Amy Donahue                                                   0.30       480.00            144.00
Michael P. Esser                                              0.50     1,475.00            737.50
Whitney Fogelberg                                             0.70     1,425.00            997.50
Richard U. S. Howell, P.C.                                    1.10     1,620.00          1,782.00
Trent William Huskey                                          0.30       995.00            298.50
Rob Jacobson                                                  2.50     1,245.00          3,112.50
Georgia Meadow                                                5.40       325.00          1,755.00
Aaron Metviner                                                0.50     1,245.00            622.50
Ryan Connor Muhlstock                                         2.30       885.00          2,035.50
Patrick J. Nash Jr., P.C.                                     0.30     2,045.00            613.50
Roy Michael Roman                                             0.50       885.00            442.50
Michael B. Slade                                              0.50     1,855.00            927.50
Allyson B. Smith                                              2.50     1,375.00          3,437.50
Luke Spangler                                                 1.90       325.00            617.50

TOTALS                                                        19.60                   $ 17,870.00




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Legal Services for the Period Ending September 30, 2023          Invoice Number:        1010173381
Yellow Corporation                                                Matter Number:          23631-63
Hearings


                                      Description of Legal Services

Date     Name                                 Hours Description
09/11/23 Roy Michael Roman                     0.50 Review and revise hearing summary (.3)
                                                    correspond with R. Jacobson, K&E team re
                                                    same (.2).
09/12/23 Georgia Meadow                        0.50 Prepare documents re hearing (.4); correspond
                                                    with L. Spangler re same (.1).
09/12/23 Ryan Connor Muhlstock                 1.80 Review, revise second day hearing agenda.
09/13/23 Rob Jacobson                          1.40 Review, comment on hearing agenda.
09/13/23 Ryan Connor Muhlstock                 0.50 Review, revise agenda for second day
                                                    hearing.
09/14/23 Georgia Meadow                        4.90 Prepare binders and supporting materials for
                                                    September 15 hearing.
09/15/23 Olivia Acuna                          0.30 Telephonically participate in second day
                                                    hearing.
09/15/23 Amy Donahue                           0.30 Attend second day hearing.
09/15/23 Michael P. Esser                      0.50 Attend final DIP hearing (.3); prepare for
                                                    same (.2).
09/15/23 Whitney Fogelberg                     0.70 Attend second day hearing (.3); prepare for
                                                    same (.4).
09/15/23 Richard U. S. Howell, P.C.            1.10 Attend bidding procedures hearing (.8);
                                                    review documents, prepare re same (.3).
09/15/23 Trent William Huskey                  0.30 Attend second day hearing.
09/15/23 Rob Jacobson                          1.10 Attend second day hearing (.6); correspond
                                                    with W. Fogelberg and K&E team re
                                                    preparations re same (.5).
09/15/23 Aaron Metviner                        0.50 Attend second day hearing.
09/15/23 Patrick J. Nash Jr., P.C.             0.30 Internal K&E coordination post hearing.
09/15/23 Michael B. Slade                      0.50 Attend second day hearing.
09/15/23 Allyson B. Smith                      2.50 Prepare for second day hearing (2.1);
                                                    participate in hearing (.4).
09/15/23 Luke Spangler                         1.90 Prepare binders and supporting materials for
                                                    second day hearing (1.4); attend hearing and
                                                    assist attorneys(.5).

Total                                          19.60




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

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November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173380
                                                                                           Client Matter: 23631-64

In the Matter of Insurance and Surety Matters



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 63,865.00
Total legal services rendered                                                                                                    $ 63,865.00




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173380
Yellow Corporation                                               Matter Number:          23631-64
Insurance and Surety Matters




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Lauren Collins                                                10.60    1,155.00         12,243.00
Whitney Fogelberg                                              2.70    1,425.00          3,847.50
Richard U. S. Howell, P.C.                                     0.60    1,620.00            972.00
Conor P. McNamara                                             20.10    1,295.00         26,029.50
Patrick J. Nash Jr., P.C.                                      0.60    2,045.00          1,227.00
William T. Pruitt                                              6.70    1,550.00         10,385.00
Karra A. Puccia                                                2.30      885.00          2,035.50
Michael B. Slade                                               3.10    1,855.00          5,750.50
Allyson B. Smith                                               1.00    1,375.00          1,375.00

TOTALS                                                        47.70                   $ 63,865.00




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Legal Services for the Period Ending September 30, 2023         Invoice Number:         1010173380
Yellow Corporation                                               Matter Number:           23631-64
Insurance and Surety Matters


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Lauren Collins                        2.20 Review, revise insurance final order.
09/01/23 Conor P. McNamara                     2.00 Conference and correspond with counsel to
                                                    lift-stay movants re deadline extensions (.5);
                                                    conference and correspond with W.
                                                    Fogelberg, M. Slade, K&E team re insurance,
                                                    surety and workers comp issues (1);
                                                    correspond with Company re same (.5).
09/03/23 Whitney Fogelberg                     1.40 Telephone conference with P. Nash and A&M
                                                    team re workers compensation insurance
                                                    issues (.4); review and analyze issues re same
                                                    (1.0).
09/03/23 Allyson B. Smith                      1.00 Telephone conference with C. McNamara,
                                                    K&E team and A&M team re workers
                                                    compensation coverage (.8); correspond with
                                                    C. McNamara, K&E team and A&M team re
                                                    same (.2).
09/05/23 Lauren Collins                        2.50 Review, revise insurance final order.
09/05/23 Conor P. McNamara                     2.50 Conference and correspond with W.
                                                    Fogelberg, M. Slade, Company re insurance
                                                    issues (.5); review, analyze auto coverage
                                                    issues (2.0).
09/05/23 William T. Pruitt                     0.40 Analyze insurer positions on workers
                                                    compensation policies.
09/05/23 Karra A. Puccia                       1.90 Review and analyze comments to insurance
                                                    final order (1.3); revise insurance final order
                                                    (.6).
09/06/23 Lauren Collins                        2.80 Review, revise insurance final order (2.0);
                                                    conferences with counsel to insurance carrier
                                                    re same (.8).
09/06/23 Conor P. McNamara                     1.70 Conference and correspond with W.
                                                    Fogelberg, M. Slade re insurance and auto
                                                    coverage issues.
09/06/23 Karra A. Puccia                       0.20 Revise insurance final order.
09/07/23 Lauren Collins                        1.80 Review, revise insurance order (1.0);
                                                    correspond with K. Puccia re same (.8).
09/07/23 Conor P. McNamara                     0.50 Review, comment on lift-stay stipulations.
09/07/23 Karra A. Puccia                       0.20 Revise insurance final order.
09/08/23 Conor P. McNamara                     1.00 Telephone conference with W. Fogelberg,
                                                    K&E team re insurance issues (.5); review
                                                    auto policies re same (.5).

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Legal Services for the Period Ending September 30, 2023         Invoice Number:         1010173380
Yellow Corporation                                               Matter Number:           23631-64
Insurance and Surety Matters

Date     Name                                 Hours Description
09/08/23 William T. Pruitt                     0.80 Analyze re auto insurer positions on lift-stay
                                                    (.2); telephone conference with W. Fogelberg,
                                                    K&E team re same (.5); review and analyze
                                                    auto policy (.1).
09/11/23 Lauren Collins                        0.60 Correspond with K. Puccia, A&M team re
                                                    surety issues.
09/11/23 Richard U. S. Howell, P.C.            0.60 Review and analyze materials re withdrawal
                                                    liability issues (.4); review and analyze
                                                    materials re insurance issues (.2).
09/12/23 Conor P. McNamara                     1.70 Correspond with Company re auto insurance
                                                    issues (.7); telephone conference with
                                                    Company re same (.7); review and analyze
                                                    insurance policies re same (.3).
09/13/23 Conor P. McNamara                     0.50 Telephone conference with P. Anderson re
                                                    auto policy issues (.2); correspond with
                                                    Company re same (.3).
09/15/23 Conor P. McNamara                     1.00 Telephone conference with J. Bernstein re NJ
                                                    workers comp issues (.2); review, analyze lift-
                                                    stay issues (.8).
09/19/23 Conor P. McNamara                     4.70 Review and analyze auto policy letters (1);
                                                    correspond with M. Slade, K&E team re same
                                                    (1); telephone conference with W. Fogelberg,
                                                    K&E team re same (.5); telephone conference
                                                    with M. Slade, P. Anderson re same (.5);
                                                    review, analyze insurance policies re same
                                                    (1); analyze lift-stay tracker and issues (.7).
09/19/23 William T. Pruitt                     1.20 Review, analyze correspondence re auto
                                                    coverage position (.2); telephone conference
                                                    with W. Fogelberg and K&E team re same
                                                    (.5); telephone conference with counsel to
                                                    auto policy carrier re same (.5).
09/20/23 Conor P. McNamara                     1.70 Analyze insurance issues.
09/20/23 William T. Pruitt                     1.30 Analyze auto BI/PD and workers
                                                    compensation insurance issues (.3); telephone
                                                    conference with Company re same (.5);
                                                    telephone conference with broker re policy
                                                    language and background (.5).
09/20/23 Michael B. Slade                      2.20 Telephone conferences with Company re
                                                    insurance issues (1.0); review correspondence
                                                    re same (.6); correspond with creditors re
                                                    same (.6).
09/21/23 Michael B. Slade                      0.90 Review, analyze documents re insurance
                                                    issues.


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Legal Services for the Period Ending September 30, 2023          Invoice Number:        1010173380
Yellow Corporation                                                Matter Number:          23631-64
Insurance and Surety Matters

Date     Name                                 Hours Description
09/22/23 Lauren Collins                        0.70 Correspond with C. McNamara, K&E team
                                                    and A&M team re surety issue.
09/22/23 William T. Pruitt                     0.70 Analyze auto policy coverage position and
                                                    potential response re same (.2); telephone
                                                    conference with C. McNamara, K&E team
                                                    and Company re same (.5).
09/25/23 Patrick J. Nash Jr., P.C.             0.30 Review, analyze issues re Company insurance
                                                    program.
09/26/23 Whitney Fogelberg                     1.30 Telephone conference and correspond with C.
                                                    McNamara and K&E team re auto policy
                                                    issues and insurance coverage analysis (.8);
                                                    review and analyze issues re same (.5).
09/27/23 Conor P. McNamara                     1.30 Review, analyze issues re BIPD policy and
                                                    auto policy (.7); conference and correspond
                                                    with K. Puccia, K&E team re lift-stay motions
                                                    (.6).
09/27/23 Patrick J. Nash Jr., P.C.             0.30 Review, analyze issues re insurance coverage
                                                    for prepetition personal injury claims.
09/28/23 Conor P. McNamara                     1.50 Conference and correspond with W.
                                                    Fogelberg, K&E team re auto policy carrier
                                                    response and BIPD issues (1.0); review and
                                                    analyze insurance policy re same (.5).
09/28/23 William T. Pruitt                     0.80 Analyze auto policy carrier coverage position
                                                    and related lift-stay issues (.1); telephone
                                                    conference with W. Fogelberg and K&E
                                                    team re same (.7).
09/29/23 William T. Pruitt                     1.50 Analyze auto policy carrier coverage position
                                                    (.4); draft response contesting same (.8);
                                                    correspond with Company re arguments and
                                                    supporting materials (.3).

Total                                          47.70




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173379
                                                                                           Client Matter: 23631-65

In the Matter of Disclosure Statement, Plan, Confirmation



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                               $ 687.50
Total legal services rendered                                                                                                         $ 687.50




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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173379
Yellow Corporation                                               Matter Number:          23631-65
Disclosure Statement, Plan, Confirmation




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Allyson B. Smith                                              0.50     1,375.00           687.50

TOTALS                                                         0.50                      $ 687.50




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Legal Services for the Period Ending September 30, 2023          Invoice Number:        1010173379
Yellow Corporation                                                Matter Number:          23631-65
Disclosure Statement, Plan, Confirmation


                                      Description of Legal Services

Date     Name                                 Hours Description
09/21/23 Allyson B. Smith                      0.50 Draft potential plan process timeline.

Total                                           0.50




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

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November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173378
                                                                                           Client Matter: 23631-66

In the Matter of K&E Retention and Fee Matters



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 71,199.50
Total legal services rendered                                                                                                    $ 71,199.50




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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173378
Yellow Corporation                                               Matter Number:          23631-66
K&E Retention and Fee Matters




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Olivia Acuna                                                  12.60    1,155.00         14,553.00
Jacob E. Black                                                 0.70      995.00            696.50
Lauren Collins                                                12.00    1,155.00         13,860.00
Whitney Fogelberg                                              0.70    1,425.00            997.50
Susan D. Golden                                                1.00    1,475.00          1,475.00
Trent William Huskey                                           7.50      995.00          7,462.50
Rob Jacobson                                                   1.50    1,245.00          1,867.50
Catherine Lee                                                  2.10    1,155.00          2,425.50
Conor P. McNamara                                              2.00    1,295.00          2,590.00
Aaron Metviner                                                 4.00    1,245.00          4,980.00
Ryan Connor Muhlstock                                          4.70      885.00          4,159.50
Patrick J. Nash Jr., P.C.                                      0.30    2,045.00            613.50
Karra A. Puccia                                                4.00      885.00          3,540.00
Zak Read                                                       4.30      885.00          3,805.50
Roy Michael Roman                                              5.00      885.00          4,425.00
Eric Steinfeld                                                 5.10      735.00          3,748.50

TOTALS                                                        67.50                   $ 71,199.50




                                                     2
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Yellow Corporation                                               Matter Number:              23631-66
K&E Retention and Fee Matters


                                      Description of Legal Services

Date     Name                                 Hours Description
09/05/23 Olivia Acuna                          1.50 Correspond with A&M team re parties in
                                                    interest (.3); correspond with R. Roman re
                                                    U.S. Trustee comments to K&E retention
                                                    application (.4); analyze re same (.6); revise
                                                    responses re same (.2).
09/05/23 Susan D. Golden                       0.40 Review, analyze U.S. Trustee comments to
                                                    K&E retention application (.2); correspond
                                                    with O. Acuna re same (.2).
09/06/23 Olivia Acuna                          1.90 Revise responses to U.S. Trustee comments to
                                                    K&E retention application (.4); correspond
                                                    with R. Roman re same (.6); research
                                                    precedent re same (.9).
09/06/23 Susan D. Golden                       0.30 Correspond with R. Roman re responses to
                                                    U.S. Trustee comments to K&E retention.
09/06/23 Roy Michael Roman                     0.90 Review and revise analysis in response to
                                                    U.S. Trustee comments to K&E retention (.4);
                                                    correspond with O. Acuna re same (.1);
                                                    research and analyze issues re fee breakdown
                                                    (.2); correspond with L. Wasserman re same
                                                    (.2).
09/07/23 Olivia Acuna                          0.80 Correspond with R. Jacobson, R. Roman re
                                                    parties in interest list (.2); revise re same (.6).
09/09/23 Trent William Huskey                  1.80 Review, revise invoices re privilege and
                                                    confidentiality considerations (1.5);
                                                    correspond with O. Acuna re same (.3).
09/11/23 Ryan Connor Muhlstock                 4.70 Review, analyze invoice re privilege and
                                                    confidentiality considerations (3.9);
                                                    correspond with T. Huskey and K&E team re
                                                    same (.3); review, revise re same (.5).
09/11/23 Zak Read                              4.30 Review, revise fee statement re privilege,
                                                    confidentiality considerations.
09/11/23 Eric Steinfeld                        1.30 Review, revise invoice re privilege and
                                                    confidentiality considerations.
09/12/23 Roy Michael Roman                     0.60 Review and revise parties in interest list for
                                                    K&E retention application (.5); correspond
                                                    with O. Acuna, K&E team re same (.1).
09/13/23 Jacob E. Black                        0.70 Review, revise invoice re privilege and
                                                    confidentiality considerations.




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Legal Services for the Period Ending September 30, 2023         Invoice Number:         1010173378
Yellow Corporation                                               Matter Number:           23631-66
K&E Retention and Fee Matters

Date     Name                                 Hours Description
09/13/23 Trent William Huskey                  5.70 Review, revise invoices re client privilege and
                                                    confidentiality considerations (3.7);
                                                    correspond with O. Acuna, K&E team re
                                                    privilege considerations (2.0).
09/13/23 Roy Michael Roman                     0.60 Review and analyze invoices re privilege
                                                    concerns (.5); correspond with O. Acuna,
                                                    K&E team re same (.1).
09/13/23 Eric Steinfeld                        3.80 Review, revise invoice re privilege and
                                                    confidentiality considerations.
09/14/23 Karra A. Puccia                       4.00 Review, analyze K&E invoice re privilege
                                                    and confidentiality considerations (3.9);
                                                    further review, analyze re same (.1).
09/15/23 Olivia Acuna                          0.50 Correspond with R. Roman re U.S. Trustee
                                                    comments to K&E retention application.
09/15/23 Roy Michael Roman                     0.80 Review and analyze issues re U.S. Trustee
                                                    retention application comments (.3);
                                                    correspond with W. Fogelberg and K&E team
                                                    re same (.3); review and analyze issues re
                                                    same (.1); correspond with U.S. Trustee re
                                                    same (.1).
09/18/23 Olivia Acuna                          0.90 Draft supplemental declaration.
09/19/23 Olivia Acuna                          0.70 Conference with R. Roman re supplemental
                                                    declaration.
09/19/23 Lauren Collins                        0.50 Review, revise K&E invoices for
                                                    confidentiality, privilege and compliance with
                                                    U.S. Trustee guidelines.
09/19/23 Susan D. Golden                       0.30 Correspond with R. Roman re U.S. Trustee
                                                    request for supplemental declaration in
                                                    support of K&E retention.
09/19/23 Catherine Lee                         0.30 Review, revise invoice re privilege and
                                                    confidentiality considerations.
09/19/23 Roy Michael Roman                     1.60 Review and analyze issues re retention order
                                                    (.8); correspond with C. Husnick, S. Golden,
                                                    K&E team re same (.2); draft and revise
                                                    supplemental declaration re K&E retention
                                                    (.5); correspond with O. Acuna re same (.1).
09/20/23 Olivia Acuna                          2.20 Analyze supplemental declaration (1.1);
                                                    revise re same (.6); correspond with R.
                                                    Roman re same (.5).
09/20/23 Lauren Collins                        2.50 Review, revise K&E invoices for
                                                    confidentiality, privilege.



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Legal Services for the Period Ending September 30, 2023          Invoice Number:        1010173378
Yellow Corporation                                                Matter Number:          23631-66
K&E Retention and Fee Matters

Date     Name                                 Hours Description
09/20/23 Whitney Fogelberg                     0.70 Correspond with R. Jacobson and K&E team
                                                    re K&E retention order (.4); review and revise
                                                    supplemental Nash declaration (.3).
09/20/23 Rob Jacobson                          1.50 Correspond with W. Fogelberg and K&E
                                                    team re K&E retention (.7); correspond with
                                                    U.S. Trustee re same (.3); coordinate filing of
                                                    same (.5).
09/20/23 Patrick J. Nash Jr., P.C.             0.30 Review supplemental declaration re K&E's
                                                    continued retention.
09/20/23 Roy Michael Roman                     0.50 Review and revise supplemental declaration
                                                    (.4); correspond with P. Nash, K&E team re
                                                    same (.1).
09/21/23 Lauren Collins                        3.60 Review, revise K&E invoices for
                                                    confidentiality, privilege and compliance with
                                                    U.S. Trustee guidelines.
09/21/23 Catherine Lee                         1.80 Review and revise August invoice for
                                                    privilege and confidentiality considerations.
09/22/23 Olivia Acuna                          2.30 Review, revise invoice re privilege and
                                                    confidentiality considerations.
09/22/23 Lauren Collins                        3.70 Review, revise K&E invoices for
                                                    confidentiality, privilege.
09/23/23 Olivia Acuna                          1.30 Review, revise invoice re privilege and
                                                    confidentiality considerations.
09/25/23 Olivia Acuna                          0.30 Review, revise invoice re privilege and
                                                    confidentiality considerations.
09/25/23 Lauren Collins                        1.70 Review, revise K&E invoices for
                                                    confidentiality, privilege.
09/28/23 Olivia Acuna                          0.20 Correspond with T. Huskey re invoice (.1);
                                                    correspond with T. Huskey re fee application
                                                    (.1).
09/28/23 Conor P. McNamara                     2.00 Review, comment on draft of August K&E
                                                    invoice re privilege, confidentiality.
09/28/23 Aaron Metviner                        4.00 Review invoice for privilege matters (3.7);
                                                    correspond with T. Huskey, O. Acuna, R.
                                                    Jacobson re same (.3).

Total                                          67.50




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

                                                                    FEIN XX-XXXXXXX




November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173377
                                                                                           Client Matter: 23631-67

In the Matter of Non-K&E Retention and Fee Matters



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 55,508.00
Total legal services rendered                                                                                                    $ 55,508.00




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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173377
Yellow Corporation                                               Matter Number:          23631-67
Non-K&E Retention and Fee Matters




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Olivia Acuna                                                   0.50    1,155.00            577.50
Lauren Collins                                                21.00    1,155.00         24,255.00
Trent William Huskey                                          10.60      995.00         10,547.00
Rob Jacobson                                                   2.90    1,245.00          3,610.50
Catherine Lee                                                  5.00    1,155.00          5,775.00
Ryan Connor Muhlstock                                          0.50      885.00            442.50
Patrick J. Nash Jr., P.C.                                      0.30    2,045.00            613.50
Karra A. Puccia                                                0.10      885.00             88.50
Zak Read                                                       3.00      885.00          2,655.00
Roy Michael Roman                                              1.70      885.00          1,504.50
Eric Steinfeld                                                 7.40      735.00          5,439.00

TOTALS                                                        53.00                   $ 55,508.00




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Legal Services for the Period Ending September 30, 2023         Invoice Number:        1010173377
Yellow Corporation                                               Matter Number:          23631-67
Non-K&E Retention and Fee Matters


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Rob Jacobson                          1.30 Draft summary of OCP motion for Company
                                                    (1.1); correspond with Company re same (.2).
09/01/23 Catherine Lee                         0.20 Review and revise OCP motion (.1);
                                                    correspond with R. Muhlstock, K&E team re
                                                    same (.1).
09/01/23 Ryan Connor Muhlstock                 0.30 Review, revise interim compensation
                                                    procedures motion.
09/05/23 Trent William Huskey                  0.30 Correspond with Kasowitz team re retention
                                                    application.
09/06/23 Lauren Collins                        2.40 Review, revise non-K&E retention
                                                    applications per U.S. Trustee comments (.6);
                                                    correspond with professionals re same (.4);
                                                    review, revise Kasowitz retention application
                                                    (1.4).
09/06/23 Trent William Huskey                  1.40 Review, revise Kasowitz retention application
                                                    (1.2); correspond with L. Collins, R. Jacobson
                                                    re same (.2).
09/06/23 Rob Jacobson                          0.40 Review, analyze professional retention
                                                    matters re ordinary course processionals.
09/06/23 Catherine Lee                         1.70 Review and revise OCP order (.3); analyze
                                                    stakeholder comments re same (.5); analyze
                                                    precedent re same (.4); telephone conference
                                                    with S. Lampert re same (.2); telephone
                                                    conference with R. Jacobson re same (.2);
                                                    telephone conference with A&M re same (.1).
09/06/23 Ryan Connor Muhlstock                 0.10 Review, analyze U.S. Trustee comments to
                                                    EY retention.
09/06/23 Eric Steinfeld                        1.70 Review, revise OCP order incorporating U.S.
                                                    Trustee's comments (1.4); correspond with C.
                                                    Lee, R. Jacobson, K&E team, A&M team re
                                                    same (.3).
09/07/23 Lauren Collins                        2.80 Review, revise non-K&E retention orders.
09/07/23 Catherine Lee                         0.90 Correspond with R. Jacobson, K&E team re
                                                    KPMG retention (.3); review and revise OCP
                                                    motion (.2); review and analyze comments,
                                                    precedent re same (.4).
09/07/23 Zak Read                              0.40 Review, analyze A&M retention
                                                    considerations (.3); correspond with L.
                                                    Collins re same (.1).



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Yellow Corporation                                               Matter Number:            23631-67
Non-K&E Retention and Fee Matters

Date     Name                                 Hours Description
09/07/23 Eric Steinfeld                        2.30 Research precedent re KPMG as an ordinary
                                                    course professional (1.9); correspond with C.
                                                    Lee, R. Jacobson re same (.2); review, revise
                                                    ordinary course professional order re same
                                                    (.2).
09/08/23 Lauren Collins                        2.50 Review, revise A&M retention application
                                                    and declaration.
09/08/23 Zak Read                              1.60 Review, revise A&M retention application
                                                    and supplemental declaration (1.4);
                                                    correspond with L. Collins re same (.2).
09/08/23 Roy Michael Roman                     0.40 Review and revise Ducera retention order
                                                    (.3); correspond with L. Collins re same (.1).
09/08/23 Eric Steinfeld                        0.90 Review, revise EY retention application.
09/11/23 Lauren Collins                        2.90 Conference with KPMG team re draft
                                                    retention application (.5); correspond with T.
                                                    Huskey, K&E team re the same (2.4).
09/11/23 Trent William Huskey                  0.30 Correspond with L. Collins re KPMG
                                                    retention application.
09/11/23 Catherine Lee                         1.00 Review and revise OCP order (.2); correspond
                                                    with R. Jacobson, Pachulski team re same
                                                    (.2); review and revise OCP order (.1);
                                                    correspond with E. Steinfeld, K&E team re
                                                    same (.2); correspond with L. Collins, K&E
                                                    team re KPMG retention (.3).
09/11/23 Roy Michael Roman                     0.40 Review and revise Ducera retention order per
                                                    U.S. Trustee comments (.3); correspond with
                                                    L. Collins re same (.1).
09/11/23 Eric Steinfeld                        1.50 Review revise OCP order for filing (1.1);
                                                    correspond with C. Lee re same (.1); review,
                                                    revise EY retention application (.2);
                                                    correspond with L. Collins re same (.1).
09/12/23 Olivia Acuna                          0.50 Telephone conference with L. Collins re
                                                    parties in interest list (.1); correspond with R.
                                                    Roman re same (.1); revise re same (.3).
09/12/23 Lauren Collins                        4.90 Review, revise non-K&E retention orders
                                                    (3.9); correspond with R. Jacobson, Ducera
                                                    team re same (1.0).
09/12/23 Zak Read                              0.70 Review, revise A&M retention application
                                                    (.4); correspond with L. Collins re same (.1);
                                                    correspond with A&M team re same (.1);
                                                    analyze considerations re same (.1).
09/13/23 Lauren Collins                        1.20 Review, revise Ducera retention order.
09/14/23 Lauren Collins                        0.50 Review, revise non-K&E retention orders.

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Yellow Corporation                                               Matter Number:          23631-67
Non-K&E Retention and Fee Matters

Date     Name                                 Hours Description
09/14/23 Trent William Huskey                  0.70 Correspond with KPMG team re retention
                                                    application (.1); research auditor retention
                                                    precedent (.6).
09/15/23 Trent William Huskey                  4.50 Analyze KPMG draft engagement agreement
                                                    (.9); draft, revise KPMG retention application
                                                    (1.2); draft declaration re same (1.4); draft
                                                    order re same (1.0).
09/15/23 Catherine Lee                         0.10 Correspond with E. Steinfeld, K&E team re
                                                    OCP order.
09/15/23 Eric Steinfeld                        0.30 Review, revise OCP order (.1); correspond
                                                    with C. Lee and R. Jacobson re same (.2).
09/18/23 Lauren Collins                        2.40 Review, revise KPMG retention application
                                                    (1.3); correspond with T. Huskey, K&E team
                                                    re non-K&E retention orders (1.1).
09/18/23 Trent William Huskey                  0.80 Review, revise KPMG retention application.
09/18/23 Rob Jacobson                          1.20 Correspond with lenders, UCC re OCP order
                                                    (.7); review, analyze non-K&E retention
                                                    matters, COC filings, entered orders (.5).
09/18/23 Catherine Lee                         0.40 Correspond with R. Jacobson re OCP order
                                                    (.2); correspond with lenders Pachulski re
                                                    same (.2).
09/18/23 Ryan Connor Muhlstock                 0.10 Correspond with EY team re entered retention
                                                    order.
09/18/23 Patrick J. Nash Jr., P.C.             0.30 Telephone conference with D. Slonecker re
                                                    UCC's potential objection to professional
                                                    retention application.
09/18/23 Karra A. Puccia                       0.10 Correspond with A&M re ordinary course
                                                    professional inquiry.
09/18/23 Zak Read                              0.20 Correspond with L. Collins re A&M retention
                                                    (.1); correspond with A&M team re same (.1).
09/19/23 Lauren Collins                        0.50 Correspond with R. Jacobson, K&E team re
                                                    non-K&E retention orders.
09/19/23 Zak Read                              0.10 Correspond with Epiq team re retention order.
09/20/23 Lauren Collins                        0.30 Correspond with W. Fogelberg, R. Jacobson
                                                    re non-K&E retention orders.
09/20/23 Catherine Lee                         0.10 Correspond with R. Jacobson, L. Collins re
                                                    OCP order, motions up for hearing.
09/21/23 Trent William Huskey                  0.20 Review docket re objections to retention
                                                    applications (.1); correspond with KPMG
                                                    team re retention application (.1).




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Yellow Corporation                                                Matter Number:          23631-67
Non-K&E Retention and Fee Matters

Date     Name                                 Hours Description
09/21/23 Catherine Lee                         0.40 Conference with R. Jacobson re OCP
                                                    outreach (.1); compile declaration re same
                                                    (.2); correspond with R. Jacobson, E.
                                                    Steinfeld and A&M re same (.1).
09/21/23 Eric Steinfeld                        0.70 Research precedent re procedures for revising
                                                    OCP list.
09/22/23 Lauren Collins                        0.60 Correspond with W. Fogelberg, Pachulski
                                                    team re Ducera retention order.
09/26/23 Trent William Huskey                  0.60 Correspond with Kasowitz team re retention
                                                    (.2); correspond with W. Fogelberg, K&E
                                                    team re same (.2); correspond with PSZJ team
                                                    re same (.2).
09/27/23 Trent William Huskey                  0.20 Correspond with KPMG team re retention
                                                    application.
09/27/23 Catherine Lee                         0.20 Correspond with A&M team re OCP retention
                                                    (.1); telephone conferences with A&M team
                                                    re same (.1).
09/27/23 Roy Michael Roman                     0.60 Research precedent re fee statements (.5);
                                                    correspond with W. Fogelberg, K&E team re
                                                    same (.1).
09/28/23 Roy Michael Roman                     0.30 Analyze issues re Ducera fee statements (.2);
                                                    correspond with W. Fogelberg, K&E team,
                                                    Ducera team re same (.1).
09/29/23 Trent William Huskey                  1.60 Review, revise KPMG retention application.

Total                                          53.00




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

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November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173376
                                                                                           Client Matter: 23631-68

In the Matter of Tax Matters



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 32,481.00
Total legal services rendered                                                                                                    $ 32,481.00




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Yellow Corporation                                               Matter Number:          23631-68
Tax Matters




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Thad W. Davis, P.C.                                           12.10    1,795.00         21,719.50
Samuel Sean Hamner                                             3.80    1,455.00          5,529.00
Trent William Huskey                                           3.40      995.00          3,383.00
Rob Jacobson                                                   0.50    1,245.00            622.50
Patrick J. Nash Jr., P.C.                                      0.60    2,045.00          1,227.00

TOTALS                                                        20.40                   $ 32,481.00




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Yellow Corporation                                               Matter Number:           23631-68
Tax Matters


                                      Description of Legal Services

Date     Name                                 Hours Description
09/01/23 Thad W. Davis, P.C.                   1.50 Review and draft correspondence to A&M re
                                                    tax claims (.7); review and revise asset
                                                    purchase agreement (.8).
09/01/23 Samuel Sean Hamner                    0.30 Evaluate property tax payments on leases.
09/02/23 Thad W. Davis, P.C.                   1.00 Review and revise asset purchase agreement
                                                    re tax considerations.
09/03/23 Thad W. Davis, P.C.                   0.50 Review and revise asset purchase agreement
                                                    re tax considerations.
09/04/23 Thad W. Davis, P.C.                   0.30 Review correspondence from A&M re tax
                                                    claims.
09/05/23 Thad W. Davis, P.C.                   0.90 Telephone conference with A&M re tax
                                                    claims (.4); review and draft correspondence
                                                    re same (.5).
09/05/23 Samuel Sean Hamner                    0.20 Review and analyze DIP credit agreement
                                                    comments re tax considerations.
09/05/23 Trent William Huskey                  3.10 Review, revise taxes order (.6); review, revise
                                                    NOL order (2.2); correspond with R.
                                                    Jacobson re same (.2); correspond with L.
                                                    Collins re same (.1).
09/05/23 Rob Jacobson                          0.50 Correspond with A&M team re tax matters.
09/05/23 Patrick J. Nash Jr., P.C.             0.30 Correspond with R. Rossi re CARES Act tax
                                                    issues.
09/06/23 Thad W. Davis, P.C.                   0.30 Review and draft correspondence with A&M
                                                    re asset purchase agreement tax
                                                    considerations.
09/07/23 Thad W. Davis, P.C.                   1.00 Telephone conference with Company and EY
                                                    re tax issues (.8); review and draft
                                                    correspondence to EY re same (.2).
09/07/23 Samuel Sean Hamner                    0.80 Conference with EY and Company re open
                                                    tax items.
09/13/23 Thad W. Davis, P.C.                   0.20 Review and analyze correspondence re rolling
                                                    stock asset purchase agreement re tax
                                                    considerations.
09/14/23 Samuel Sean Hamner                    0.50 Conference with EY team re tax issues.
09/18/23 Thad W. Davis, P.C.                   0.20 Telephone conference with Company re IRS
                                                    inspector.
09/18/23 Trent William Huskey                  0.30 Correspond with A&M team re tax issues.
09/20/23 Thad W. Davis, P.C.                   1.30 Review and draft correspondence to A&M re
                                                    tax attributes (.3); research same (1.0).

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Yellow Corporation                                                Matter Number:          23631-68
Tax Matters

Date     Name                                 Hours Description
09/20/23 Patrick J. Nash Jr., P.C.             0.30 Review, analyze Company NOL account.
09/21/23 Thad W. Davis, P.C.                   1.00 Telephone conference with Company and EY
                                                    re tax workstreams (.6); review and draft
                                                    correspondence re same (.4).
09/21/23 Samuel Sean Hamner                    1.00 Conference with EY re tax status updates (.7);
                                                    follow up research (.3).
09/22/23 Thad W. Davis, P.C.                   0.20 Review and draft correspondence re tax
                                                    claims.
09/25/23 Thad W. Davis, P.C.                   0.80 Review APA schedules re tax considerations
                                                    (.6); review and draft correspondence to
                                                    A&M re same (.2).
09/27/23 Thad W. Davis, P.C.                   0.30 Review and draft correspondence re equity
                                                    trading order.
09/28/23 Thad W. Davis, P.C.                   2.30 Review and draft correspondence re equity
                                                    trading order (1.7); telephone conference with
                                                    Company re same and tax claims (.6).
09/28/23 Samuel Sean Hamner                    1.00 Conference with EY, T. Davis and K&E team
                                                    re tax claims (.6); analyze NOL order (.4).
09/29/23 Thad W. Davis, P.C.                   0.30 Review and draft correspondence to Company
                                                    re tax claims.

Total                                          20.40




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

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November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173375
                                                                                           Client Matter: 23631-70

In the Matter of U.S. Trustee Communications & Reporting



For legal services rendered through September 30, 2023
(see attached Description of Legal Services for detail)                                                                          $ 26,914.00
Total legal services rendered                                                                                                    $ 26,914.00




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Yellow Corporation                                               Matter Number:          23631-70
U.S. Trustee Communications & Reporting




                                        Summary of Hours Billed

Name                                                         Hours         Rate          Amount
Lauren Collins                                                3.70     1,155.00          4,273.50
Michael P. Esser                                              1.00     1,475.00          1,475.00
Whitney Fogelberg                                             4.90     1,425.00          6,982.50
Richard U. S. Howell, P.C.                                    1.80     1,620.00          2,916.00
Rob Jacobson                                                  1.70     1,245.00          2,116.50
Patrick J. Nash Jr., P.C.                                     0.50     2,045.00          1,022.50
Karra A. Puccia                                               0.80       885.00            708.00
Michael B. Slade                                              4.00     1,855.00          7,420.00

TOTALS                                                        18.40                   $ 26,914.00




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Yellow Corporation                                                Matter Number:           23631-70
U.S. Trustee Communications & Reporting


                                      Description of Legal Services

Date     Name                                 Hours Description
09/05/23 Patrick J. Nash Jr., P.C.             0.40 Draft response to U.S. Trustee re equity
                                                    committee request.
09/11/23 Patrick J. Nash Jr., P.C.             0.10 Correspond with J. Leamy re equity
                                                    committee request and Central States issue.
09/12/23 Whitney Fogelberg                     1.10 Conference with D. Olivier and A&M team re
                                                    341 meeting preparation.
09/12/23 Karra A. Puccia                       0.80 Revise creditor matrix final order.
09/12/23 Michael B. Slade                      1.70 Review and analyze 341 materials (.7);
                                                    participate in preparation session re 341 (1.0).
09/13/23 Michael P. Esser                      1.00 Conference with witness re 341 preparation
                                                    (.7); prepare for same (.3).
09/13/23 Whitney Fogelberg                     1.60 Conference with D. Olivier and A&M team re
                                                    341 meeting preparation (1.0); review and
                                                    analyze issues re same (.6).
09/13/23 Richard U. S. Howell, P.C.            0.80 Telephone conference with W. Fogelberg,
                                                    K&E team re 341 meeting.
09/13/23 Michael B. Slade                      1.10 Participate in 341 prep session and review and
                                                    edit materials re same.
09/14/23 Lauren Collins                        1.00 Attend 341 meeting.
09/14/23 Whitney Fogelberg                     2.20 Conference with D. Olivier and A&M team re
                                                    341 meeting preparation (1.2); attend 341
                                                    meeting (1.0).
09/14/23 Richard U. S. Howell, P.C.            1.00 Attend 341 meeting.
09/14/23 Rob Jacobson                          1.00 Telephonically attend 341 meeting.
09/14/23 Michael B. Slade                      1.20 Attend 341 meeting (1.0); prepare for same
                                                    (.2).
09/22/23 Rob Jacobson                          0.70 Distribute monthly vendor matrix to U.S.
                                                    Trustee, UCC, lender group.
09/29/23 Lauren Collins                        2.70 Review, revise MORs (2.5); correspond with
                                                    A&M team re same (.2).

Total                                          18.40




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                                                                    300 North LaSalle
                                                                    Chicago, IL 60654

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November 21, 2023

Yellow Corporation
10990 Roe Avenue
Overland Park, KS 66211

Attn: Dan Olivier

                                                                                         Invoice Number: 1010173374
                                                                                           Client Matter: 23631-71

In the Matter of Expenses

For expenses incurred through September 30, 2023
(see attached Description of Expenses for detail)                                                                                $ 29,600.94
Total expenses incurred                                                                                                          $ 29,600.94




  Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Miami Munich New York Paris Salt Lake City Shanghai Washington, D.C.
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Yellow Corporation                                                 Matter Number:         23631-71
Expenses




                                         Description of Expenses

Description                                                                               Amount
Standard Copies or Prints                                                                   707.90
Color Copies or Prints                                                                    2,322.65
Outside Messenger Services                                                                   35.65
Local Transportation                                                                         71.10
Other Court Costs and Fees                                                               24,391.31
Catering Expenses                                                                           592.00
Overtime Transportation                                                                     819.95
Overtime Meals - Non-Attorney                                                                42.00
Overtime Meals - Attorney                                                                   407.78
Computer Database Research - Soft                                                           210.60

                                                          Total                        $ 29,600.94




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Yellow Corporation                                               Matter Number:          23631-71
Expenses




                                          Description of Expenses

Standard Copies or Prints

Date          Description                                                                Amount
09/01/23      Standard Copies or Prints                                                     0.40
09/05/23      Standard Copies or Prints                                                     1.60
09/05/23      Standard Copies or Prints                                                     4.30
09/05/23      Standard Copies or Prints                                                     0.90
09/05/23      Standard Copies or Prints                                                     0.10
09/06/23      Standard Copies or Prints                                                     2.50
09/06/23      Standard Copies or Prints                                                     1.70
09/06/23      Standard Copies or Prints                                                     0.20
09/07/23      Standard Copies or Prints                                                     0.60
09/12/23      Standard Copies or Prints                                                     5.00
09/13/23      Standard Copies or Prints                                                   466.00
09/13/23      Standard Copies or Prints                                                     1.00
09/13/23      Standard Copies or Prints                                                     3.90
09/13/23      Standard Copies or Prints                                                     6.80
09/14/23      Standard Copies or Prints                                                     1.40
09/14/23      Standard Copies or Prints                                                     1.80
09/14/23      Standard Copies or Prints                                                     3.50
09/14/23      Standard Copies or Prints                                                     4.30
09/15/23      Standard Copies or Prints                                                    29.70
09/15/23      Standard Copies or Prints                                                    46.70
09/15/23      Standard Copies or Prints                                                     1.60
09/15/23      Standard Copies or Prints                                                    92.50
09/15/23      Standard Copies or Prints                                                     1.90
09/18/23      Standard Copies or Prints                                                     1.20
09/18/23      Standard Copies or Prints                                                     0.30
09/19/23      Standard Copies or Prints                                                     3.70
09/21/23      Standard Copies or Prints                                                     0.10
09/25/23      Standard Copies or Prints                                                     2.00
09/26/23      Standard Copies or Prints                                                     0.40
09/26/23      Standard Copies or Prints                                                     1.20
09/26/23      Standard Copies or Prints                                                    10.00

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Yellow Corporation                                               Matter Number:          23631-71
Expenses

09/27/23      Standard Copies or Prints                                                        3.00
09/27/23      Standard Copies or Prints                                                        0.20
09/27/23      Standard Copies or Prints                                                        1.80
09/28/23      Standard Copies or Prints                                                        2.70
09/28/23      Standard Copies or Prints                                                        2.70
09/28/23      Standard Copies or Prints                                                        0.20
              Total                                                                          707.90




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Yellow Corporation                                               Matter Number:          23631-71
Expenses


Color Copies or Prints

Date          Description                                                                Amount
09/01/23      Color Copies or Prints                                                         5.50
09/05/23      Color Copies or Prints                                                         3.30
09/05/23      Color Copies or Prints                                                         1.65
09/05/23      Color Copies or Prints                                                        14.30
09/06/23      Color Copies or Prints                                                         1.65
09/06/23      Color Copies or Prints                                                        17.05
09/12/23      Color Copies or Prints                                                        16.50
09/12/23      Color Copies or Prints                                                         1.10
09/13/23      Color Copies or Prints                                                        11.00
09/13/23      Color Copies or Prints                                                         1.10
09/13/23      Color Copies or Prints                                                        37.95
09/13/23      Color Copies or Prints                                                         7.15
09/14/23      Color Copies or Prints                                                       140.25
09/14/23      Color Copies or Prints                                                       147.40
09/14/23      Color Copies or Prints                                                         4.40
09/14/23      Color Copies or Prints                                                         2.20
09/15/23      Color Copies or Prints                                                       305.80
09/15/23      Color Copies or Prints                                                        62.70
09/15/23      Color Copies or Prints                                                     1,522.40
09/15/23      Color Copies or Prints                                                        12.10
09/20/23      Color Copies or Prints                                                         3.30
09/25/23      Color Copies or Prints                                                         2.20
09/27/23      Color Copies or Prints                                                         0.55
09/28/23      Color Copies or Prints                                                         1.10
              Total                                                                      2,322.65




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Yellow Corporation                                               Matter Number:          23631-71
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Outside Messenger Services

Date          Description                                                                Amount
09/03/23      CROWN DELIVERY & LOGISTICS - Courier Deliveries                              35.65
              Total                                                                        35.65




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Yellow Corporation                                               Matter Number:           23631-71
Expenses


Local Transportation

Date          Description                                                                 Amount
08/07/23      Lauren Collins - Cancellation fee for reserved Uber to airport for            10.00
              cancelled hearing. 08/07/2023
09/12/23      Whitney Fogelberg - Taxi, Transportation home after dinner with                 61.10
              Company & A&M team 09/12/2023
              Total                                                                           71.10




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Yellow Corporation                                               Matter Number:          23631-71
Expenses


Other Court Costs and Fees

Date          Description                                                                Amount
09/22/23      Miller Advertising Agency Inc - Publication of Sale Notice in New          9,673.70
              York Times (National Ed.) and Toronto Globe & Mail (National
              Ed.)
09/25/23      Miller Advertising Agency Inc - Publication of Bar Date Notice in         11,188.70
              Transport Topics (Legals) and USA Today (National edition)
09/29/23      Miller Advertising Agency Inc - Publication of Yellow Bar Date in          3,528.91
              Toronto Globe & Mail
              Total                                                                     24,391.31




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Yellow Corporation                                               Matter Number:          23631-71
Expenses


Catering Expenses

Date          Description                                                                Amount
08/01/23      FLIK - Yellow Corporation 8/1/2023                                           72.00
08/01/23      FLIK - Yellow Corporation 8/17/2023                                          40.00
08/01/23      FLIK - Yellow Corporation 8/1/2023                                           48.00
08/01/23      FLIK - Yellow Corporation 8/9/2023                                          120.00
08/01/23      FLIK - Yellow Corporation 8/2/2023                                           48.00
08/01/23      FLIK - Yellow Corporation 8/11/2023                                         120.00
08/01/23      FLIK - Yellow Corporation 8/2/2023                                           72.00
08/01/23      FLIK - Yellow Corporation 8/17/2023                                          40.00
08/01/23      FLIK - Yellow Corporation 8/7/2023                                           32.00
              Total                                                                       592.00




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Yellow Corporation                                               Matter Number:          23631-71
Expenses


Overtime Transportation

Date          Description                                                                Amount
08/06/23      Lauren Collins - Overtime Uber to office for work completed on              114.18
              August 6, 2023. 08/06/2023
08/06/23      Allyson B. Smith - Taxi, Overtime taxi from office to home.                     29.97
              08/06/2023
08/07/23      Roy Michael Roman - Taxi, Overtime transportation from office to                25.47
              home. 08/07/2023
08/07/23      Allyson B. Smith - Taxi, Overtime taxi for filing. 08/07/2023                   29.93
08/07/23      Allyson B. Smith - Taxi, Overtime taxi for filing - after midnight              27.95
              on 8/07/2023 for work completed on 8/6/23 and 8/7/23.
08/07/23      Lauren Collins - Overtime Uber home from office for work                       162.22
              completed on August 6, 2023. 08/07/2023
08/10/23      Allyson B. Smith - Taxi, Overtime taxi from office to                           33.95
              home. 08/10/2023
08/11/23      Allyson B. Smith - Taxi, Overtime taxi from office to                           31.91
              home. 08/11/2023
08/13/23      Allyson B. Smith - Taxi, Overtime taxi from office to                           36.99
              home. 08/13/2023
08/13/23      Allyson B. Smith - Taxi, Overtime taxi from office to                           33.92
              home. 08/13/2023
08/15/23      Allyson B. Smith - Taxi, Overtime taxi from office to                           36.89
              home. 08/15/2023
08/17/23      Allyson B. Smith - Taxi, Overtime taxi from office to                           41.94
              home. 08/17/2023
09/05/23      Kennedy Chiglo - Taxi, Overtime taxi from office to home.                       21.25
              09/05/2023
09/06/23      Olivia Acuna - Taxi, Overtime taxi from office to home.                         24.72
              09/06/2023
09/07/23      Allyson B. Smith - Taxi, Overtime taxi from office to home.                     39.94
              09/07/2023
09/08/23      Aaron Metviner - Taxi, Overtime/Weekend, taxi from office to                    24.17
              home. 09/08/2023
09/09/23      Aaron Metviner - Taxi, Overtime/Weekend, taxi from office to                    18.38
              home. 09/09/2023
09/09/23      Aaron Metviner - Taxi, Overtime/Weekend, taxi from home to                      14.70
              office. 09/09/2023
09/10/23      Aaron Metviner - Taxi, Overtime/Weekend, taxi from office to                    16.86
              home. 09/10/2023



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Expenses

09/12/23      Lauren Collins - Overtime Uber from office to home for work                     33.68
              completed on September 12, 2023. 09/12/2023
09/26/23      Kennedy Chiglo - Taxi, Overtime taxi from office to home for                    20.93
              work completed on September 26, 2023, 09/26/2023
              Total                                                                          819.95




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Yellow Corporation                                               Matter Number:          23631-71
Expenses


Overtime Meals - Non-Attorney

Date          Description                                                                Amount
08/13/23      GRUBHUB HOLDINGS INC - Sorrentino John 8/8/2023 OT                           42.00
              Meal
              Total                                                                          42.00




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Expenses


Overtime Meals - Attorney

Date          Description                                                                Amount
08/06/23      GRUBHUB HOLDINGS INC - Metviner Aaron 8/6/2023 OT                            42.00
              Meal
08/06/23      GRUBHUB HOLDINGS INC - Acuna Olivia 8/6/2023 OT Meal                            42.00
08/06/23      GRUBHUB HOLDINGS INC - Puccia Karra A. 8/2/2023 OT                              41.99
              Meal
08/06/23      GRUBHUB HOLDINGS INC - Roman Roy Michael 8/6/2023 OT                            42.00
              Meal
08/06/23      GRUBHUB HOLDINGS INC - Roman Roy Michael 8/2/2023 OT                            42.00
              Meal
08/06/23      GRUBHUB HOLDINGS INC - Smith Allyson B. 8/6/2023 OT                             42.00
              Meal
08/27/23      GRUBHUB HOLDINGS INC - Puccia Karra A. 8/23/2023 OT                             41.32
              Meal
08/27/23      GRUBHUB HOLDINGS INC - Roman Roy Michael 8/24/2023                              42.00
              OT Meal
09/07/23      Olivia Acuna - Overtime Meals - Attorney, New York, NY                          32.13
              09/07/2023
09/09/23      Aaron Metviner - Overtime Meals - Attorney, Chipotle 09/09/2023                 12.09
09/12/23      Lauren Collins - Overtime Meals - Attorney, Illinois Overtime                   28.25
              dinner for work completed on September 12, 2023.
              Total                                                                          407.78




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Expenses


Computer Database Research - Soft

Date          Description                                                                Amount
08/01/23      PACER Usage for 08/2023                                                       3.10
08/01/23      PACER Usage for 08/2023                                                      24.00
09/01/23      PACER Usage for 09/2023                                                     112.10
09/01/23      PACER Usage for 09/2023                                                      12.50
09/01/23      PACER Usage for 09/2023                                                       3.00
09/01/23      PACER Usage for 09/2023                                                      44.70
09/01/23      PACER Usage for 09/2023                                                       0.70
09/01/23      PACER Usage for 09/2023                                                      10.50
              Total                                                                       210.60

TOTAL EXPENSES                                                                        $ 29,600.94




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